Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further1 Confidentiality
                                                        of 184. PageID #: 225903
                                                                             Review

      1                   UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
      2                           EASTERN DIVISION
      3                                 - - -
      4    IN RE:    NATIONAL             )
           PRESCRIPTION OPIATE            )   MDL No. 2804
      5    LITIGATION                     )
           ________________________)          Case No. 1:17-MD-2804
      6                                   )
           THIS DOCUMENT RELATES          )
      7    TO ALL CASES                   )   Hon. Dan A. Polster
      8
      9
     10                                 - - -
     11                       Thursday, June 6, 2019
     12                      - HIGHLY CONFIDENTIAL -
     13          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
     14                                 - - -
     15
     16              Videotaped deposition of Henry Grabowski,
     17    Ph.D., held at Alston & Bird, 555 Fayetteville
     18    Street, Raleigh, North Carolina, 27601, commencing at
     19    9:34 a.m., on the above date, before Karen Kidwell,
     20    Registered Merit Reporter, Certified Realtime
     21    Reporter.
     22                                - - -
     23
     24                          GOLKOW LITIGATION SERVICES
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   Golkow Litigation Services                                               Page 1
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further2 Confidentiality
                                                        of 184. PageID #: 225904
                                                                             Review

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   Golkow Litigation Services                                               Page 2
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further3 Confidentiality
                                                        of 184. PageID #: 225905
                                                                             Review

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   Golkow Litigation Services                                               Page 3
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further4 Confidentiality
                                                        of 184. PageID #: 225906
                                                                             Review

      1                               I N D E X
      2    WITNESS/EXAMINATION                                           Page
      3    HENRY GRABOWSKI, Ph.D.
      4      By Ms. Sutton                                               6
      5
      6
      7                           E X H I B I T S
      8      Number                Description                Page
      9    Exhibit 1      Plaintiffs' Notice of oral .........7
                          Videotaped Expert Deposition
     10                   of Henry Grabowski
     11    Exhibit 2      Expert Report of Henry .............7
                          Grabowski, Ph.D., May 10,
     12                   2019, Confidential
     13    Exhibit 3      Supplemental Expert Report of ......7
                          Henry Grabowski, Ph. D., June
     14                   4, 2019, Confidential
     15    Exhibit 4      Invoices of Henry Grabowski to ....96
                          Samuel Lonergan, Arnold &
     16                   Porter, Re: National
                          Prescription Opiate
     17                   Litigation, 4 pages
     18    Exhibit 5      Invoices, In re National .........105
                          Prescription Opiate
     19                   Litigation, beginning August
                          2018, from Cornerstone
     20                   Research, Confidential
     21    Exhibit 6      Analysis Group page of Henry .....109
                          G. Grabowski experience and
     22                   education, 1 page
     23    Exhibit 7      Declaration of Henry G. ..........119
                          Grabowski, Ph.D., March 28,
     24                   2013
     25

   Golkow Litigation Services                                                Page 4
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further5 Confidentiality
                                                        of 184. PageID #: 225907
                                                                             Review

      1                      E X H I B I T S (Cont'd)
      2      Number               Description                        Page
      3    Exhibit 8      Tufts Center for the Study of ....129
                          Drug Development, Tufts
      4                   University, Corporate
                          Sponsorship, July 8-9, 2019
      5
           Exhibit 9      Financial Disclosure of Tufts ....130
      6                   Center for the Study of Drug
                          Development
      7
           Exhibit 10     Journal of Health Economics ......132
      8                   article, Innovation in the
                          pharmaceutical industry: New
      9                   estimates of R&D costs
     10    Exhibit 11     Henry George Grabowski, Vita, ....147
                          filed 2/15/08
     11
           Exhibit 12     2010 Curr. Vitae LEXIS 13752, ....155
     12                   Henry George Grabowski,
                          Durham, N.C.
     13
           Exhibit 13     Reply Declaration of Henry G. ....163
     14                   Grabowski, Ph.D.
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25

   Golkow Litigation Services                                               Page 5
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further6 Confidentiality
                                                        of 184. PageID #: 225908
                                                                             Review

      1      THURSDAY, JUNE 6, 2019, RALEIGH, NORTH CAROLINA

      2                       P R O C E E D I N G S

      3                                 -oOo-

      4                  VIDEOGRAPHER:      Good morning.       We're now on

      5          the record.      My name is Trae Howerton.          I'm the

      6          videographer representing Golkow Litigation

      7          Services.     Today's date is June 6th, 2019.            The

      8          time is 9:34 a.m.

      9                  This deposition is being held in Raleigh,

     10          North Carolina, In Re National Prescription

     11          Opiate Litigation.        This is filed in the United

     12          States District Court for the Northern District

     13          of Ohio, Eastern Division.          The deponent is

     14          Henry Grabowski.

     15                  All counsel will be noted on the

     16          stenographic record.        Our court reporter this

     17          morning is Karen Kidwell.          She will now swear in

     18          the witness.

     19                       HENRY GRABOWSKI, Ph.D.

     20    being first duly sworn, testified as follows:

     21                             EXAMINATION

     22    BY MS. SUTTON:

     23           Q.     Good morning, Professor Grabowski.            We

     24    talked just briefly before the deposition started.

     25    Thank you for being here today.

   Golkow Litigation Services                                               Page 6
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further7 Confidentiality
                                                        of 184. PageID #: 225909
                                                                             Review

      1                  I understand, having looked through your

      2    background, you've testified quite a few times, so I

      3    don't think it's probably necessary to cover the

      4    deposition ground rules.         You probably know those

      5    better than me.

      6                  So what I want to do is just get started

      7    with the first three exhibits which I have marked.

      8    Exhibit 1 is the notice of your deposition, and

      9    Exhibit 2 is the expert report that we received from

     10    you on May 10th, 2019, and it includes the appendices

     11    and the exhibits that were served with it.              And then

     12    Exhibit 3 is a supplemental expert report we received

     13    just about 48 hours ago, on June 4th, which I think

     14    also has an exhibit.        So those are the first

     15    documents we're going to talk about.

     16                  And we'll probably want to keep your

     17    expert report out through most of the deposition,

     18    because we'll be coming back to that.

     19           (Exhibit 1 was marked for identification.)

     20           (Exhibit 2 was marked for identification.)

     21           (Exhibit 3 was marked for identification.)

     22    BY MS. SUTTON:

     23           Q.     With respect to Exhibit 1, the deposition

     24    notice, have you seen this document before?

     25           A.     No, I have not.

   Golkow Litigation Services                                               Page 7
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further8 Confidentiality
                                                        of 184. PageID #: 225910
                                                                             Review

      1           Q.     Okay.    If you can turn to the third page,

      2    there's an Exhibit A.        And we had served this on your

      3    counsel, requesting that you bring certain types of

      4    documents prior to or at the deposition, to the

      5    extent they existed.        So maybe if we can just go

      6    through those.

      7                  Category 1 asks you to bring any documents

      8    or materials that you have reviewed since the date of

      9    your report that are not specifically identified in

     10    your report in preparation for your testimony.                So

     11    are there any additional documents beyond those that

     12    are disclosed in your report and your supplemental

     13    report that you have reviewed to prepare for this

     14    deposition?

     15           A.     I don't believe so.

     16           Q.     Okay.    So you don't have any other

     17    documents that you haven't already described to

     18    provide to me today?

     19           A.     Yes, I'm not sure when Rosenthal's errata

     20    was produced.      I think it was before the -- my

     21    report.

     22           Q.     Yes, I think you disclosed the Rosenthal

     23    errata in your report.         I saw that.

     24                  Now, Number 2 was asking for basically

     25    the -- the invoices that you had provided for your

   Golkow Litigation Services                                                 Page 8
Case:Highly
      1:17-md-02804-DAP Doc #:- 1977-18
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further9 Confidentiality
                                                        of 184. PageID #: 225911
                                                                             Review

      1    work in this case.       And we received those, I think,

      2    at 3:30 in the morning from your counsel, and we'll

      3    go through those a bit later.           And we have invoices

      4    from -- from yourself and also from Cornerstone.

      5                  Did anybody besides Cornerstone help you

      6    in -- in your work on this report?

      7           A.     No.

      8           Q.     Setting aside counsel?

      9           A.     No.

     10           Q.     Okay.    Your expert report that was served

     11    to us on May 10th included your curriculum vitae,

     12    your CV.     Is that your most recent and current CV, or

     13    do you have a more recent one since -- since that one

     14    was provided to us on May 10?

     15           A.     That's my current one.

     16           Q.     Okay.    I would ask that if you have any

     17    changes to your CV prior to the trial that's

     18    scheduled in October, we would really appreciate if

     19    you could provide us with an updated copy of your CV.

     20    Would you be willing to do that?

     21                  MR. MORRIS:      Objection.     And we'll take

     22          that under consideration.

     23                  MS. SUTTON:      Okay.

     24                  MR. MORRIS:      I suspect that won't be a

     25          problem.

   Golkow Litigation Services                                               Page 9
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further10Confidentiality
                                                         of 184. PageID #: 225912
                                                                             Review

      1                  MS. SUTTON:      All right.

      2    BY MS. SUTTON

      3            Q.    So we can look at Exhibit 2, which is your

      4    report and all the materials that were served with

      5    it.    I want to direct your attention to the first

      6    appendix, Appendix 1, which is your CV.

      7                  So just a few questions.          Did you prepare

      8    this CV?

      9            A.    Yes.

     10            Q.    Do you have a different CV that you use

     11    for your nontestifying work?

     12            A.    No, this is the CV I used in academic

     13    settings or any type of consulting.

     14            Q.    Okay.    Does this CV list all the

     15    professional organizations that you belong to?

     16            A.    You know, I'm a member of the American

     17    Economic Association and the -- some other

     18    professional associations, but they -- I'm not an

     19    officer or editor, any official position.              That's

     20    just a member.

     21            Q.    Okay.    So you said "the American Economics

     22    Association and some other organizations."              Do you

     23    remember, can you recall what those are?

     24            A.    I think the American Society of Health

     25    Economics -- Health Economists.

    Golkow Litigation Services                                             Page 10
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further11Confidentiality
                                                         of 184. PageID #: 225913
                                                                             Review

      1            Q.    Okay.    Anything else?

      2            A.    Those were the ones I think I'm currently

      3    affiliated with.

      4            Q.    Okay.    So looking at Exhibit 2, which is

      5    your -- your expert report and materials along with

      6    the supplemental report, Exhibit 3, as you sit here

      7    today, are these complete and accurate, to the best

      8    of your knowledge?

      9            A.    Yes.

     10            Q.    Do you have any corrections that you would

     11    like to make to either Exhibit 2 or 3?

     12            A.    I think they were listed, some typos were

     13    listed in the supplement, Exhibit 3.

     14            Q.    Okay.    So there's no -- you haven't

     15    identified any other corrections you want to make

     16    besides what's set forth in Exhibit 3?

     17            A.    That's correct.

     18            Q.    Okay.    Do Exhibit 2 and 3 contain all the

     19    opinions you intend to express in this case?

     20                  MR. MORRIS:      Objection.     Form.

     21                  THE WITNESS:      Yes, unless I'm asked to do

     22           something further.

     23    BY MS. SUTTON:

     24            Q.    Have you been asked to do anything in

     25    addition to what's -- what you were requested to do

    Golkow Litigation Services                                             Page 11
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further12Confidentiality
                                                         of 184. PageID #: 225914
                                                                             Review

      1    in these reports?

      2            A.    No.

      3            Q.    Did you rely on anything else beyond what

      4    is mentioned or cited in your report and in the

      5    attachments to your reports?

      6            A.    No.

      7            Q.    Okay.    When did you finish the

      8    supplemental expert report?

      9            A.    I finished it I think two days ago.

     10            Q.    Okay.    Now, looking at Exhibit 2, I wanted

     11    to kind of walk through the appendices and make sure

     12    that I understand them.

     13                  So Appendix 1 is your CV.          Appendix 1 is

     14    your CV, right?

     15            A.    Yes.

     16            Q.    Okay.    And Appendix 2, that's the -- your

     17    list of testimony in the four prior years, correct?

     18            A.    Yes.

     19            Q.    And then Exhibit -- or Appendix 3 is a

     20    listing of the materials that you considered?

     21            A.    Yes.

     22            Q.    And then you have Appendix 4A through 4C.

     23    And this seems to be a schedule of opioids that were

     24    sold by Endo; is that -- is that correct?

     25            A.    Yes.

    Golkow Litigation Services                                             Page 12
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further13Confidentiality
                                                         of 184. PageID #: 225915
                                                                             Review

      1            Q.    Okay.    Did you prepare these charts?

      2            A.    It was prepared under my direction at

      3    Cornerstone and at a request of the attorneys.

      4            Q.    So did the attorneys request that this

      5    book be put together?

      6            A.    They requested that I do some market share

      7    analysis to -- in the report, and I instructed

      8    Cornerstone to do so.

      9            Q.    Okay.    What -- what did you do to verify

     10    that this information was correct, that's set forth

     11    in these schedules?

     12            A.    I looked at some of the -- the

     13    IQVA Xponent data.        I looked at it in detail.         And I

     14    did some summary checks.

     15            Q.    So then if we turn to the -- the exhibits

     16    that are attached to your report, Exhibit -- Depo

     17    Exhibit Number 2.       You have Exhibit 1, 2A, and 2B.

     18    And these are adjustments to some of Dr. Rosenthal's

     19    calculations, correct?

     20            A.    Yes.

     21            Q.    And who prepared these?

     22            A.    Well, I -- they were done under my

     23    direction at Cornerstone.          And these are the

     24    conclusions, and I checked some of the inputs to see

     25    that I was satisfied that Cornerstone had executed my

    Golkow Litigation Services                                             Page 13
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further14Confidentiality
                                                         of 184. PageID #: 225916
                                                                             Review

      1    directions.

      2            Q.    Did the attorneys ask you to perform these

      3    adjustments?

      4            A.    No.

      5            Q.    So it was your idea to do this?

      6            A.    Yes.

      7            Q.    Okay.    And then just briefly looking at

      8    your supplemental report that we received on

      9    June 4th, it also has exhibits attached to it,

     10    Exhibits 1, 2A, and 2B, and these also seem to be

     11    adjustments to Dr. Rosenthal's calculations; is that

     12    correct?

     13            A.    Yes.

     14            Q.    And why did you do these?

     15            A.    Well, they were part of my report.

     16    It's -- you know, I -- I found various problems and

     17    limitations with Dr. Rosenthal's model, so I -- the

     18    first line is -- is her preferred model, and then the

     19    subsequent lines are various changes in terms of the

     20    depreciation rate, demand side variable, different

     21    treatment of time trend.         So those were all

     22    adjustments to show that her model was not very

     23    robust, or reasonable adjustments.            And this -- the

     24    one in here is based on the code that she submitted

     25    with her errata.

    Golkow Litigation Services                                             Page 14
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further15Confidentiality
                                                         of 184. PageID #: 225917
                                                                             Review

      1            Q.    And you asked -- did you perform these

      2    analyses?     Or again, did Cornerstone do them?

      3            A.    Cornerstone did them under my direction.

      4    They did the number crunching, but I proposed what

      5    was to be done, and then I checked it.

      6            Q.    Okay.    Let's talk a little bit about your

      7    educational background and -- and work history, and

      8    it might be helpful to have your CV in front of you,

      9    but I'm sure you remember all of this well.

     10                  You received your Ph.D. in economics in

     11    1967 from Princeton University?

     12            A.    Yes.

     13            Q.    Okay.    So that was 52 years ago.          I know

     14    that, because I was born in '67.            Then you went on to

     15    teach at Yale from 1967 to 1971, correct?

     16            A.    Yes.

     17            Q.    And then you were a research associate at

     18    the National Bureau of Economic Research.              Can you

     19    tell me a little bit about what you did there?

     20            A.    Well, I was a member of the -- visiting

     21    scholar research associate physician, and I actually

     22    worked on some advertising issues, a project

     23    involving -- that resulted in two subsequent

     24    publications, the interindustry distribution of

     25    advertising and the intraindustry impact of

    Golkow Litigation Services                                             Page 15
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further16Confidentiality
                                                         of 184. PageID #: 225918
                                                                             Review

      1    advertising.

      2                  So this was mainly consumer -- advertising

      3    to consumers in major media, and I was looking at

      4    some hypotheses that had been put forth by Professor

      5    Galbraith and others.

      6            Q.    Were you focusing on the impact of

      7    advertising on any particular industry?

      8            A.    Well, the first publication looked at

      9    several industries, you know, industries like

     10    consumer goods, toiletries, tires, various -- you

     11    know, I -- I looked at industries that had

     12    significant major media advertising and -- and looked

     13    at the impact there.        And then in the intraindustry,

     14    I looked at five industries that did a lot of major

     15    media advertising, including alcohol and cigarettes.

     16            Q.    Okay.    And then you joined Duke University

     17    in 1972?

     18            A.    Yes.

     19            Q.    And -- and you've been employed there ever

     20    since?

     21            A.    Yes.

     22            Q.    Okay.    And it looks like from your résumé

     23    that you were a professor until 2009, when you became

     24    a professor emeritus; is that correct?

     25            A.    Yes.    That meant I no longer had teaching

    Golkow Litigation Services                                             Page 16
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further17Confidentiality
                                                         of 184. PageID #: 225919
                                                                             Review

      1    responsibilities, but I continued as a director of a

      2    program.

      3            Q.    Okay.    So since 2009, you have -- you have

      4    no longer -- you no longer teach classes at

      5    Duke University?

      6            A.    That's correct.

      7            Q.    Okay.    And prior to 2009, did you teach

      8    undergraduates?

      9            A.    I taught undergraduates and graduates.

     10            Q.    Okay.    Is it -- I know it's kind of a wide

     11    span of time, but can you just give me an overview of

     12    the types of classes that you -- you taught from 1972

     13    to 2009?

     14            A.    Okay.    So when I first came to Duke, I

     15    taught both undergraduates in -- in microeconomics

     16    and econometrics, and I taught graduate courses in

     17    what we called industrial organization, which is the

     18    study of competition and factors that influence

     19    competition in particular industries.

     20                  And then, as time evolved, I did some

     21    teaching of health economics, innovation.              I did some

     22    senior seminars for honor students over time.               And I

     23    continue to do graduate classes in industrial

     24    organization.

     25            Q.    So you mentioned that since 2009 you no

    Golkow Litigation Services                                             Page 17
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further18Confidentiality
                                                         of 184. PageID #: 225920
                                                                             Review

      1    longer teach classes, and that your work I think

      2    centers on the program in pharmaceutical and health

      3    economics.      Were you the director?        Is that correct?

      4            A.    Yes.

      5            Q.    Okay.    So is it possible for you to just

      6    like tell me how many hours a month you devote to

      7    your work at Duke as professor emeritus?

      8            A.    I would say maybe 20 hours a -- a week.

      9    You know, the -- it's like a -- more like a

     10    half-time.

     11            Q.    So 24 hours a week every week since 2009,

     12    on average?

     13                  MR. WILSON:      20.

     14                  THE WITNESS:      20 hours.

     15    BY MS. SUTTON:

     16            Q.    20 hours.     I'm sorry.

     17            A.    Yes.    I would say that's a -- you know, a

     18    rough average.       Sometimes it's a lot more; sometimes

     19    it may be less.

     20            Q.    Okay.    So let's take like last month, for

     21    example.     How much time did you spend in your role as

     22    professor emeritus at Duke?

     23            A.    Well, we're doing a major paper with --

     24    I'm doing it with Joe DiMasi on R&D cost and returns

     25    of oncology drugs.        And so related to that and

    Golkow Litigation Services                                             Page 18
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further19Confidentiality
                                                         of 184. PageID #: 225921
                                                                             Review

      1    conferences and -- that were related to the program

      2    in pharmaceutical and economics, we're talking about

      3    last month, the month of May, I would say, you know,

      4    maybe 75 hours.

      5            Q.    A week, or a month --

      6            A.    For the month.

      7            Q.    -- for the entire month?

      8            A.    Yeah.

      9            Q.    And is that more than -- more hours than

     10    you would typically spend, because of all the -- all

     11    the things that are going on that you described?

     12            A.    As I said, it -- it averages -- there may

     13    be some months when I'm not doing much at Duke, and

     14    then others where I'm doing full 40 hours, or -- you

     15    know, I'm still invited to give lectures, and I still

     16    get together with colleagues to discuss potential

     17    projects for the program.

     18            Q.    And so in some of those hours when you're

     19    not doing as much at Duke, is that sometimes because

     20    you're busy acting as an expert witness?

     21            A.    That's one of the factors.          But it's more

     22    like I've gone on vacation or something like that.

     23            Q.    But you oftentimes act as an expert?

     24            A.    Yes.

     25            Q.    So you've been the director of the program

    Golkow Litigation Services                                             Page 19
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further20Confidentiality
                                                         of 184. PageID #: 225922
                                                                             Review

      1    in pharmaceuticals and health economics since 1983?

      2            A.    Right.    So there -- there was -- the

      3    program really evolved before that, but it was not an

      4    official program of Duke until 1983.

      5            Q.    Can you tell me a little bit about its

      6    structure and how it works within Duke?              Is it part

      7    of the department of economics, or . . .

      8            A.    Yes.    It's administered through the

      9    economics department and through the School of Arts

     10    and Sciences.      I'm the director, and it's -- you

     11    know, it's a mechanism for supporting graduate

     12    students, for supporting summer research on projects

     13    that relate to pharmaceuticals and health economics.

     14    It can pay for travels to present results at

     15    professional conferences.          That's kind of mainly what

     16    the functions are.

     17            Q.    What's the -- the annual budget for the

     18    program?

     19            A.    Right now it's less than it was at one

     20    point in time, but I would say right now the annual

     21    budget is maybe 60,000 a year.

     22            Q.    And so has it -- has the annual budget

     23    been higher than that in other years?

     24            A.    Way back when, in the '80s, it was higher,

     25    yes.

    Golkow Litigation Services                                             Page 20
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further21Confidentiality
                                                         of 184. PageID #: 225923
                                                                             Review

      1            Q.    Can you tell me how much higher it was?

      2            A.    It might have been as much as 100,000.

      3            Q.    Okay.    And where did the -- where did the

      4    funds come from that support this program?

      5            A.    Over the years, they've come from various

      6    sources.     They came from the National Science

      7    Foundation, from organizations like the General

      8    Accounting Office and the Institute of Medicine.

      9    They came from foundations, and they came from

     10    corporate grants.

     11            Q.    And do those corporate grants include

     12    grants from pharmaceutical companies?

     13            A.    Yes.

     14            Q.    Do they include grants from biotech or

     15    medical device companies?

     16            A.    Yes.

     17            Q.    Are you -- is it possible for you to

     18    characterize over time what percentage of the funding

     19    has come from pharmaceutical companies?

     20            A.    That would be hard to do.          I think it --

     21    it varied over different periods.            At some points it

     22    was mainly government; other times it was foundation

     23    or corporate grants.

     24            Q.    But certainly included money from drug

     25    companies?

    Golkow Litigation Services                                             Page 21
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further22Confidentiality
                                                         of 184. PageID #: 225924
                                                                             Review

      1            A.    Yes.

      2            Q.    Okay.

      3            A.    But to Duke University.

      4            Q.    Yeah.    And -- okay.      So it goes to

      5    Duke University, but then is it earmarked for -- for

      6    the program in pharmaceuticals and health economics?

      7            A.    Yes.

      8            Q.    Okay.    Is there -- is there anywhere I

      9    could go to look to see who -- what companies have

     10    provided grants to the program in pharmaceutical and

     11    health economics?

     12            A.    No, I never -- you know, I never had a

     13    website.     It predates websites, and --

     14            Q.    Right.

     15            A.    -- I never put that together here.

     16                  In -- in recent years, it is -- I should

     17    have also mentioned, there's an endowment, and the

     18    endowment is mainly what sustains the program now.

     19            Q.    And the -- is the endowment the money that

     20    was built up over time through the various grants and

     21    donations that were received, or . . .

     22            A.    No.

     23            Q.    Okay.    How was the -- how was the

     24    endowment created?

     25            A.    The endowment was created from

    Golkow Litigation Services                                             Page 22
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further23Confidentiality
                                                         of 184. PageID #: 225925
                                                                             Review

      1    GlaxoWellcome Company in a grant to Duke University

      2    to -- for this program and -- and for minority

      3    scholarships.

      4            Q.    Do you know the size of the endowment from

      5    GlaxoSmithKline?

      6            A.    You know, initially it was maybe 100,000,

      7    but it's grown through investments.

      8            Q.    Do you know, how large is the current

      9    endowment?

     10            A.    What I know is how much income it

     11    generates each year that can be used by the program.

     12    And that's -- let's see.         It's on the order of -- I

     13    think it's on the order of $30,000 income.

     14            Q.    Okay.    Do you know if your -- the program

     15    in pharmaceutical and health economics has ever

     16    received any funding from Purdue Pharma?

     17            A.    It has not.

     18            Q.    Okay.    Were you involved in reaching out

     19    to the pharmaceutical companies in order to get

     20    grants or funding for -- for your program in

     21    pharmaceutical and health economics at Duke?

     22            A.    That was mainly done by the development

     23    group at Duke.       The endowment came through a reaching

     24    out by the Duke development office to GlaxoWellcome

     25    to support activities at Duke.           And as I indicated,

    Golkow Litigation Services                                             Page 23
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further24Confidentiality
                                                         of 184. PageID #: 225926
                                                                             Review

      1    at the time I got my endowment they also funded

      2    minority scholarships and other things at Duke, but

      3    this is one of the things that was funded through the

      4    development office.

      5                  What I did is to anybody that provided

      6    funds, I provided them with some -- an annual update

      7    on the kind of work we were doing.

      8            Q.    Okay.    Do you get a salary from the --

      9    from this program in pharmaceutical and health

     10    economics?

     11            A.    I currently do, yes, because I'm emeritus,

     12    and this is one of the sources of my current research

     13    in the program along with, you know, grants made

     14    directly to me.

     15            Q.    Right.    So what -- what is your current

     16    salary from the program in pharmaceuticals and health

     17    economics?

     18            A.    It's $5,000 a month.

     19            Q.    Okay.    And then do you have a separate --

     20    another salary that you get from Duke as your role of

     21    professor emeritus?

     22            A.    Not except for pension funds.

     23            Q.    Okay.    And has that been the case since

     24    you became a professor emeritus in 2009?

     25            A.    Yes.

    Golkow Litigation Services                                             Page 24
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further25Confidentiality
                                                         of 184. PageID #: 225927
                                                                             Review

      1            Q.    So your money that you get paid from Duke

      2    comes through this program in pharmaceuticals and

      3    health economics?

      4            A.    Yes.

      5            Q.    Okay.    And then you mentioned, I think, in

      6    one of your last answers, that there were -- you

      7    receive money from grants that are made directly to

      8    you?

      9            A.    Well, I should clarify that.           Not directly

     10    to me, but to some researcher that -- you know, we

     11    got a grant to study neglected diseases that came, I

     12    think, through the public policy department that I

     13    was part of.      We've had grants from other government

     14    sources that come to me -- that I'm one of the

     15    principal investigators.

     16            Q.    Right.    But the -- the grant money, does

     17    it go to Duke to be used on the project, or does it

     18    come like to you?       I'm just trying to understand how

     19    the money flows.

     20            A.    Flows through Duke or through Tufts or

     21    through some generally academic institution.

     22            Q.    Okay.    So if you look at your -- I was

     23    going to do this a little later, but can we look at

     24    your CV?     I see you have a list -- I think it's on

     25    page 16.     There's a list of research grants and

    Golkow Litigation Services                                             Page 25
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further26Confidentiality
                                                         of 184. PageID #: 225928
                                                                             Review

      1    government projects.

      2                  Is this -- does this contain all -- a

      3    description of all the grants that have -- have come

      4    through you to Duke University?           Or are there some

      5    missing?

      6                  MR. MORRIS:      Objection to form.

      7                  THE WITNESS:      I think it would include all

      8           the grants to Duke or through Duke, yes.

      9    BY MS. SUTTON:

     10            Q.    Okay.    It would -- this would not include

     11    the grants, though, that went through Tufts, that you

     12    mentioned earlier?

     13            A.    Well, I may have misspoke.          I used Tufts

     14    as an example.       I don't recall specifically a grant

     15    from Tufts.      I work collaboratively with Tufts.

     16            Q.    Yeah, you -- you work collaboratively with

     17    Joe DiMasi, right?

     18            A.    Yes.

     19            Q.    And he's at Tufts, correct?

     20            A.    Right.

     21            Q.    And then so he probably receives grants

     22    from Tufts for his work where you collaborate?                Am I

     23    characterizing that correct?

     24            A.    Yes.

     25            Q.    Okay.    So just looking at these research

    Golkow Litigation Services                                             Page 26
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further27Confidentiality
                                                         of 184. PageID #: 225929
                                                                             Review

      1    grants, I see that you have dollar amounts for the

      2    grants listed at the first grant, second, third, and

      3    then skip down to the sixth.           And those seem to be

      4    grants that you received from the National Science

      5    Foundation, correct?

      6                  MR. MORRIS:      Objection to form.

      7                  THE WITNESS:      They were grants from the

      8           National Foundation to Duke University for

      9           various projects.

     10    BY MS. SUTTON:

     11            Q.    Is there a reason you don't put dollar

     12    amounts for the -- for the size of the grants for

     13    the -- the remainder that are listed here?

     14            A.    I think those were the -- what I would

     15    call the major grants, particularly the ones starting

     16    the second through the fourth, and most of the others

     17    would be much smaller amounts.

     18            Q.    Okay.    So I just want to turn briefly

     19    to -- to another topic.         In your expert report, I

     20    think at paragraph 6, it says that you were retained

     21    on behalf -- you were retained for this case on

     22    behalf of Endo Pharmaceuticals, Endo Health

     23    Solutions, as well as Par Pharmaceutical companies,

     24    correct?

     25            A.    Yes.

    Golkow Litigation Services                                             Page 27
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further28Confidentiality
                                                         of 184. PageID #: 225930
                                                                             Review

      1            Q.    Okay.    So are you working for any other of

      2    the defendants in the opioid litigation in this case?

      3            A.    No.

      4            Q.    Okay.    Who first contacted you about

      5    becoming an expert in this case?

      6            A.    I think first I had a conversation with

      7    Cornerstone saying there was interest in exploring

      8    whether I was open -- you know, available, and

      9    interested in being an expert in the case.              And that

     10    was Greg Eastman and some colleagues at Cornerstone.

     11    And I said I would be interested in discussing it.

     12                  And then subsequent to that, I had a

     13    conversation with Steve Lonergan from Arnold & Porter

     14    about the case and about a potential -- my potential

     15    role.

     16            Q.    Was it your understanding that Steve

     17    Lonergan had reached out to Cornerstone about getting

     18    an -- getting an expert involved in this case on

     19    behalf of Endo and Par?

     20            A.    I don't know for sure.         It may be the

     21    case.

     22            Q.    I'm just trying to understand if you know

     23    how -- why Cornerstone reached out to you.              What

     24    prompted them to do that?

     25            A.    I have worked with Cornerstone on many

    Golkow Litigation Services                                             Page 28
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further29Confidentiality
                                                         of 184. PageID #: 225931
                                                                             Review

      1    pharmaceutically related projects.            Many of the list

      2    of testimony were done in -- with Cornerstone doing

      3    support.     So it's possible that they recommended me

      4    to Arnold & Porter, or suggested that I had a strong

      5    knowledge of the pharmaceutical industry, lots of

      6    publications related to pharmaceuticals, and I had

      7    some experience in doing litigation.

      8            Q.    So -- and Cornerstone lists on its website

      9    a number of clients that are -- that include law

     10    firms, right?

     11            A.    I haven't looked at their website, but

     12    I'll take your word for it.

     13            Q.    But it's your understanding that law firms

     14    come to Cornerstone to help them find experts for

     15    cases, correct?

     16                  MR. MORRIS:      Objection to form.

     17                  THE WITNESS:      Among other things, that

     18           they may have, you know, relationships with law

     19           firms, yes.

     20    BY MS. SUTTON:

     21            Q.    And had you -- had you worked with Steve

     22    Lonergan in prior matters before this case?

     23            A.    No.

     24            Q.    Had you worked with the law firm Arnold &

     25    Porter in prior litigation?

    Golkow Litigation Services                                             Page 29
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further30Confidentiality
                                                         of 184. PageID #: 225932
                                                                             Review

      1            A.     I think I may have, but I don't recall

      2    specifically if I have.

      3            Q.     Do you recall whether you worked with

      4    Arnold & Porter more than once?

      5            A.     I think if I did -- I would have to go

      6    back and look at my records -- I -- you know, I

      7    served on a board with an Arnold & Porter member,

      8    and -- who is former general counsel at Arnold &

      9    Porter.      But I don't recall any specific litigation.

     10    I -- I remember being on a board with him.

     11            Q.     Well, maybe a little later we'll go

     12    through some of the cases, and it might spark your

     13    memory if you had worked with Arnold & Porter in the

     14    past.

     15                   So you said that Cornerstone reached out

     16    to you first.      Do you remember when that contact

     17    occurred?

     18            A.     It was kind of last summer, I think, the

     19    summer of 2018.

     20            Q.     Okay.   What was your understanding of

     21    the -- of the assignment that you had been given to

     22    look into in this case?

     23            A.     Well, it was initially a consulting

     24    assignment that -- there was litigation, as -- as I

     25    indicated here, that related to Cuyahoga and Summit

    Golkow Litigation Services                                             Page 30
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further31Confidentiality
                                                         of 184. PageID #: 225933
                                                                             Review

      1    County against manufacturers, distributors, and

      2    pharmacies, and that there was an allegation that

      3    massive false marketing had drastically expanded the

      4    market, and that there was, you know, likely to be

      5    expert reports by economists from plaintiffs that I

      6    might rebut, depending on their nature, as well as,

      7    given my research in the pharmaceutical industry, I

      8    could explain the complexities and the dynamic nature

      9    of the pharmaceutical industry as it relates to this

     10    litigation.

     11            Q.    So at the time you were retained, in the

     12    summer of 2018, you had not seen any expert reports

     13    had been provided by the Plaintiffs yet?

     14            A.    That's correct.

     15            Q.    Were you given any assumptions from which

     16    you were to write your report?

     17            A.    No.

     18            Q.    Okay.    You mentioned the Summit and

     19    Cuyahoga County cases; and is it your understanding

     20    that those are the first cases that are slotted to go

     21    to trial in the multidistrict litigation?

     22            A.    Yes.

     23            Q.    Okay.    Have you been retained as an expert

     24    in -- in any of the other cases that are filed in the

     25    MDL?

    Golkow Litigation Services                                             Page 31
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further32Confidentiality
                                                         of 184. PageID #: 225934
                                                                             Review

      1            A.    No.

      2            Q.    Have you been retained as an expert in any

      3    other opioid case falling outside the multidistrict

      4    litigation?

      5            A.    No.

      6            Q.    Okay.    So it's your understanding that

      7    you're only providing testimony in the Cuyahoga and

      8    Summit County case?

      9                  MR. MORRIS:      Objection to form.

     10                  THE WITNESS:      Yes, related to my

     11           assignment here that I have provided testimony

     12           today related to that, yes.

     13    BY MS. SUTTON:

     14            Q.    Okay.    Have you met with or had any

     15    discussions or e-mail exchanges with any individuals

     16    that have been designated as expert witnesses in this

     17    case?

     18            A.    No.

     19            Q.    Okay.    Do you know Minnie Baylor-Henry?

     20            A.    No.

     21            Q.    Never had any meetings or e-mails with her

     22    about this case?

     23            A.    Not to my memory, no.

     24            Q.    Okay.    Do you know Jon Fryzek?

     25            A.    No.

    Golkow Litigation Services                                             Page 32
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further33Confidentiality
                                                         of 184. PageID #: 225935
                                                                             Review

      1            Q.    So you've never had any discussions or

      2    e-mails with him?

      3            A.    That's correct.

      4            Q.    Okay.    Richard La Magna?

      5            A.    No.

      6            Q.    Okay.    Same questions with respect to

      7    Justin McCrary.

      8            A.    No, I've not had any e-mails or

      9    discussions.

     10            Q.    Do you know him?       He's at Columbia

     11    University.

     12            A.    No, I do not know him.         I've heard of him,

     13    but I don't know him personally.

     14            Q.    Okay.    Sean Patterson?

     15            A.    No.

     16            Q.    Have you heard of him?

     17            A.    No.

     18            Q.    Okay.    Have you had any discussions or

     19    e-mails about this case with Robert Young, Dr. Robert

     20    Young?

     21            A.    No.

     22            Q.    Do you know of him?

     23            A.    No.

     24            Q.    Have you had any meetings, discussions, or

     25    e-mails with Mark Murtha?

    Golkow Litigation Services                                             Page 33
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further34Confidentiality
                                                         of 184. PageID #: 225936
                                                                             Review

      1            A.    No.

      2            Q.    Do you know Mark Murtha?

      3            A.    No.

      4            Q.    Okay.    Have you had any e-mails, meetings

      5    or discussions with Dr. Doug Tucker?

      6            A.    No.

      7            Q.    Do you know Dr. Doug Tucker?

      8            A.    No.

      9            Q.    Have you had any e-mails, discussions, or

     10    meetings with a Dr. Robert Lyerla at Western Michigan

     11    University?

     12            A.    No.

     13            Q.    Do you know -- do you know him?

     14            A.    No.

     15            Q.    Have you had any e-mails, meetings, or

     16    discussions with a Dr. Bruce Michael Bagley at the

     17    University of Miami?

     18            A.    No.

     19            Q.    Okay.    Do you know him?

     20            A.    No.

     21            Q.    All right.      Thank you.

     22                  Do you plan to testify at the Summit and

     23    Cuyahoga trial in October?

     24            A.    If I'm asked to testify, I will.            You

     25    know.

    Golkow Litigation Services                                             Page 34
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further35Confidentiality
                                                         of 184. PageID #: 225937
                                                                             Review

      1            Q.    Have you been -- have you been asked?

      2            A.    Not to this point, no.

      3            Q.    Do you have it blocked out on your

      4    calendar?

      5            A.    I have it blocked out, yes.

      6            Q.    Okay.    Besides the attorneys at Arnold &

      7    Porter, have you been in touch with any other lawyers

      8    about your expert work in this case?

      9            A.    No.

     10            Q.    Do -- if -- if you testify at trial, do

     11    you plan to use any demonstratives?

     12                  MR. MORRIS:      Objection to form.

     13                  THE WITNESS:      Quite possibly, yes.

     14    BY MS. SUTTON:

     15            Q.    Okay.    Have those demonstratives been

     16    made?

     17            A.    No.

     18            Q.    Would you make them, or would someone else

     19    do it?

     20            A.    They would be made under my direction by

     21    someone who does software.

     22            Q.    Okay.    Would -- would those folks be at

     23    Cornerstone?

     24            A.    Cornerstone or another related

     25    technological company.

    Golkow Litigation Services                                             Page 35
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further36Confidentiality
                                                         of 184. PageID #: 225938
                                                                             Review

      1            Q.    So turning back to your expert report, I

      2    wanted to turn to Appendix 3, which you have titled

      3    "Materials Considered."

      4                  Did you put together Appendix 3, or did

      5    someone else do that for you?

      6            A.    It was put together under my direction.              I

      7    didn't type it out, but I -- this is -- I indicated

      8    to Cornerstone to put down all of the material that

      9    we had considered in the report, including all of the

     10    references.

     11            Q.    Okay.    So this Appendix 3 was created by

     12    Cornerstone?

     13                  MR. MORRIS:      Objection to form.

     14                  THE WITNESS:      Well, I wouldn't

     15           characterize it that way.         I -- I created it.

     16           They did the actual typing of it, but it was

     17           created under my direction.

     18    BY MS. SUTTON:

     19            Q.    Did Cornerstone keep track of, along the

     20    way, all the materials that you were considering for

     21    your expert report?

     22            A.    They -- you know.        Yes, I would say they

     23    kept track of materials, but I initiated much of

     24    the -- the documents to look at.

     25            Q.    Okay.    So -- so is this Appendix 3, is

    Golkow Litigation Services                                             Page 36
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further37Confidentiality
                                                         of 184. PageID #: 225939
                                                                             Review

      1    this a full and complete listing of every document

      2    you have reviewed and considered in preparing your

      3    report?

      4                  MR. MORRIS:      Objection.     Form.

      5                  THE WITNESS:      It looks to be a complete

      6           documentation of materials considered.             Of

      7           course, I rely also on my 50-years-plus of doing

      8           research in economics of the pharmaceutical

      9           industry.

     10    BY MS. SUTTON

     11            Q.    Is there anything you would want to add as

     12    you sit here today?

     13            A.    No.

     14            Q.    Let's take a look at first -- the first

     15    section of materials considered, which are the

     16    academic articles.

     17                  I counted this up, and it looked like that

     18    there were 38 articles.         You would agree that there

     19    are more than 38 academic articles on the

     20    relationship between the promotion and sale of

     21    pharmaceuticals, wouldn't you?

     22            A.    Yes.

     23            Q.    So how did you go about selecting -- well,

     24    first, did Cornerstone find any of these 38 articles

     25    for you?

    Golkow Litigation Services                                             Page 37
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further38Confidentiality
                                                         of 184. PageID #: 225940
                                                                             Review

      1            A.    A few, you know.       I -- I gave them the

      2    articles that I thought were most relevant from my

      3    experience, and then I asked them to see if there

      4    were any other references that were in the literature

      5    that seemed relevant to the report at hand.

      6            Q.    Can you identify the articles that you

      7    provided to Cornerstone?

      8            A.    Not off -- most of these were ones that I

      9    mentioned, but I -- you know, I -- I don't have a

     10    memory of which ones they followed up on or suggested

     11    I look at.

     12            Q.    So what kind of instructions did you give

     13    Cornerstone with respect to adding to this list of

     14    academic articles beyond what you provided them?

     15            A.    I said there is a -- a literature here on

     16    the effects of promotion.          And particularly, you

     17    know, I -- I have done work in this area, so I know

     18    the literature well.        But for instance, Dr. Rosenthal

     19    has found a negative depreciation rate, which I said

     20    I never have seen this in my professional experience.

     21    And she claims it's due to -- it can be explained by

     22    the fact that opioids are addictive, but there are

     23    other work on addictive substances, marketing of

     24    addictive substances, like cigarettes and alcohol,

     25    that has been undertaken, some by me and some by

    Golkow Litigation Services                                             Page 38
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further39Confidentiality
                                                         of 184. PageID #: 225941
                                                                             Review

      1    others.      And I want you to see if I'm right, that

      2    there -- that you can find anything in the literature

      3    that has a negative depreciation rate.

      4                   And in the context of that, they looked at

      5    stuff -- some more articles.           They searched the

      6    literature diligently, but they could not find

      7    anything.

      8            Q.     And when you say "they," you're referring

      9    to Cornerstone?

     10            A.     Yes, the team at Cornerstone.

     11            Q.     Did you conduct any of your own searches

     12    of the medical literature?

     13            A.     Of this literature, yes.

     14            Q.     Oh.    And when did you do that?

     15            A.     Started when -- back in -- when I was

     16    first retained, and it continued through when I

     17    submitted my report.

     18            Q.     So you did searches, and you also asked

     19    Cornerstone to do searches?

     20            A.     Yes.    They're another set of eyes.

     21            Q.     And so this list of academic articles

     22    reflects both articles you found and articles that

     23    Cornerstone found?

     24            A.     Yes.    Primarily that I found or knew

     25    about, and a few that they added to, had me look at.

    Golkow Litigation Services                                             Page 39
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further40Confidentiality
                                                         of 184. PageID #: 225942
                                                                             Review

      1            Q.    Now, you're aware that Dr. Rosenthal has

      2    published in the area of promotion and the sale of

      3    pharmaceutical products, correct?

      4            A.    Yes.

      5            Q.    And in fact you have cited to her in some

      6    of your academic research, correct?

      7            A.    Yes.

      8            Q.    Okay.    So when you would receive

      9    materials -- oh, one other question.             With respect to

     10    these academic articles, or actually any of the other

     11    things that are listed in Appendix 3, were -- were

     12    any of these items provided to you by the attorneys?

     13            A.    No.

     14            Q.    Okay.    So when you would receive materials

     15    from Cornerstone, how would they send it to you?

     16    Electronic or hard copy?

     17            A.    Electronic, usually.

     18            Q.    Like a PDF?

     19            A.    Yes.

     20            Q.    Okay.    Do you keep a file for this case in

     21    your office, or in your home?

     22                  MR. MORRIS:      Objection to form.

     23                  THE WITNESS:      No, not really.

     24    BY MS. SUTTON:

     25            Q.    Okay.    How do you organize the materials

    Golkow Litigation Services                                             Page 40
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further41Confidentiality
                                                         of 184. PageID #: 225943
                                                                             Review

      1    that you considered for your report?

      2            A.    You know, they're all available pretty

      3    much online, so I looked online at a lot of them.                So

      4    a lot of them were not literally a PDF.              There may

      5    have been a few like that, that I wanted us -- them

      6    to produce, but I -- I have access to Medline through

      7    Duke University, so I can pull up an article and look

      8    at it.

      9            Q.    Okay.    Now, in this case, you're

     10    testifying on behalf of Endo or Par, correct?

     11            A.    Yes.

     12            Q.    All right.      And how many Endo and Par --

     13    strike that.

     14                  Endo and Par produced documents in this

     15    litigation as part of the discovery process; are you

     16    aware of that?

     17            A.    Yes.

     18            Q.    And I -- looking at your "Materials

     19    Considered" list, under "Produced Documents," it

     20    looks like you looked at three documents that were

     21    produced by Endo.       Is that correct?

     22            A.    Yes.

     23            Q.    Did you -- did you review any more than

     24    the three documents that are described here?

     25            A.    No.

    Golkow Litigation Services                                             Page 41
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further42Confidentiality
                                                         of 184. PageID #: 225944
                                                                             Review

      1            Q.    Were you given access to the Endo and Par

      2    document productions that were made in the opioid

      3    litigation?

      4            A.    Yes.

      5            Q.    And how were you given access?

      6            A.    In the sense that we went through a

      7    process where -- you know, initially I wasn't --

      8    initially the scope of my participation was to

      9    characterize the pharmaceutical industry and its

     10    complexities, which I've done in the report, and to

     11    await what would be produced by the economist on the

     12    plaintiffs' side that I would -- could be asked to

     13    rebut.

     14                  And so I asked Cornerstone to look at what

     15    data was available that might be used either by the

     16    plaintiffs or by us, and what documents internally

     17    might be useful in this task.           So they screened some

     18    documents, but then we received Rosenthal's report,

     19    which was focused on statistical analysis between

     20    marketing and opioid utilization, and that one became

     21    my focus after receiving Rosenthal's report.

     22                  So I had all the documents I needed to do

     23    my two main tasks, which were to characterize the

     24    industry complexity and dynamic nature, and second,

     25    to focus on the limitations of Rosenthal's analysis.

    Golkow Litigation Services                                             Page 42
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further43Confidentiality
                                                         of 184. PageID #: 225945
                                                                             Review

      1            Q.    Okay.    So if I understand -- that was kind

      2    of a long answer.       If I understand it correctly, when

      3    I had asked you, did you -- were you given access to

      4    the millions of documents that Endo and Par produced

      5    in discovery, and if I heard you right, I think you

      6    were saying Cornerstone had that access?

      7            A.    Cornerstone and myself.         But I -- I

      8    delegated to Cornerstone to look through this

      9    material to see if it was anything that was useful in

     10    supporting my analysis of, you know, the way the

     11    industry works.       But I primarily relied on my own

     12    experience and knowledge.          And second of all,

     13    depending on what we were going to be asked to do in

     14    terms of a rebuttal, was there useful information.

     15                  So yes, they -- they were screening a lot

     16    of the documents, looking through them, and I relied

     17    on them to call to my attention anything that would

     18    be supportive of my main assignment.

     19            Q.    So do you know how many of Endo and Par's

     20    internal documents that Cornerstone would have looked

     21    at?

     22            A.    No.

     23            Q.    And do you know how many Endo and Par

     24    discovery documents you looked at?            Is it just the

     25    three that are listed here?

    Golkow Litigation Services                                             Page 43
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further44Confidentiality
                                                         of 184. PageID #: 225946
                                                                             Review

      1            A.    It's just the three here.

      2            Q.    Okay.    Did you ever perform any searches

      3    of -- on any database that contained Endo and Par

      4    internal documents?

      5            A.    No.

      6            Q.    Do you know if Cornerstone did?

      7            A.    I think they made -- I think they may have

      8    looked at what documents -- what data might -- data

      9    exists, both externally and internally, that might

     10    support a statistical analysis by the plaintiffs or

     11    in rebuttal to the plaintiffs economics analysis.

     12            Q.    Did you ever ask them what Cornerstone

     13    found when they looked at the Endo and Par documents?

     14            A.    We had some discussions of that, yes.

     15            Q.    And how would those discussions occur?

     16            A.    Well, I would ask, is there claims data

     17    available?      Is there data about potentially marketing

     18    contacts in Cuyahoga and Summit County?              Is there

     19    data on prescriptions in those counties?              What

     20    information, either external or internal, is

     21    available that would -- could shed light on issues of

     22    marketing and sales in a -- at a county level?

     23            Q.    So would you have those discussions via

     24    e-mail, or over the phone?          Can you just tell me

     25    how -- what format they took?

    Golkow Litigation Services                                             Page 44
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further45Confidentiality
                                                         of 184. PageID #: 225947
                                                                             Review

      1            A.    Over the phone.

      2            Q.    Okay.    And did -- did Cornerstone point

      3    you to any internal documents that spoke to the

      4    subject you just described?

      5            A.    No, I think basically they said there's

      6    not any information that would provide a basis for a

      7    statistical analysis.

      8            Q.    Did you have -- did you review any

      9    documents that were produced by the Plaintiffs,

     10    Cuyahoga and Summit County, in this case?

     11            A.    I don't recall doing so.

     12            Q.    Do you know if you had access to the

     13    documents that were produced by the plaintiffs in

     14    this case?

     15            A.    What I did is I reviewed any references

     16    that I felt were important to review in Rosenthal.                 I

     17    don't know that she cited any government documents.

     18            Q.    And when you say "government documents,"

     19    documents produced by Cuyahoga and Summit County?

     20            A.    That's what I understood your query, yes.

     21            Q.    Just wanted to make sure we were using the

     22    same terminology.

     23                  Did you review any internal documents

     24    produced in discovery by any of the other defendants

     25    in this case?

    Golkow Litigation Services                                             Page 45
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further46Confidentiality
                                                         of 184. PageID #: 225948
                                                                             Review

      1            A.    Not to my knowledge, no.

      2            Q.    Do you know if Cornerstone reviewed any

      3    documents produced by other defendants in this

      4    litigation?

      5            A.    I don't believe they did.

      6            Q.    Do you know if Cornerstone is working with

      7    any other experts in this case?

      8            A.    I understand they are, but they're not --

      9    there's not an interchange of information.

     10            Q.    What do you mean by "there's not an

     11    interchange of information"?

     12            A.    Well, my understanding is there are

     13    separate teams working for separate defendants, and

     14    those teams have not shared information prior to the

     15    expert reports that came from the different

     16    defendants.      I think there was no communication of --

     17    as I understand it, about analysis or data or

     18    anything prior to the reports that came out.

     19            Q.    Okay.    And what other -- do you know what

     20    other experts in this litigation that Cornerstone is

     21    working with, who they are?

     22            A.    My understanding is they include Sean

     23    Nicholson and Ian Coburn.          Those are the only two I

     24    know about.

     25            Q.    And those experts were retained by other

    Golkow Litigation Services                                             Page 46
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further47Confidentiality
                                                         of 184. PageID #: 225949
                                                                             Review

      1    defendants in this litigation?

      2            A.    That's my understanding.

      3            Q.    And have you now had an opportunity to

      4    review the results of Sean Nicholson and Ian Coburn's

      5    work?

      6            A.    No.

      7            Q.    Appendix 3 also said that you reviewed the

      8    depositions of two plaintiffs' experts, Dr. Rosenthal

      9    and Dr. McGuire.       Why did you choose to review the

     10    depositions of those two experts?

     11            A.    Well, Dr. Rosenthal was --

     12            Q.    Or -- excuse me.       I'll ask that

     13    differently.      Strike that.      We know why you did it,

     14    so I'll simplify that.

     15                  Why did you chose to review the deposition

     16    of Thomas McGuire and not any other plaintiffs'

     17    experts besides McGuire and Rosenthal?

     18            A.    There was a reference in Dr. McGuire's

     19    deposition to formularies.          He was asked some

     20    questions on formularies, and he said that

     21    formularies do affect which drugs are selected to use

     22    for patients.       And it was a useful thing to quote in

     23    my report.

     24            Q.    But you did not review the depositions of

     25    any other plaintiffs' experts beyond Rosenthal and

    Golkow Litigation Services                                             Page 47
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further48Confidentiality
                                                         of 184. PageID #: 225950
                                                                             Review

      1    McGuire, correct?

      2            A.    Yes.

      3            Q.    And you didn't review the depositions of

      4    any of the defense witnesses that were taken in this

      5    case, did you?

      6            A.    That's correct.

      7            Q.    And you didn't review the depositions of

      8    any of the plaintiff witnesses that were taken in

      9    this case, correct?

     10            A.    Yes.

     11            Q.    Did you review the exhibits to

     12    Dr. Rosenthal's deposition?

     13            A.    Yes, I did.

     14            Q.    And did you review the exhibits to the

     15    deposition of Dr. McGuire?

     16            A.    Oh, to the deposition.         I was initially

     17    thinking about his report -- her report.

     18                  I don't know that I saw the exhibits.             I

     19    don't think they were provided in the document that I

     20    reviewed.

     21            Q.    Okay.    Are you aware of whether any of the

     22    manufacturing defendants conducted any internal

     23    studies or possess any data on the effects of

     24    promotion on sales?

     25                  MR. MORRIS:      Objection to form.       I'll

    Golkow Litigation Services                                             Page 48
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further49Confidentiality
                                                         of 184. PageID #: 225951
                                                                             Review

      1           instruct the witness not to answer, to the

      2           extent that any information you may have comes

      3           from counsel.

      4                  THE WITNESS:      Other than what's

      5           confidential, I -- I don't have any knowledge.

      6    BY MS. SUTTON:

      7            Q.    When you say "confidential," you're

      8    referring to communications with counsel?

      9            A.    Yes, although -- could I hear the question

     10    again?

     11            Q.    Well, maybe I can rephrase it.

     12                  Did you ever ask whether or not any of the

     13    manufacturing defendants had -- had any internal

     14    studies or any data on the effects of promotion on

     15    sales?

     16            A.    No, I never asked that question.

     17            Q.    Okay.    Have you ever heard of something

     18    called "call notes"?

     19            A.    Yes.

     20            Q.    And isn't it true that call notes describe

     21    interactions between pharmaceutical drug sales

     22    representatives and prescribers?

     23            A.    Yes, they're like contacts, but they often

     24    can be very brief in their notation.

     25            Q.    Right.    But they do document to some

    Golkow Litigation Services                                             Page 49
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further50Confidentiality
                                                         of 184. PageID #: 225952
                                                                             Review

      1    extent the interactions that the sales reps have with

      2    prescribing physicians, correct?

      3            A.    Yes, some firms have them historically.

      4    Some firms don't have -- they're very limited in what

      5    they have.

      6            Q.    Okay.    And did you review any call notes

      7    in this case?

      8            A.    No.

      9            Q.    Did you ask to see any of the call notes

     10    that have been produced in this case?

     11            A.    No.

     12            Q.    I was going to go to another topic.             I

     13    don't know if you want to take a break or keep going.

     14                  MR. MORRIS:      I guess we can take a quick

     15           break, just to stretch the legs and . . .

     16                  THE WITNESS:      Yeah.    We can use the

     17           restroom.     Thank you.

     18                  VIDEOGRAPHER:      Going off the record.         The

     19           time is 10:34 a.m.

     20                  (A recess transpired from 10:34 a.m. until

     21                  10:43 a.m.)

     22                  VIDEOGRAPHER:      Going back on the record.

     23           The time is 10:43 a.m.

     24    BY MS. SUTTON:

     25            Q.    Professor Grabowski, I just wanted to

    Golkow Litigation Services                                               Page 50
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further51Confidentiality
                                                         of 184. PageID #: 225953
                                                                             Review

      1    change topics and -- and talk about some -- some of

      2    your areas of academic interest.            I've read a lot of

      3    your -- your papers and a lot of your expert reports,

      4    so I feel like I'm starting to get kind of a better

      5    handle on -- on what some of your views on topics

      6    are.    But I just wanted to ask you a few questions.

      7                  Is it -- is it your opinion that branded

      8    pharmaceutical companies need more patent protection

      9    in order to award innovation?

     10                  MR. MORRIS:      Objection to form.

     11                  THE WITNESS:      I'm not sure what you mean

     12           by "more."     The amount of protection varies.

     13           And it can be very short, or it can be longer.

     14           We found on average it's 12 years.

     15    BY MS. SUTTON:

     16            Q.    Do you think 12 years is an adequate

     17    amount of time for patent protection in order to

     18    reward innovation?

     19            A.    Well, that also can vary, but as an

     20    average, it's -- you know, some of the seminal work

     21    by Nordhaus, who won the Nobel Prize in economics,

     22    but some of his seminal work was on exclusivity, and

     23    found that it could be longer to get -- promote

     24    social welfare for innovation.           But in

     25    pharmaceuticals, I think a very short exclusivity

    Golkow Litigation Services                                             Page 51
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further52Confidentiality
                                                         of 184. PageID #: 225954
                                                                             Review

      1    period, like the five years, would generally -- a

      2    five years' exclusivity under Hatch-Waxman would be

      3    insufficient for many important innovations.               Twelve

      4    years is generally sufficient in most cases.

      5            Q.    Okay.    But five years, in your view, is

      6    too short to reward innovation?

      7            A.    For most innovations, yes.

      8            Q.    Okay.

      9            A.    In pharmaceuticals.

     10            Q.    And I know you've testified in both

     11    Congress and -- and court proceedings in patent --

     12    about the patent laws in -- in patent cases.               Do you

     13    have any disagreement with the patent laws as they

     14    are now written?

     15                  MR. MORRIS:      Objection to form.

     16                  THE WITNESS:      Well, laws can always be

     17           improved, but I haven't specifically advocated

     18           any particular reforms.

     19    BY MS. SUTTON

     20            Q.    Okay.    So there is nothing, as you sit

     21    here today, that you would advocate should be changed

     22    about the patent system?

     23            A.    Well, I think it could be harmonized.             I

     24    think I've indicated harmonization globally, and, you

     25    know, the -- the Hatch-Waxman exclusivity is

    Golkow Litigation Services                                             Page 52
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further53Confidentiality
                                                         of 184. PageID #: 225955
                                                                             Review

      1    different from biologics and new chemical entities,

      2    and that could be harmonized.           I think otherwise you

      3    create more incentives for one type of innovation

      4    compared to another.

      5            Q.    And you have -- you've been involved in a

      6    lot of litigation involving branded pharmaceutical

      7    companies versus generic drug manufacturers, correct?

      8            A.    That's correct.

      9            Q.    And in those cases, is it fair to say that

     10    you've generally testified on behalf of the branded

     11    drug company?

     12            A.    Generally, yes.

     13            Q.    Have you ever testified in one of those

     14    cases on behalf of a generic?

     15            A.    Yes, I've testified on behalf of a patent

     16    challenger.

     17            Q.    Okay.    But that was just one time that you

     18    recall?

     19            A.    One time testifying.        Other times I've

     20    been retained and the cases have been settled.

     21            Q.    Do you have a view on whether or not

     22    generic drugs undermine branded pharmaceutical

     23    company revenue?

     24                  MR. MORRIS:      Objection to form.

     25                  THE WITNESS:      Well, I wouldn't phrase it

    Golkow Litigation Services                                             Page 53
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further54Confidentiality
                                                         of 184. PageID #: 225956
                                                                             Review

      1           that way.     I think both branded and generic

      2           serve very useful social welfare functions.

      3           Branded companies provide discovery of new

      4           products, and generics provide intensive price

      5           competition after patents and exclusivities

      6           expire.    And they're both very important social

      7           welfare functions.

      8    BY MS. SUTTON:

      9            Q.    But after exclusivity has expired and the

     10    generic product launches on the market, you would

     11    agree that that has a negative impact on the branded

     12    pharmaceutical company's profits?

     13            A.    Generally that's the case, yes.           And

     14    sometimes the product has eroded for other reasons;

     15    you know, competition from other brands, et cetera.

     16            Q.    But profits can also be eroded by the

     17    introduction of the generic, correct?

     18            A.    Sure.

     19            Q.    Are you named on any patents?

     20            A.    No.

     21            Q.    Okay.    Have you ever -- well, let's talk

     22    about the past.       Have you ever owned stock in a

     23    pharmaceutical company?

     24            A.    Mainly through mutual funds.           But I have

     25    owned some stock in pharmaceutical companies.

    Golkow Litigation Services                                             Page 54
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further55Confidentiality
                                                         of 184. PageID #: 225957
                                                                             Review

      1            Q.    Yes.    So setting aside your mutual funds,

      2    what companies have you owned stock in,

      3    pharmaceutical companies -- strike that.              I'll start

      4    over.

      5                  Setting aside your mutual funds, what

      6    pharmaceutical companies have you owned stock in in

      7    the past?

      8            A.    Well, I have some small amounts in Merck

      9    and J&J that I inherited from my mother.              I guess

     10    those are stocks for widows and orphans.              And so I

     11    still retain, you know, a few hundred shares of

     12    those, not an appreciable amount.

     13                  I have owned some stock in some of the

     14    younger companies, like Regeneron Pharmaceuticals.                 I

     15    was a -- on the board of Triangle Pharmaceuticals, a

     16    local company here that developed AIDS products, and

     17    so I had stock in Triangle Pharmaceutical, which was

     18    acquired by Gilead, and so for a while I had stock

     19    options at Gilead.        But I donated much of that to

     20    Duke University.

     21            Q.    You mentioned Regeneron.          Do you still

     22    hold ownership in Regeneron shares?

     23            A.    Small amounts, yes.

     24            Q.    Do you know how many shares you own?

     25            A.    I think I own 25 shares, or -- no, it's

    Golkow Litigation Services                                             Page 55
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further56Confidentiality
                                                         of 184. PageID #: 225958
                                                                             Review

      1    250 shares, I think.

      2            Q.    Okay.    I think I've seen in prior

      3    testimony that you have owned stock in Pfizer?

      4            A.    Yes, in the past.

      5            Q.    In the past.      Do you -- do you remember

      6    how many shares of Pfizer stock you owned?

      7            A.    Not an appreciable amount, for terms of

      8    anyone's portfolio, you know.           Maybe several hundred

      9    shares.

     10            Q.    Any other stock holdings in pharmaceutical

     11    companies that you can recall besides the ones you've

     12    mentioned?

     13            A.    I've owned shares in Mylan Corporation.

     14                  Those are the ones I think I would

     15    remember.

     16            Q.    Okay.    So do you remember -- do you

     17    currently hold stock ownership in Mylan?

     18            A.    Yes.

     19            Q.    And how many shares do you own?

     20            A.    Maybe a couple hundred.

     21            Q.    And you mentioned Gilead stock options.

     22    Did you receive those stock options as part of the --

     23    Triangle being acquired by Gilead?

     24            A.    Yes.

     25            Q.    And you said --

    Golkow Litigation Services                                             Page 56
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further57Confidentiality
                                                         of 184. PageID #: 225959
                                                                             Review

      1            A.    Well, I had the options, and they rolled

      2    over to Gilead.

      3            Q.    Okay.    All right.      So you had stock

      4    options in Triangle that rolled over into Gilead upon

      5    the purchase of Triangle?

      6            A.    Yes.

      7            Q.    Okay.    Do you know what the value of those

      8    stock options was?

      9            A.    Well, at the time I donated the Gilead

     10    shares to Duke University, they were over $100,000.

     11            Q.    Did you -- prior to donating them to Duke,

     12    did you exercise any of those stock options?

     13            A.    No, I didn't exercise them.          I -- you

     14    know, I took the -- I rolled them over completely to

     15    Gilead because I thought it was a good company to

     16    invest in.

     17            Q.    And then after they rolled over to Gilead,

     18    did you exercise on your own behalf any of the stock

     19    options?

     20            A.    Yes, at some point I exercised them, and

     21    then I donated them.

     22            Q.    Okay.    So after you exercised them, you

     23    donated all the proceeds to Duke?

     24            A.    Yes.

     25            Q.    Okay.    Later on we're going to talk about

    Golkow Litigation Services                                             Page 57
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further58Confidentiality
                                                         of 184. PageID #: 225960
                                                                             Review

      1    the cases where you've testified as an expert on

      2    behalf of a pharmaceutical company.             But have you

      3    ever consulted for a pharmaceutical company where --

      4    outside of your expert work?

      5            A.    Yes.

      6            Q.    And how many times have -- have you

      7    engaged in such consulting with a pharmaceutical

      8    company?

      9            A.    Over, you know, 50 years, maybe ten or

     10    twelve times.

     11            Q.    And do you recall which pharmaceutical

     12    companies you've consulted with?

     13            A.    To some degree, yes.

     14            Q.    If you could list as many as you recall,

     15    that would be great.

     16                  MR. MORRIS:      Are you asking about

     17           consulting where he's been revealed as a

     18           consultant, so like he's done something, even if

     19           it's not litigation?        Or are you talking about

     20           consulting where it's for potential litigation,

     21           but not disclosed?

     22                  I just want to know because I will have an

     23           objection.

     24    BY MS. SUTTON:

     25            Q.    Right.    Let's talk about consulting

    Golkow Litigation Services                                             Page 58
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further59Confidentiality
                                                         of 184. PageID #: 225961
                                                                             Review

      1    outside the context of litigation.

      2            A.    Right.    But some of those would be

      3    confidential in nature.

      4            Q.    Okay.    So let's just start over, with the

      5    caveat, my questions now are going to be about how

      6    many -- the consulting that you have done with

      7    pharmaceutical companies outside of your expert work

      8    or outside of litigation.

      9                  So you have acted as a consultant to the

     10    pharmaceutical industry in the past, outside of your

     11    work in litigation or as an expert?

     12            A.    Yes.

     13            Q.    Okay.    And you mentioned earlier, 10 or

     14    12 times.     Is that how many times you would

     15    approximate that has occurred?

     16            A.    Yes, over a -- a really long time span.

     17            Q.    And you mentioned that some of these

     18    projects were confidential.          Are there any names of

     19    the pharmaceutical companies you were consulting with

     20    that you could tell us today that aren't

     21    confidential?

     22            A.    You know, I think in some publications I

     23    have enumerated a consulting relationship, in that it

     24    I think would include Pfizer.           Where -- where it's

     25    led to a publication, I would generally indicate that

    Golkow Litigation Services                                             Page 59
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further60Confidentiality
                                                         of 184. PageID #: 225962
                                                                             Review

      1    funds were provided by a particular company.

      2            Q.    So sometimes you would consult, like for

      3    instance Pfizer, on a project that then would turn

      4    into a publication?

      5            A.    Yes.

      6            Q.    And then in -- in that publication you

      7    would disclose that you received funds from Pfizer?

      8            A.    Right.    And I would do that if -- if

      9    Pfizer made a grant to Duke for a contract, and I

     10    would reveal that as well.

     11            Q.    Okay.    And can you name any other

     12    companies besides Pfizer that you consulted with?

     13            A.    In terms of leading to a publication?             I

     14    think Genentech.

     15            Q.    Anyone else?

     16            A.    Those are the ones I could recall right

     17    now.

     18            Q.    Do you -- have you ever consulted with a

     19    pharmaceutical company on a project that didn't

     20    result in a published paper, setting aside

     21    litigation?

     22                  MR. MORRIS:      Yeah.

     23                  THE WITNESS:      Yes.    I mean, sometimes it

     24           is a strategic -- it's a consultant consulting

     25           about things like strategies for research

    Golkow Litigation Services                                             Page 60
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further61Confidentiality
                                                         of 184. PageID #: 225963
                                                                             Review

      1           allocation or strategies involving competitive

      2           issues.

      3    BY MS. SUTTON:

      4            Q.    In that type of work, what is your hourly

      5    rate that you generally charge?

      6            A.    It can be less.       It can be similar.        I

      7    mean, often those projects are on a dollar contract,

      8    like there is a budget of so many -- so much money

      9    involved.

     10            Q.    So when you said it can be less or more,

     11    less or more than your $800 hourly rate?

     12            A.    You know, I -- it's not negotiated as an

     13    hourly rate, usually.         Sometimes it is.       But, you

     14    know, more often it's -- you know, there is a budget

     15    of $10,000 that I've agreed to do this project.

     16                  Another company is -- that I did work on

     17    blood products was Grifols, and it -- it had a

     18    similar kind of a budget of that kind.

     19            Q.    A budget of $10,000?

     20            A.    No, a budget -- I don't know what the

     21    budget was, but it would be a fixed budget or --

     22    Grifols, I think I may have gotten my hourly rate up

     23    to some cap, so I got $800 an hour to -- to work on

     24    an interdisciplinary project that resulted in a few

     25    publications on -- Grifols does blood products.                They

    Golkow Litigation Services                                               Page 61
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further62Confidentiality
                                                         of 184. PageID #: 225964
                                                                             Review

      1    extract proteins from blood, and there were issues

      2    surrounding, you know, the ethics and economics of

      3    paying for donors.        Some countries allow that, like

      4    the U.S. and Germany.         Some don't.

      5                  So we had a project team of ethicists, of

      6    economists, of medical doctors.           And we worked -- I

      7    think I agreed to work for $800 an hour, subject to

      8    an outer cap.      But I don't -- I don't think I ever

      9    reached the outer cap.

     10            Q.    Do you recall how much with this project

     11    you ultimately were paid?

     12            A.    No, I don't.      I'd have to review my

     13    invoices.

     14            Q.    Okay.    Is it possible for you to

     15    approximate how much you've been paid working as a

     16    consultant for the pharmaceutical industry outside of

     17    the litigation work you've done?

     18            A.    Not without looking at records, but I

     19    would say it's not a huge amount.

     20            Q.    And what do you mean by "not a huge

     21    amount"?

     22            A.    It's not hundreds of thousands of dollars.

     23            Q.    Is it $100,000?

     24            A.    It might be, over 40 years, yes.

     25            Q.    Okay.    You'd have to go back and look at

    Golkow Litigation Services                                             Page 62
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further63Confidentiality
                                                         of 184. PageID #: 225965
                                                                             Review

      1    your records to figure -- figure that out?

      2            A.    Yes.

      3            Q.    Okay.    I've also seen in some of your

      4    testimony a reference to you being an advisor on

      5    strategic issues for drug companies.             Do you recall

      6    giving testimony where you said that you were an

      7    advisor on strategic issues?

      8            A.    Yes, that was what I was just enumerating.

      9            Q.    Okay.

     10            A.    Like research allocation, or issues of

     11    competition.

     12            Q.    Okay.    Did you give strategic advice to

     13    Merck?

     14            A.    I gave a talk to Merck about work.            I

     15    think Merck supported some work that we did many,

     16    many years ago.       Maybe more than 20 years ago.

     17            Q.    So you gave a speech, or . . .

     18            A.    Well, I had a -- some project funds from

     19    Merck.    I think they went through the program.              And

     20    then I was asked to just present it.             I wasn't paid

     21    for the speech.

     22            Q.    Okay.    So how did the -- how were the

     23    funds that Merck provided, how were they used for

     24    this particular strategic issue that you consulted

     25    on, if they weren't paid to you?

    Golkow Litigation Services                                             Page 63
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further64Confidentiality
                                                         of 184. PageID #: 225966
                                                                             Review

      1            A.    Well, I -- I think I'm confusing.            There

      2    was -- you know, I did a project through the program

      3    which was -- resulted in one of my publications, my

      4    initial work on returns to R&D and the distribution

      5    of returns to R&D.        And then I also may have done

      6    some strategic, you know, as a sidebar, some

      7    strategic work for Merck of a minor nature.

      8            Q.    Okay.    So you've done -- sounds like

      9    several projects, then, for Merck?

     10                  MR. MORRIS:      Objection to form.

     11                  THE WITNESS:      I wouldn't say "several."

     12           I've done a few projects many, many years ago.

     13           I haven't had any support from Merck in, I would

     14           say, more than 20 years.

     15    BY MS. SUTTON

     16            Q.    Do you know how much Merck paid to support

     17    the few projects you described?

     18            A.    Not offhand, no.

     19            Q.    Okay.    Did -- were you an advisor on

     20    strategic issues for Pfizer?

     21            A.    Yes.

     22            Q.    And can you describe that, please.

     23            A.    That would be confidential in nature, but

     24    it involved some sort of general competitive issues.

     25            Q.    Do you recall how much you were paid by

    Golkow Litigation Services                                             Page 64
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further65Confidentiality
                                                         of 184. PageID #: 225967
                                                                             Review

      1    Pfizer for that work?

      2            A.    Maybe $10,000.

      3            Q.    Any other work as an advisor on strategic

      4    issues for Pfizer that you can recall?

      5            A.    No.

      6            Q.    Have you been an advisor on strategic

      7    issues for Sandoz?

      8            A.    Yes.

      9            Q.    Can you describe that for me?

     10            A.    They had an advisory committee.           I -- I

     11    have worked on biosimilars.          They're a major

     12    biosimilar company, and they had a -- what I'd call

     13    an advisory board that met a few times to help them

     14    advise about strategies in the biosimilar space.                And

     15    I think I was paid like $1,000 a day twice, something

     16    like that, to be on this advisory board.

     17            Q.    Are you on that advisory board any longer?

     18            A.    It -- I think it's defunct.          At least I

     19    haven't been contacted in several years.

     20            Q.    Okay.    Have you been an advisor on

     21    strategic issues for Allergan?

     22            A.    Yes.

     23            Q.    Okay.    Again, can you describe that,

     24    please.

     25            A.    That was --

    Golkow Litigation Services                                             Page 65
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further66Confidentiality
                                                         of 184. PageID #: 225968
                                                                             Review

      1                  MR. MORRIS:      Objection.     I'll just caution

      2           the witness to the extent that -- confidential

      3           information, not to reveal that.

      4                  MS. SUTTON:      We have a protective order,

      5           Counsel.

      6                  MR. MORRIS:      Well --

      7                  MS. SUTTON:      I don't want him to violate

      8           any confidentiality --

      9                  MR. MORRIS:      Correct.     He's got different

     10           obligations, potentially.

     11                  THE WITNESS:      I think it was confidential,

     12           but in general, it was related to biosimilars

     13           again.    It was in the nature of biosimilar --

     14           evolution of biosimilars which I had written on.

     15    BY MS. SUTTON:

     16            Q.    And do you recall how much you were paid

     17    by Allergan for being an advisor on that strategic

     18    issue for them?

     19            A.    I think it was something like $5,000.

     20            Q.    Okay.    Any other times that you've been an

     21    advisor on strategic issues to drug companies that we

     22    haven't covered?

     23            A.    I think, similar to the biosimilars, I was

     24    an advisor to Amgen.

     25            Q.    Do you recall what you received in

    Golkow Litigation Services                                             Page 66
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further67Confidentiality
                                                         of 184. PageID #: 225969
                                                                             Review

      1    compensation from Amgen for that work?

      2            A.    Could have been about 10,000 for, you

      3    know, various meetings and analysis.

      4            Q.    Okay.    Any other companies that you can

      5    recall where you've been an advisor on strategic

      6    issues?

      7            A.    No.

      8            Q.    Okay.    Have you ever been hired, either in

      9    your own individual capacity or through a third

     10    party, to conduct a study on behalf of a

     11    pharmaceutical company?

     12                  MR. MORRIS:      Objection to form.       Are we

     13           still outside of the context of retained, but

     14           not disclosed or testifying experts, for

     15           litigation?

     16                  MS. SUTTON:      Well, he can answer yes or no

     17           without it running afoul.

     18                  THE WITNESS:      Well, if I understand the

     19           question, I have been retained as part of an

     20           academic group of colleagues to investigate

     21           particular issues.       But I had, you know, a -- it

     22           was a -- in the form of being retained to look

     23           at a particular issue, to research an issue, to

     24           publish on it, and the outside third party had

     25           no impact on it other than to say, you know,

    Golkow Litigation Services                                             Page 67
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further68Confidentiality
                                                         of 184. PageID #: 225970
                                                                             Review

      1           "Please analyze" -- you know, I'll give an

      2           example:    "Please analyze the average

      3           exclusivity of innovative drugs."

      4                  And that was commissioned by a

      5           pharmaceutical research association.

      6            Q.    Was that PhRMA --

      7            A.    Yes.

      8            Q.    -- that commissioned that?

      9            A.    Yes.

     10            Q.    Okay.    Have any other pharmaceutical

     11    companies come to you to commission a study on their

     12    behalf?

     13            A.    Well, I mentioned that if I did a study

     14    like that, I would acknowledge it in my -- my

     15    publications, so we could look through that.

     16                  You know, I think I have -- you know, I

     17    have the acknowledged support from Pfizer at some

     18    point.

     19            Q.    So there's another study that you

     20    conducted on behalf of Pfizer?

     21            A.    I would have to look through -- you know,

     22    it's in the distant past, but I -- but I think there

     23    is some support from Pfizer to do economic analysis

     24    that -- although I think that it really then threw

     25    our program.

    Golkow Litigation Services                                             Page 68
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further69Confidentiality
                                                         of 184. PageID #: 225971
                                                                             Review

      1            Q.    Okay.    And this earlier study that you

      2    mentioned that went through the trade organization,

      3    PhRMA, that they sponsor, is that one that you did in

      4    conjunction with Tufts?

      5            A.    Tufts, Joe DiMasi was involved.           And I

      6    think Genia Long was involved.

      7            Q.    Okay.    Maybe we'll look at that a little

      8    later.

      9                  Have you, either directly or through a

     10    third party, submitted a proposal to a pharmaceutical

     11    company to conduct a study regarding the economic

     12    impact of abuse-deterrent opioids?

     13            A.    No.

     14            Q.    Do you know if any third party ever

     15    offered your services to Purdue to work on a study

     16    related to the economic impact of abuse-deterrent

     17    formulations of -- of prescription opioids?

     18            A.    I have no knowledge of that.

     19            Q.    Okay.    Have you ever made any study

     20    proposal to Purdue Pharma?

     21            A.    No.

     22            Q.    Have you ever been a key opinion leader

     23    for any pharmaceutical company?

     24                  MR. MORRIS:      Objection to form.

     25                  THE WITNESS:      I don't think I could be

    Golkow Litigation Services                                             Page 69
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further70Confidentiality
                                                         of 184. PageID #: 225972
                                                                             Review

      1           characterized that way.         That's usually a

      2           medical doctor.

      3    BY MS. SUTTON:

      4            Q.    Right.    Just asking.

      5                  So you've never been a -- what's

      6    considered a key opinion leader for Purdue Pharma?

      7            A.    No.

      8            Q.    Okay.    Have you ever considered the opioid

      9    effect on hospital utilization, medical costs, worker

     10    compensation costs, disability costs, absenteeism

     11    costs, caregiver burdens, or criminal justice costs?

     12            A.    No.

     13            Q.    Turning to something -- I think it's on

     14    your résumé -- the American Enterprise Institute.

     15    You're familiar with that group, correct?

     16            A.    Yes.

     17            Q.    Okay.    What would you call them?          I always

     18    think of them as like a conservative think tank; is

     19    that you would -- how you would characterize them?

     20            A.    No.    I -- I think they've been

     21    characterized that way, but I think they're basically

     22    a market-oriented group that deals with various

     23    issues, sort of sponsors conferences and sponsors

     24    publications.

     25            Q.    What's your association with the American

    Golkow Litigation Services                                             Page 70
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further71Confidentiality
                                                         of 184. PageID #: 225973
                                                                             Review

      1    Enterprise Institute?

      2            A.    Over the years, they -- they were

      3    interested in the economics of pharmaceuticals, so

      4    they asked me to present at conferences that then

      5    resulted in publications.          I was on their advisory

      6    board, but that is more of an honorary position than

      7    anything active.

      8            Q.    Okay.    So you -- you have given -- have

      9    you given speeches at the American Enterprise

     10    Institute?

     11            A.    I've -- I've talked about my research

     12    there, yes.      Similar to what I gave to Congress.

     13            Q.    Have they sponsored any of your research?

     14            A.    Not -- I wouldn't say they sponsored a

     15    research project.       They have sponsored a -- you know,

     16    "Please write up a layman's understanding of your

     17    research or a review of the literature on a

     18    particular topic, and we will publish it."              More

     19    oriented to policymakers than the journals that you

     20    normally publish.

     21            Q.    Right, right.      So do they pay you for that

     22    work?

     23            A.    I think they would like give you a $2,000

     24    honorarium, which means you're working at less than

     25    minimum wage.

    Golkow Litigation Services                                             Page 71
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further72Confidentiality
                                                         of 184. PageID #: 225974
                                                                             Review

      1            Q.    Does the American Enterprise Institute

      2    have like meetings that you would attend?

      3            A.    Yes, they -- you know, I think in my CV

      4    I've indicated presentations at the American

      5    Enterprise Institute.         They would -- back when Bob

      6    Helms was their economic director for health

      7    economics and related issues, he would sponsor some

      8    conferences where academics would present their

      9    latest results, and there would be discussions and

     10    critics, and they would publish this, and there are

     11    three or four publications that reflect that.

     12            Q.    So a lot of the work at the American

     13    Enterprise Institute is aimed at policymakers and

     14    lawmakers?

     15            A.    Yeah, and the general public, and -- not

     16    so much academics.

     17            Q.    Correct.     Do you know how the American

     18    Enterprise Institute obtains its funding?

     19            A.    I think they get it -- they have

     20    endowments.      They get it from different

     21    organizations.

     22            Q.    Do you know if the American Enterprise

     23    Institute receives funding from the pharmaceutical

     24    industry?

     25            A.    I would assume so, from among other

    Golkow Litigation Services                                             Page 72
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further73Confidentiality
                                                         of 184. PageID #: 225975
                                                                             Review

      1    sources.

      2            Q.    Are you aware of whether or not any

      3    pharmaceutical company or pharmaceutical trade

      4    organization has used your research or your academic

      5    work to defend the price of drugs?

      6            A.    I'm not aware of it, no.

      7            Q.    Do you know whether or not any

      8    pharmaceutical company or pharmaceutical trade

      9    organization has used your academic work to prolong

     10    patent protection for branded drugs?             To argue for

     11    prolonging patent protection for branded drugs?

     12            A.    I'm not specifically aware of that, no.

     13            Q.    Okay.    Manhattan Institute, are you

     14    familiar with them?

     15            A.    Yes.

     16            Q.    Do you have an association or affiliation

     17    with the Manhattan Institute?

     18            A.    No.

     19            Q.    Okay.    Were you ever on anything called

     20    the Project FDA Committee?

     21            A.    It sounds vaguely familiar, but I don't

     22    remember doing anything on such a committee.               I may

     23    have been approached about it, or they asked me to

     24    review a few papers, but other than reviewing some

     25    papers and not being paid for it, I don't think there

    Golkow Litigation Services                                             Page 73
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further74Confidentiality
                                                         of 184. PageID #: 225976
                                                                             Review

      1    was any involvement.

      2            Q.     Okay.   So you -- you remember reviewing a

      3    few papers for the Manhattan institute?

      4            A.     Yeah, I remember being very critical of

      5    these papers.

      6            Q.     Okay.   Was it like -- it's not like peer

      7    review?      It was just papers that were sponsored by

      8    the Manhattan Institute?

      9            A.     It was like peer review, but I think they

     10    sponsored the work.

     11            Q.     Okay.   All right.      So do you have an

     12    understanding what kind of organization Manhattan

     13    Institute is?

     14            A.     Once again, they're very market,

     15    libertarian kind of organization.

     16            Q.     Okay.   I don't think you've disclosed that

     17    on your CV.      Is that because you don't have an

     18    official position with them, or . . .

     19            A.     That's right.     I have no official

     20    position.

     21            Q.     Okay.   But you -- you've done some work.

     22    Did they pay you for the reviews of the papers that

     23    you did?

     24            A.     No.

     25            Q.     Okay.   Your expert report discloses that

    Golkow Litigation Services                                             Page 74
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further75Confidentiality
                                                         of 184. PageID #: 225977
                                                                             Review

      1    you've been an advisor and a consultant to the

      2    National Science Foundation.           That's on your --

      3    that's actually -- I'm sorry.           It's in your expert

      4    report, paragraph 4.        I just want to talk a little

      5    bit about what that work was.

      6            A.    Oh, the National Academy of Sciences?

      7            Q.    Yes, I'm sorry.       National Academy of

      8    Sciences Institute of Medicine.           Is that -- is that

      9    something that's different than the National Science

     10    Foundation?

     11            A.    Yes.    They're both branches of the

     12    government, but the National Academy of Science

     13    Institute is sort of like a branch of, you know, the

     14    NIH.

     15            Q.    Okay.    Are you aware of whether or not

     16    Purdue Pharma or the Sackler family have given money

     17    to the National Academy of Sciences Institute?

     18            A.    I have no knowledge one way or the other.

     19            Q.    Okay.    What kind of topics have you

     20    advised and consulted the National Academy of

     21    Sciences Institute of Medicine on?

     22            A.    There's been a few projects here of --

     23            Q.    Are they listed in your résumé?

     24            A.    I think there is some . . .

     25                  So back on page 16?        The first one

    Golkow Litigation Services                                             Page 75
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further76Confidentiality
                                                         of 184. PageID #: 225978
                                                                             Review

      1    involved a National Academy of Science study of the

      2    impact of government regulation on innovation, and

      3    that occurred in the late 1970s.            There was a concern

      4    in the country that government regulation had

      5    affected innovation, and the Carter administration,

      6    through the NSF and through the National Academy,

      7    asked them to examine this issue.

      8                  They put forth a committee of, you know,

      9    former government officials and others, and I was

     10    what was called a study rapporteur, which was to

     11    investigate the academic literature and write a

     12    report for this committee that I said was a sort of

     13    blue ribbon committee, involved former high officials

     14    like the Secretary of State, and other groups.

     15            Q.    So if I wanted to find out the topics

     16    where you had acted as an advisor and consultant to

     17    the National Academy of Science, I would be able to

     18    find them by looking in your CV, correct?

     19            A.    Yes.

     20            Q.    Okay.

     21            A.    There's a second one, you know, the -- on

     22    vaccine innovation, on the next page.

     23            Q.    All right.      Your CV also says, in

     24    paragraph 3, that you've testified several times

     25    before U.S. Congress on pharmaceutical industry

    Golkow Litigation Services                                             Page 76
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further77Confidentiality
                                                         of 184. PageID #: 225979
                                                                             Review

      1    issues, correct?

      2            A.    Yes.

      3            Q.    And when you say "several times," do you

      4    know how many times you've testified?

      5            A.    I think it's six times, when I counted

      6    last.

      7            Q.    Okay.    And each -- in any of the six times

      8    that you testified, were you testifying on behalf of

      9    any organization or company?

     10            A.    No.    I was testifying on my research.

     11            Q.    Okay.    Were you representing Duke as part

     12    of that, or were you just representing your own

     13    research?

     14            A.    I would say, you know, they were

     15    interested -- I had worked on issues related to

     16    legislation, and I was -- a staff member called me

     17    up.    I wouldn't say I was representing Duke.             I was

     18    reporting on my research to Congress.

     19            Q.    Okay.    So in each of the six times that

     20    you were -- and maybe we'll have to go one by one,

     21    but each of the six times you were called to testify,

     22    how were you contacted?         How did it come about that

     23    you testified?

     24            A.    By a staff member for the relevant

     25    committee saying "We're having hearings on a

    Golkow Litigation Services                                             Page 77
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further78Confidentiality
                                                         of 184. PageID #: 225980
                                                                             Review

      1    particular topic, like the Hatch-Waxman Act, or

      2    litigation about patent life prior to the

      3    Hatch-Waxman Act, and I understand you've worked on

      4    this issue, and we would like you to be on the

      5    academic panel, which would other include other

      6    economists."

      7            Q.    So you never testified on behalf of a

      8    pharmaceutical company before Congress?

      9            A.    No.

     10            Q.    Okay.    When you testified before Congress,

     11    you're doing that work voluntarily?             There's no --

     12    you're not getting paid, correct?

     13            A.    In the early days, they paid for your

     14    expenses; but recently I've had to pay for my own, or

     15    like Duke will pay for them.

     16            Q.    Right.    It would -- before, they would pay

     17    for your hotel or airfare?

     18            A.    Yes.

     19            Q.    No more, huh?

     20            A.    That's correct.       That's government

     21    constraints.

     22            Q.    Okay.    So have you ever -- have you heard

     23    of an organization called contract research

     24    organizations?

     25            A.    CROs?

    Golkow Litigation Services                                             Page 78
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further79Confidentiality
                                                         of 184. PageID #: 225981
                                                                             Review

      1            Q.    Yes.

      2            A.    Yes.

      3            Q.    Yeah.    Have you ever been retained on

      4    behalf of a CRO?

      5            A.    No, I don't think so.

      6            Q.    Has a CRO ever came to you with a -- with

      7    a paper or a study that they wanted you to publish?

      8            A.    No.

      9            Q.    Okay.    We've talked a little bit about

     10    Triangle Pharmaceuticals, a local -- a local company.

     11    Was it -- would you call it a startup, or -- from

     12    here?

     13            A.    Yes, it was a startup.

     14            Q.    Okay.    And when did you first get involved

     15    with Triangle Pharmaceuticals?

     16            A.    Dr. Dave Barry, who was -- who was at

     17    Wellcome, who was one of the signature researchers

     18    that invented the first AIDS drug, and he left

     19    Wellcome -- Wellcome was a pioneer in AIDS research

     20    and drugs -- and he formed Triangle.             And I knew him

     21    from his days at Wellcome.          And when he founded

     22    Triangle, at least not initially, but after a -- a

     23    few years, he asked me to be on the board.

     24            Q.    Do you recall when that was?

     25            A.    It was the end of the '90s.

    Golkow Litigation Services                                             Page 79
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further80Confidentiality
                                                         of 184. PageID #: 225982
                                                                             Review

      1            Q.    Okay.    So you served on the board of

      2    directors?

      3            A.    Yes.

      4            Q.    Was it a publicly held company?

      5            A.    Initially it was privately, but I think

      6    when I was elected or on the board, it was public.

      7            Q.    Okay.    And did Triangle Pharmaceuticals

      8    have any commercialized products?

      9            A.    No.

     10            Q.    Okay.    The AIDS drug that you had talked

     11    about that he was working on at Wellcome, is that a

     12    project that continued at Gilead, or did it stay at

     13    Wellcome?

     14            A.    Gilead acquired Triangle because we had a

     15    drug that could be put in a double and triple therapy

     16    with their drugs.       And it was close to approval by

     17    the FDA, and they made an offer, and this was --

     18    unfortunately, David had passed away, and I was still

     19    on the board.       And there was a determination to let

     20    Triangle be acquired by Gilead, by the board and by

     21    the shareholders.       And they continued the research

     22    here in the Triangle to get approval of that drug,

     23    and they put it in Truvada and the other triple

     24    therapies, and it became the most successful AIDS

     25    drug on the market.

    Golkow Litigation Services                                             Page 80
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further81Confidentiality
                                                         of 184. PageID #: 225983
                                                                             Review

      1            Q.    So did Triangle have any other types of

      2    drugs, like a molecule to treat hepatitis B?

      3            A.    Yes, they did.       They had some hepatitis

      4    drugs in development.

      5            Q.    In development.       Including hepatitis C?

      6            A.    I think it was B, but I'd have to -- I'm

      7    not certain about that.

      8            Q.    And Gilead purchased that drug development

      9    as well, correct?

     10            A.    Yes.

     11            Q.    Okay.    So you were on the board from the

     12    end of the 1990s until Gilead acquired Triangle,

     13    which I believe was in 2003?

     14            A.    Yes.

     15            Q.    Do you recall what the purchase price was?

     16            A.    You know, in retrospect, it was too low, I

     17    think.    But I don't remember the exact amount.              I

     18    mean, they made billions on that triple therapy

     19    which -- you know, we had talked -- before David

     20    passed away, we had talked about more of an alliance

     21    rather than a purchase.         And, you know, I think they

     22    made a very good purchase.

     23            Q.    So -- and Gilead continues today to sell

     24    products to treat hepatitis and HIV, correct?

     25            A.    Yes.

    Golkow Litigation Services                                               Page 81
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further82Confidentiality
                                                         of 184. PageID #: 225984
                                                                             Review

      1            Q.    Okay.    And you would agree that as a

      2    consequence of the opioid crisis, there's been an

      3    increase, unfortunately, increase in incidence of

      4    hepatitis B and C and HIV?

      5                  MR. MORRIS:      Objection to form.

      6                  THE WITNESS:      That's a medical question.

      7           I don't have an opinion on that.

      8    BY MS. SUTTON:

      9            Q.    So you don't know one way or the other?

     10            A.    Yes.

     11            Q.    Okay.    So you were on the board for a

     12    number of years.       Did -- were you paid -- did you

     13    receive payment to be on the board?

     14            A.    What I received was stock options.            I

     15    never received any salary.

     16            Q.    Okay.    Did you get any money at the time

     17    of the sale of Triangle to Gilead?

     18            A.    No.

     19            Q.    Okay.    But your stock options rolled over

     20    into Gilead?

     21            A.    Yes, they vested there.

     22            Q.    Okay.    They vested at Gilead, and then I

     23    think you previously testified that you exercised the

     24    options and donated the funds to Duke?

     25            A.    Yeah, although I may have misspoke there.

    Golkow Litigation Services                                             Page 82
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further83Confidentiality
                                                         of 184. PageID #: 225985
                                                                             Review

      1    I think I donated my Amgen stock to Duke, rather than

      2    my Gilead stock.       But I'd have to go back and check

      3    for sure.

      4            Q.    Okay.    Do you remember the value of the

      5    stock options that you exercised with Gilead?

      6            A.    No, not exactly, no.        You know, they may

      7    have been on the order of a little less than 100,000.

      8            Q.    Okay.    And so the -- the stock that you

      9    think you donated to Duke you now recall as being

     10    Amgen stock?

     11            A.    Yes.

     12            Q.    Okay.    And do you know what the value of

     13    that Amgen stock was?

     14            A.    It was over 100,000.

     15            Q.    Was it less than 200?

     16            A.    Yes.

     17            Q.    Okay.    Who were other members on the board

     18    of Triangle Pharmaceuticals with you?             Do you

     19    remember?

     20            A.    Well, of course David Barry was the

     21    founder, CEO, chairman.         So he was the -- on the

     22    board.    There -- you know, I don't remember a lot of

     23    the names, but as a startup, they -- they received

     24    money from Venrock, which is a -- you know, a company

     25    that funded startups, associated with the Rockefeller

    Golkow Litigation Services                                             Page 83
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further84Confidentiality
                                                         of 184. PageID #: 225986
                                                                             Review

      1    Foundation.      There was a person from the startup out

      2    in California.       There was the vice president of the

      3    company was on the board.

      4                  So I think there were three venture

      5    capitalist types.       There were company officials, and

      6    then there was the founder and CEO of a -- of a CRO.

      7            Q.    A contract research organization?

      8            A.    Yes.

      9            Q.    Do you recall which one?

     10            A.    That's the one in the Triangle here.             Went

     11    private -- I'd have to think about the exact name,

     12    but . . .

     13            Q.    Okay.    Is your understanding that contract

     14    research organizations oftentimes work with

     15    pharmaceutical companies?

     16            A.    Yeah, I think it -- the person was

     17    Gillings, and he founded a local company.

     18            Q.    Okay.

     19            A.    And -- yeah, they did some work for us at

     20    Triangle, because we were a smaller company, and we

     21    outsourced some of the development tasks to CROs,

     22    including the one that was headed by this individual.

     23            Q.    Okay.    I think earlier I had asked you

     24    what the purchase price, and I think you said you

     25    didn't remember the exact amount, and then went on to

    Golkow Litigation Services                                             Page 84
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further85Confidentiality
                                                         of 184. PageID #: 225987
                                                                             Review

      1    say that Gilead made billions of dollars off the

      2    product.      Do you have -- can you have an

      3    approximation of -- of what the purchase price was?

      4    Was it around 400 million?

      5            A.     That sounds about right.         I think they

      6    paid $6 a share, but the company went public at $12 a

      7    share.    And so the early shareholders publicly took a

      8    beating.

      9                   And the reason for that was this drug was

     10    being tested abroad, in the U.S. as well as in South

     11    Africa.      It ran into some issues of -- regulatory

     12    issues in South Africa that wasn't -- they were doing

     13    testing in triple therapies, and some adverse events

     14    occurred that weren't associated with our drug.                Our

     15    stock dropped because we were a small company.                And

     16    that's when Gilead came in and took us over.

     17            Q.     Swooped it up?

     18            A.     Yes.

     19            Q.     Okay.   So I was going to go into a topic

     20    that's going to take a while.           I know -- I don't know

     21    if you want to do a break now or wait.

     22            A.     Yeah, I like to break every hour, just for

     23    my back.

     24            Q.     Yeah, I get it.      Thank you.

     25                   VIDEOGRAPHER:     Going off the record.         The

    Golkow Litigation Services                                             Page 85
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further86Confidentiality
                                                         of 184. PageID #: 225988
                                                                             Review

      1           time is 11:31 a.m.

      2                  (A recess transpired from 11:31 a.m.

      3                  until 11:43 a.m.)

      4                  VIDEOGRAPHER:      Going back on the record.

      5           The time is 11:43 a.m.

      6    BY MS. SUTTON:

      7            Q.    So we touched on this briefly before, but

      8    your expert report said that you were assisted in

      9    this case by the staff of Cornerstone Research.

     10    That's correct, right?

     11            A.    Yes.

     12            Q.    Okay.    How would you describe Cornerstone

     13    Research?

     14            A.    Cornerstone Research does consulting

     15    services relative to litigation, as well as related

     16    to other matters.       They provide support for experts

     17    in litigation.       They initially started as more

     18    strategic analysis in the energy business and were

     19    asked to help with some litigation.             And then I think

     20    over time they've evolved more into litigation

     21    support, and so they have many Ph.D.s in economics

     22    and related fields, MBAs.          And some of them are

     23    distinguished experts in their own right.

     24            Q.    Do you know how many people are employed

     25    at Cornerstone Research?

    Golkow Litigation Services                                             Page 86
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further87Confidentiality
                                                         of 184. PageID #: 225989
                                                                             Review

      1            A.    No.    I know they have offices in four or

      2    five cities, but I don't know their total employment.

      3            Q.    Do you know how many people at Cornerstone

      4    Research assisted you in your report in this matter?

      5            A.    Well, I mainly dealt with three

      6    individuals.      Greg Eastman.      Ceren -- have to look up

      7    her last name; I call her Ceren -- and Ross.               Ceren

      8    and Ross were the main individuals that I -- along

      9    with Greg.      And then they had a team that did some of

     10    the technical analysis that sometimes were on phone

     11    calls.

     12            Q.    Do you know how big that team was?

     13            A.    Could be three or four more individuals.

     14            Q.    Now, what -- how would you describe your

     15    relationship with Cornerstone?

     16            A.    Over the years, I've used them on

     17    litigation support.        I've also used other firms, like

     18    Analysis Group.       But Cornerstone, I think, is one of

     19    the top economics consulting firms.             And I think they

     20    do high-level support work.

     21            Q.    When did you first start working with

     22    Cornerstone Research?

     23            A.    I would say between 10 and 15 years ago.

     24            Q.    Okay.    Did you go to them, or did they

     25    come to you?      Do you recall?

    Golkow Litigation Services                                             Page 87
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further88Confidentiality
                                                         of 184. PageID #: 225990
                                                                             Review

      1            A.    Initially they contacted me about a case

      2    that had some I think North Carolina connections to

      3    it.    I don't remember exactly what the case was, but

      4    they -- they asked me if I was interested in serving

      5    as an expert.      I don't think it ever went to -- it

      6    was more of an advisory kind of role, so I don't

      7    think it ever went into litigation.

      8            Q.    And then from there, you just continued to

      9    get more contacts from Cornerstone about additional

     10    expert work?

     11            A.    Yeah, or I contacted them sometimes

     12    when -- a lot of times law firms would contact me

     13    directly, and I'd say, "Well, I'd like to have

     14    support on this, because I'm a full-time faculty

     15    member, initially, and to help me with this and

     16    provide some, you know, data-crunching under my

     17    direction," whatever.

     18                  And, you know, oftentimes the law firm

     19    would agree, or they might say, "Well, we normally

     20    work with this company; would you work with them?"

     21            Q.    But in this case, in the opioid

     22    litigation, Cornerstone Research came to you to see

     23    if you would be interested in working as an expert?

     24            A.    Initially, yes.

     25            Q.    Okay.    Now, you're not an employee of

    Golkow Litigation Services                                             Page 88
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further89Confidentiality
                                                         of 184. PageID #: 225991
                                                                             Review

      1    Cornerstone Research, are you?

      2            A.    No.

      3            Q.    So you don't receive a W-2?

      4            A.    No.

      5            Q.    But do you receive a 1099?

      6            A.    Yes.

      7            Q.    Okay.    And would those 1099s reflect how

      8    much Cornerstone has paid to you directly for your

      9    work on -- with them?

     10            A.    Yes.

     11            Q.    Okay.    Do you have any idea of how much,

     12    over the years, Cornerstone has paid you for your

     13    expert work?

     14            A.    No.    It varies with how much involvement I

     15    have with them on cases, and also how much activity

     16    they do on those cases supporting me.             And -- and

     17    other functions, like I sometimes do continuing ed

     18    for them, or . . .

     19            Q.    Okay.    So like on a particular litigation

     20    project, do you get paid a portion of what -- do you

     21    get paid from Cornerstone services?             Just trying to

     22    understand how the -- the money works with -- when

     23    you do expert work for Cornerstone in general.

     24            A.    I get a check a few times a year, and it

     25    says "Thank you for your, you know, involvement, and

    Golkow Litigation Services                                             Page 89
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further90Confidentiality
                                                         of 184. PageID #: 225992
                                                                             Review

      1    here's a check relating to our support of projects

      2    that we jointly pursued."

      3                  And I think it is -- it has some basis in

      4    percentage relationship, as well as it could involve,

      5    you know, payment for some of the other things I do

      6    for Cornerstone occasionally, like presentations at

      7    breakfasts, continuing education, that kind of thing.

      8            Q.    Setting aside the breakfasts or the

      9    continuing education, just talking about a litigation

     10    matter where you're the expert and they're providing

     11    support to you for your expert report, do you receive

     12    a percentage of their billings?

     13            A.    I think that's the way they determine it,

     14    but it also may vary over time.           I don't know if the

     15    percentage is fixed, or varies, or what.

     16            Q.    Okay.    Do you have a -- is your

     17    arrangement -- do you have any arrangements with

     18    Cornerstone in writing?

     19            A.    No.

     20            Q.    Do you ever enter into a writing with

     21    respect to what your -- the percentage is going to be

     22    for a particular case?

     23            A.    No.

     24            Q.    And then how is that percentage

     25    determined?

    Golkow Litigation Services                                             Page 90
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further91Confidentiality
                                                         of 184. PageID #: 225993
                                                                             Review

      1            A.     They determine it internally, and, you

      2    know, they -- as I said, I get a check semi-annually

      3    about -- relating to my work with them, but I don't

      4    know exactly what the percentages is -- are or

      5    what -- how it varies over time.

      6            Q.     So how big have the -- some of those

      7    checks been for a particular project, if you don't

      8    know what the percentage is?

      9            A.     It's not -- it's not for one project.            So

     10    I do four or five cases over the year, and I get two

     11    checks.      And, you know, I think the most recent check

     12    was about $20,000.        Checks have been in that range.

     13    Sometimes they are larger if there's a very intensive

     14    workload on a case that goes to trial.

     15            Q.     So the checks don't come based on a

     16    project.      They just -- you get a certain number of

     17    checks in a year?

     18            A.     Yes.

     19            Q.     Okay.   And how -- how often do you get

     20    checks from Cornerstone Research?

     21            A.     Semi-annually.

     22            Q.     Okay.   And those checks are based on all

     23    the projects and works that you -- work that you've

     24    done with them over the -- during that six-month

     25    period?

    Golkow Litigation Services                                             Page 91
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further92Confidentiality
                                                         of 184. PageID #: 225994
                                                                             Review

      1            A.    Yes.

      2            Q.    Okay.    I'm just trying to understand how

      3    that check gets calculated.

      4            A.    I think -- as I said, I think it's a

      5    percentage basis, but it can vary.            You know, there's

      6    very -- they have various rules, or allocation rules,

      7    and I've never inquired and said, "Well, you know,

      8    how much am I getting related to this or that?"

      9                  I mean, they -- I trust them.           There's an

     10    attribution and -- based on work that they support me

     11    on, and, you know, I never inquired about what the

     12    exact percentage is.        I think it -- it can vary,

     13    depending on, you know, whether I brought work to

     14    them or they contacted me.          There can be other

     15    variables.

     16            Q.    Okay.    Do you know what the financial

     17    arrangements are with Cornerstone for this case and

     18    how Cornerstone is going to pay you for your work in

     19    this case?

     20            A.    No.    I think there will probably be a

     21    percentage, some percentage.           But it's -- you know,

     22    as I say, the checks are not that large that I'm

     23    getting a huge amount of their bills.

     24            Q.    Okay.    So -- so you have no idea, then, as

     25    you sit here, what the financial relationship with

    Golkow Litigation Services                                             Page 92
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further93Confidentiality
                                                         of 184. PageID #: 225995
                                                                             Review

      1    Cornerstone is going to be on your work in the opioid

      2    case?

      3            A.    That's correct.

      4            Q.    Okay.    Did you get a check at the end of

      5    2018?

      6            A.    I got a check in March, I think, of this

      7    year.

      8            Q.    Okay.    And was that for the prior six

      9    months, or . . .

     10            A.    You know, I don't know.         You know, I think

     11    there's some lags in the process, so it could have

     12    been for the last six months of last year, or . . .

     13            Q.    Okay.    And Cornerstone started working and

     14    supporting you on this case last -- in the summer of

     15    last year, correct?

     16            A.    Yes, although I think the work really

     17    started towards the end of the year.

     18            Q.    Okay.    How much was the check that you

     19    received in March?

     20            A.    I think it was like 20,000.

     21            Q.    Okay.    And did that include -- for -- for

     22    that time period, did it include work on this case?

     23            A.    Possibly, yes.       Probably, yes.

     24            Q.    Okay.    Did it include work on any other

     25    cases?

    Golkow Litigation Services                                             Page 93
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further94Confidentiality
                                                         of 184. PageID #: 225996
                                                                             Review

      1            A.     Well, let me look at my workload here.

      2                   It might have included work on some other

      3    cases.    But it looks like the deposition and trial

      4    testimony for Galderma at the end of -- in October

      5    and December of last year.          Cornerstone wasn't

      6    involved in that.

      7            Q.     Okay.

      8            A.     Couple of the other cases where I

      9    testified earlier in the year, Cornerstone was

     10    involved, but -- so I don't know the lag involved

     11    there.

     12            Q.     Okay.   So when you get a check from

     13    Cornerstone, does it come with any paperwork, or is

     14    it just a check?

     15            A.     It's a check with a "thank you" letter.

     16            Q.     And does the "thank you" letter have any

     17    more than just "Thank you"?          Does it have any

     18    substance to it?

     19            A.     It has no -- if you're talking about

     20    accounting, no, there's no accounting of -- you know,

     21    "This is the amount associated with this project."

     22    But it is a check saying, "This is attribution to you

     23    for work that we jointly did.           We continue to have a

     24    good relationship, and" -- you know, that kind of

     25    letter.      It's a two-paragraph letter.

    Golkow Litigation Services                                             Page 94
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further95Confidentiality
                                                         of 184. PageID #: 225997
                                                                             Review

      1            Q.    Okay.    But it doesn't have any accounting

      2    or division of, you know, where the money -- why

      3    certain funds are being paid for what projects?                It

      4    doesn't include that kind of information?

      5            A.    That's correct.

      6            Q.    Okay.    How many projects do you think

      7    you've worked on with Cornerstone over the years?

      8    Litigation projects?

      9                  That's only four years.

     10            A.    Right.    No, and I've only worked with

     11    Cornerstone maybe ten years, and I started not doing

     12    a lot with them, and then as I gained confidence that

     13    they were a really excellent team to work with, I --

     14    I did more work with them.

     15            Q.    Okay.

     16            A.    Maybe there's a dozen here over the last

     17    four and a half years, and then maybe another dozen

     18    going back in time.

     19            Q.    Okay.    We're going to go through some of

     20    those lists, and maybe we can -- maybe you can

     21    identify them when we get to those, which ones were

     22    Cornerstone projects and which ones weren't.

     23                  So I'm going to show you what's been

     24    marked as Exhibit 4.        And I think you have this.

     25    These are the invoices that were provided to us early

    Golkow Litigation Services                                             Page 95
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further96Confidentiality
                                                         of 184. PageID #: 225998
                                                                             Review

      1    this morning by your counsel.

      2            (Exhibit 4 was marked for identification.)

      3                  MR. MORRIS:      Just so I know which, is it

      4           the full set, or the ones that are --

      5                  MS. SUTTON:      No, just the Grabowski.

      6                  MR. MORRIS:      Got it.

      7    BY MS. SUTTON

      8            Q.    So do you recognize these four invoices?

      9            A.    Yes.

     10            Q.    And these are invoices that you prepared,

     11    correct?

     12            A.    Yes.

     13            Q.    And you submit them to Arnold & Porter for

     14    payment?

     15            A.    Yes.

     16            Q.    And then Arnold & Porter writes a check to

     17    you, not to Cornerstone, correct?

     18            A.    Yes.

     19            Q.    They pay you directly.         All right.

     20                  And these seem to be -- appear -- these

     21    invoices seem to be appear -- appear -- strike that.

     22                  These invoices appear to be current

     23    through May 31st of 2019; is that correct?

     24            A.    Yes.

     25            Q.    And I assume you've had some additional

    Golkow Litigation Services                                             Page 96
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further97Confidentiality
                                                         of 184. PageID #: 225999
                                                                             Review

      1    work in June?

      2            A.    Yes.

      3            Q.    Do you have any idea how many hours?

      4            A.    So today's the 6th.        We've had some prep

      5    sessions.     I've done some review.         Maybe another

      6    20 hours.

      7            Q.    Okay.    So I took the liberty of adding up

      8    the hours that are set forth in these exhibits, and I

      9    came to a total of 182 hours.           Does that sound about

     10    right?

     11            A.    Yes.

     12            Q.    And then plus an additional 20.           And if

     13    you're using your hourly rate in the totals that you

     14    said were due, I came up with a total of $145,600.

     15    Does that sound about right?

     16            A.    So --

     17            Q.    I think my math is right.

     18            A.    I was just looking at this.          So you're

     19    saying it's how much?         164?

     20            Q.    $145,600.

     21            A.    Well, if it was 200 times 8 -- yeah, I

     22    guess that's right.

     23            Q.    Okay.    And have you been paid -- are all

     24    these -- have these statements all been paid?

     25            A.    My understanding is they've been approved

    Golkow Litigation Services                                             Page 97
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further98Confidentiality
                                                         of 184. PageID #: 226000
                                                                             Review

      1    by the company, but I don't know that they've -- I

      2    don't believe they've actually -- I haven't checked

      3    recently, but I don't -- they -- you know, they do

      4    a -- they do a transfer into my bank account.

      5            Q.    Okay.    And you -- you have a -- it's

      6    transferred into Grabowski Associates, Inc.               Is that

      7    like an LLC that you've set up?

      8            A.    It's a C corp, yes.

      9            Q.    C corp.     And this is a C corp for your

     10    expert work?

     11            A.    Primarily, yes.

     12            Q.    Okay.    Just a few questions about these

     13    bills.    I haven't had a lot of time to study them,

     14    but I see -- I was trying to identify the amount of

     15    time that's indicated here that you spent reviewing

     16    academic and economic studies, and it looks like on

     17    June 15th, 2018, you spent 5 hours reviewing studies.

     18    And then on the next statement, on March 29th, 2019,

     19    you spent another 5 hours reviewing academic and

     20    economic studies.

     21                  I didn't see any other references to you

     22    working on the review of the literature, other than

     23    those two references.         So is it fair, then, to say

     24    that you spent about 10 hours reviewing the academic

     25    and economic literature?

    Golkow Litigation Services                                             Page 98
Case: Highly
      1:17-md-02804-DAP Doc #:-1977-18
               Confidential     SubjectFiled:
                                           to 07/24/19
                                               Further99Confidentiality
                                                         of 184. PageID #: 226001
                                                                             Review

      1            A.    I would think it's more, that -- you know,

      2    those were the days where that was the primary task,

      3    but I have a lot of items like work on draft reports,

      4    which could be searching literature for a particular

      5    reference.

      6            Q.    So do you -- can you estimate how much

      7    more time beyond the 10 hours that are described you

      8    may have spent reviewing economic or economic studies

      9    -- academic or economic studies?

     10            A.    Well, it -- it would also be in

     11    conjunction with like Rosenthal referenced something,

     12    and I looked at that.         And similar with Cutler,

     13    Gruber, and McGuire.        So, you know, probably a

     14    multiple of those -- those 10 hours.             Maybe a

     15    multiple of 5 or something.

     16            Q.    So could be up to 50 hours --

     17            A.    Yeah.

     18            Q.    -- you're thinking?        Okay.    Of your

     19    approximately 200 hours you've spent on this case.

     20    Okay.

     21                  Then I wanted to ask you about an entry on

     22    the second invoice, the April invoice.             The entry is

     23    for March 13th, 2019; it indicates 5 and a half hours

     24    for report draft and agenda.           Do you see that?

     25            A.    What date is that?

    Golkow Litigation Services                                             Page 99
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 100Confidentiality
                                                           of 184. PageID #: 226002
                                                                               Review

       1            Q.    March 13, 2019.       Says "Report draft and

       2    agenda."

       3            A.    Okay.    These are a little out of order.

       4            Q.    I'm sorry.

       5            A.    Yes.

       6            Q.    Okay.    I'm just trying to understand what

       7    this entry is.       Is this when you received a draft of

       8    the report, and you're reviewing it?

       9            A.    No, I think the way I usually work is to

      10    prepare an outline of, you know, what I think the

      11    report will look like, what -- what agenda I have to

      12    pursue to kind of fill in the placeholders.                And so I

      13    think this is a draft outline more than a report

      14    draft.

      15            Q.    Okay.    I just didn't see the word

      16    "outline," because -- like on the next invoice, on

      17    March 15th, which is approximately a month later,

      18    there is an indication of a draft report outline.

      19            A.    Yeah, so there's an evolutionary process.

      20    And at this point we didn't have a draft, I'm pretty

      21    sure, in March.       We had an outline.

      22            Q.    Yeah.    And you mentioned placeholders,

      23    that you put placeholders in your -- in your outline?

      24            A.    Yeah, that's part of an agenda saying,

      25    "Here's an outline of the likeliest report, which

     Golkow Litigation Services                                            Page 100
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 101Confidentiality
                                                           of 184. PageID #: 226003
                                                                               Review

       1    changes over time as we get into it, but -- and

       2    here's some of the things we need to do to implement

       3    this report."

       4            Q.    Right.     And are these outlines then shared

       5    with Cornerstone?

       6            A.    They're discussed with them, yes.

       7            Q.    Yeah.    You've been saying "we."          Is that

       8    that -- you're referring to working with Cornerstone?

       9            A.    Yes.

      10            Q.    Does the "we" include attorneys, or . . .

      11            A.    Not at this stage, no.

      12            Q.    Okay.    So when you would indicate that

      13    there are placeholders in the outline, sometimes

      14    would you have Cornerstone fill in those placeholders

      15    or draft those placeholders for you?

      16            A.    I think they would do some literature

      17    search under my direction, or various tasks under my

      18    direction, yes.

      19            Q.    Would they provide language to you?

      20            A.    In some cases they might, but I would

      21    always edit it in my -- you know, it was always my

      22    report, so if they drafted anything like a discussion

      23    in Table 1, then I would edit it or redraft it.

      24            Q.    So in your expert report, did they draft

      25    any -- or propose any drafts of any of the language

     Golkow Litigation Services                                            Page 101
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 102Confidentiality
                                                           of 184. PageID #: 226004
                                                                               Review

       1    in the actual body of the report?

       2            A.    I wouldn't characterize it that way.              I

       3    think -- you know, it started with my outline, my

       4    words, and sometimes I would delegate a particular

       5    section related to literature or a search or

       6    something, and they might put words down, and then I

       7    would edit it so that it reflected my opinion.

       8            Q.    Do you still have a copy of the -- of the

       9    outline, finished outline you did for this report?

      10            A.    I don't think so.

      11            Q.    Okay.    So sometimes they would, then,

      12    provide you with language for certain sections of the

      13    report that you would then review and edit?

      14            A.    Yes.

      15            Q.    Okay.    Would they ever -- did you share

      16    drafts with them of your report as it was being put

      17    together?

      18            A.    Yes.

      19            Q.    And then would they provide edits or

      20    markups to you?

      21            A.    They -- they could -- they could provide

      22    suggestions, yes.

      23            Q.    Okay.    And how would they typically do

      24    that?

      25            A.    We would go over a section of the report,

     Golkow Litigation Services                                            Page 102
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 103Confidentiality
                                                           of 184. PageID #: 226005
                                                                               Review

       1    and they might suggest doing further, you know,

       2    citations or something.

       3            Q.    Okay.    Would you have those conversations

       4    on the phone, or would they do like markups, like a

       5    redline markup on the actual document?              How would

       6    that happen?      Or would it happen both ways?

       7            A.    We would have a Zoom -- you know, the

       8    draft evolved over time, and we would do it generally

       9    on Zoom, and we would look at it, and, you know, it

      10    would go through another iteration.             We would look at

      11    it again.

      12            Q.    Okay.    When you were on Zoom and you were

      13    looking at it together sometimes, would you then send

      14    them off to do certain things on your report before

      15    you would have the next meeting?

      16            A.    Yes.

      17            Q.    Okay.    And how many meetings do you think

      18    you had with Cornerstone about your report?

      19            A.    Once we got into March, where we were kind

      20    of more intensively involved in the report and

      21    responding to Rosenthal, I think we agreed to have a

      22    discussion every Thursday.          But sometimes that, you

      23    know, would shift to Wednesday or Friday.               But it was

      24    at least weekly, beginning in March.

      25            Q.    Okay.    And then I see references to

     Golkow Litigation Services                                            Page 103
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 104Confidentiality
                                                           of 184. PageID #: 226006
                                                                               Review

       1    conference calls in your invoices.             Would that be --

       2    is that referring to those conference calls with

       3    Cornerstone?

       4            A.    Primarily, yes.

       5            Q.    Would you have conference calls with other

       6    people that might be indicated in these invoices

       7    besides Cornerstone?

       8            A.    I think once or twice the attorneys, we

       9    had a call with the attorneys to give us some update

      10    on the case.

      11            Q.    Okay.    Would the attorneys be present on

      12    the conference calls with Cornerstone?

      13            A.    Sometimes.

      14            Q.    How -- could you say how often that would

      15    happen?

      16            A.    A few times.

      17            Q.    Was it more often that you would have

      18    conference calls with Cornerstone where attorneys

      19    weren't present?

      20            A.    Yes.

      21            Q.    Okay.    So you would -- during the Zoom

      22    meetings, would you be sharing the document on a

      23    screen that you were -- everyone was looking at?

      24            A.    Yes.

      25            Q.    Okay.    Do those -- did those documents as

     Golkow Litigation Services                                            Page 104
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 105Confidentiality
                                                           of 184. PageID #: 226007
                                                                               Review

       1    they -- are they still in existence as they were up

       2    on the screen with Cornerstone when there were no

       3    lawyers present?

       4            A.    No, I don't think so, because the

       5    documents --

       6            Q.    You wrote it over?

       7            A.    Yes.

       8            Q.    Okay.    So then the Rosenthal report came

       9    in -- I think you received it March 25th.               Did -- and

      10    I assume you communicated with Cornerstone about what

      11    the Rosenthal report said, right?

      12            A.    Yes.

      13            Q.    Okay.    Did they -- did Cornerstone provide

      14    any written critique or analysis of the Rosenthal

      15    report to you?

      16            A.    No, I provided the critique and shared it

      17    with them.

      18            Q.    Okay.    So I'm going to show you something,

      19    what's been marked as Exhibit 5.            And this was

      20    provided to us early this morning from your counsel,

      21    and it purports to be the -- the bills that

      22    Cornerstone has -- the invoices Cornerstone has

      23    created for their work with you in this case.

      24            (Exhibit 5 was marked for identification.)

      25

     Golkow Litigation Services                                            Page 105
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 106Confidentiality
                                                           of 184. PageID #: 226008
                                                                               Review

       1    BY MS. SUTTON:

       2            Q.    I'm not sure.       Do you -- have you ever

       3    seen that before?

       4            A.    I saw it briefly yesterday in my prep

       5    session with Sean Morris.

       6            Q.    Do you generally see Cornerstone's bills

       7    for the projects you work on?

       8            A.    No, I've never seen them prior to this

       9    case.

      10            Q.    Okay.    And is your understanding that

      11    Cornerstone would have sent this bill to Arnold &

      12    Porter for payment?

      13            A.    Yes.

      14            Q.    Okay.    What -- what time yesterday did you

      15    see those invoices?        Do you recall?

      16            A.    Yesterday afternoon.

      17            Q.    Okay.    So I'm not going to ask you a lot

      18    about those.      Have you looked at those very

      19    carefully?

      20            A.    No.

      21            Q.    Okay.    Have you -- have you reviewed them

      22    at all?

      23            A.    More for who are these people, you know.

      24            Q.    Right.

      25            A.    And you know these people.           And I do know

     Golkow Litigation Services                                            Page 106
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 107Confidentiality
                                                           of 184. PageID #: 226009
                                                                               Review

       1    several of them.       Some of them I -- several of them

       2    were on calls, the primary person, people that I knew

       3    was -- or recognize as James Eastman, Robby Letson,

       4    certainly Ceren Aruoba, and Ross was on the call, or

       5    several calls.       And, you know, some of the other

       6    individuals selectively on the team, that the

       7    technical or --

       8            Q.    So are there names on there that you don't

       9    recognize?

      10            A.    Yes, there are a few names that were on

      11    the technical team doing, you know, some of the data

      12    crunching that didn't come onto the call, I think.

      13            Q.    All right.      So some of the names were new

      14    to you when you were flipping through that?

      15            A.    Yes.

      16            Q.    Okay.    So I think we had talked about how

      17    you had spent 182 hours in billings in these invoices

      18    that make up Exhibit 4, and -- and you said you've

      19    testified that you worked an additional 20 hours.

      20                  So we took a look at these invoices from

      21    Cornerstone, and they reflect 1,239.6 hours on the

      22    project supporting you through April 2019.               And

      23    adding up the amount that they have billed, it's

      24    $478,600.

      25                  So is it your understanding that these

     Golkow Litigation Services                                            Page 107
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 108Confidentiality
                                                           of 184. PageID #: 226010
                                                                               Review

       1    bills are provided to Arnold & Porter for payment?

       2            A.    Yes.

       3            Q.    And --

       4            A.    Well, ultimately Endo, I guess, but . . .

       5            Q.    So do you have any understanding of the --

       6    through April, of the $478,600 that they're going

       7    to -- that they have billed or will bill to Arnold &

       8    Porter, what percentage you're going to receive or

       9    how much you will receive of that?

      10            A.    So maybe 5 percent.         I don't know.      It's a

      11    guess, but . . .

      12            Q.    Have you had any discussions with Greg

      13    Eastman or Ceren or any folks at Cornerstone about

      14    how much you're going to receive from Cornerstone

      15    that they've billed to Arnold & Porter?

      16            A.    No, but, you know, in some -- in some

      17    contractual relationships that I have with, you know,

      18    other firms, they -- they spell out, you know, "We're

      19    going to give you 5 percent for work that we bring to

      20    you, and we're going to give you 7 and a half percent

      21    if you bring the work to us."

      22                  So that's a kind of typical industry norm,

      23    if you want.      I don't know if Cornerstone adheres to

      24    that or not.

      25            Q.    Okay.    And you're not going to make any

     Golkow Litigation Services                                            Page 108
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 109Confidentiality
                                                           of 184. PageID #: 226011
                                                                               Review

       1    demand on them on what the percentage is going to be?

       2    You're just going to let them decide?

       3            A.    Yes.

       4            Q.    Okay.    But you think it will probably be

       5    around 5 percent?

       6            A.    Something like that, yes.

       7            Q.    Okay.    All right.      Let's move to

       8    another -- sorry; too much paper -- expert witness

       9    organization I think you've worked with.               Have you

      10    worked with a group called the Analysis Group?

      11            A.    Yes.

      12            Q.    Okay.    And what's your understanding of

      13    the Analysis Group?        What do they do?

      14            A.    They are -- do similar things to

      15    Cornerstone.      They provide expert support.           They

      16    do -- they have their own set of experts on cases.

      17    They do academic work.         I've done some publications

      18    with individuals at Analysis Group.             So they -- their

      19    work, you know, they do cost-effectiveness analysis

      20    for the industry or for -- or health entities.

      21                  MS. SUTTON:      Okay.    So I'm just going to

      22          have you mark -- I think we're up to 6.

      23            (Exhibit 6 was marked for identification.)

      24    BY MS. SUTTON:

      25            Q.    So 6 is -- comes from the Analysis Group

     Golkow Litigation Services                                             Page 109
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 110Confidentiality
                                                           of 184. PageID #: 226012
                                                                               Review

       1    website, and it's -- it's a listing of you and

       2    your -- your experience and background.              Do you see

       3    that?

       4            A.    Yes.

       5            Q.    Okay.    And I think you also appear on the

       6    Cornerstone website as well, correct?

       7            A.    I haven't looked at it, but I would

       8    presume so, if they list their experts.

       9            Q.    Right.     And it has a summary of your

      10    experience.      And you would agree that that explains

      11    your relevant experience in the field, right?

      12            A.    Yes.

      13            Q.    Okay.    So it sounds like you do different

      14    types of work with the Analysis Group.              So you've

      15    authored some articles through the Analysis Group?

      16            A.    Yes.

      17            Q.    Okay.    Do you know how many?

      18            A.    I can recall at least three.

      19            Q.    Are they for the actual peer-reviewed

      20    literature, or are they for more -- different types

      21    of literature?

      22            A.    Peer reviewed.

      23            Q.    Peer reviewed.       Okay.

      24                  And how -- how does it come about that you

      25    end up working with Analysis Group on peer-reviewed

     Golkow Litigation Services                                            Page 110
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 111Confidentiality
                                                           of 184. PageID #: 226013
                                                                               Review

       1    literature?

       2            A.    It either could be at my initiation or

       3    their initiation.        So the particular articles that we

       4    did on the -- the average exclusivity period between

       5    when a brand enters the market and when a generic

       6    first enters the market, we've done a series of

       7    papers on that, and it builds on some work I had gone

       8    with Margaret Kyle, who was at Duke and now is at a

       9    university in Paris.

      10                  And the -- PhRMA approached us to kind of

      11    follow up on that work, and they suggested -- they

      12    had worked with Analysis Group, and they suggested

      13    that I -- we go ahead, and Analysis Group would be a

      14    collaborator and do some of the number-crunching, and

      15    I would supervise it and essentially write the

      16    article.

      17            Q.    Right.

      18            A.    And that's the way that -- those three

      19    articles evolved.

      20            Q.    Right.     And so then they -- they're

      21    providing support to you in writing the article; is

      22    that a fair way to describe it?

      23            A.    More they're colleagues, and that when

      24    it's a publication, they provide support, but they

      25    also, you know, help structure the project, you know,

     Golkow Litigation Services                                            Page 111
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 112Confidentiality
                                                           of 184. PageID #: 226014
                                                                               Review

       1    that -- these are Ph.D. individuals that are

       2    respected and do publications.

       3                  You know, I also have used Analysis Group

       4    in litigation support.

       5            Q.    Right.

       6            A.    Some of -- people there.          But --

       7            Q.    With respect to authors, then, the people

       8    that you collaborate with from Analysis Group, do

       9    they appear as listed authors on the article?

      10            A.    Yes.

      11            Q.    Okay.    And the articles that you were

      12    talking about, you mentioned PhRMA, which is -- would

      13    PhRMA have provided funding for the article?

      14            A.    Yes, although in some cases I was unpaid.

      15            Q.    Okay.

      16            A.    Because I -- I felt a conflict of

      17    interest, at least -- at least in one of them.

      18            Q.    And why -- why was that?

      19            A.    Well, that I was involved in some other --

      20    you know, other matters involving generic competition

      21    and exclusivity, and I just felt -- I would be -- I

      22    could be an academic, but I didn't want to take a

      23    paid physician for the article.

      24            Q.    Okay.    So the -- the funding would go to

      25    maybe the folks in Analysis Group then?              Or . . .

     Golkow Litigation Services                                            Page 112
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 113Confidentiality
                                                           of 184. PageID #: 226015
                                                                               Review

       1            A.    Yes.

       2            Q.    Okay.    Do you know how much funding PhRMA

       3    provided to -- to you or the Analysis Group for these

       4    projects that you worked on?

       5            A.    I'd have to go back in my records.             On a

       6    few where I was paid, it was, you know, a lot less

       7    than what I get in litigation.

       8            Q.    Yeah.    So let's talk about -- you

       9    mentioned that you worked with Analysis Group on

      10    litigation.      Is it in a kind of a similar capacity

      11    with what you describe with Cornerstone?

      12            A.    Yes.

      13            Q.    How many projects, legal projects, do you

      14    think you've worked on with the Analysis Group?

      15            A.    At least a half-dozen.

      16            Q.    Okay.    And how long have you been working

      17    with them?

      18            A.    You know, it goes back a lot of years.              I

      19    would say at least ten years.

      20            Q.    Okay.    Now, how does that -- just to

      21    understand how it works, if it works like it does

      22    with Cornerstone, do you get a -- a share of -- of

      23    the billings of the Analysis Group in projects

      24    where they're -- litigation projects where they're

      25    supporting you?

     Golkow Litigation Services                                            Page 113
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 114Confidentiality
                                                           of 184. PageID #: 226016
                                                                               Review

       1            A.    Yes.

       2            Q.    Okay.    And is that a set percentage?

       3            A.    Yes.

       4            Q.    And what is the percentage?

       5            A.    It varies from 5 to 7 and a half.

       6            Q.    Okay.    And do you get paid by project, or

       7    do you get paid on a -- on a monthly or annual basis?

       8            A.    Analysis Group gives you very detailed

       9    accounting by month.

      10            Q.    Okay.    So you would see the sorts of

      11    invoices that I just previously showed you for

      12    Cornerstone, you would see that type of information

      13    from Analysis Group?

      14            A.    No.

      15            Q.    It would be less detailed?

      16            A.    Yeah.    Very less detailed.

      17            Q.    But you would -- you would get information

      18    about what they had billed and collected on the

      19    projects that you worked on with them?

      20            A.    Yes.

      21            Q.    Okay.    Do you know if Analysis Group is

      22    involved in this litigation?

      23            A.    I do not know.

      24            Q.    Do not know.      Okay.

      25                  Maybe we'll do one more, and then take --

     Golkow Litigation Services                                            Page 114
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 115Confidentiality
                                                           of 184. PageID #: 226017
                                                                               Review

       1    this will be short, and then do you guys want to have

       2    lunch?

       3                  MR. MORRIS:      Sure.    I think it's in the

       4          next room, so . . .

       5                  MS. SUTTON:      Yeah.    It's 12:30.

       6    BY MS. SUTTON

       7            Q.    So -- okay.

       8                  The Brattle Group, have you heard of an

       9    organization called "the Brattle Group"?

      10            A.    Yes.

      11            Q.    And are they a similar type organization

      12    to Cornerstone and -- and Analysis Group?

      13            A.    Yes.

      14            Q.    Okay.    So -- and again, I think you're

      15    listed on their website, does that make --

      16            A.    Yes, I am.

      17            Q.    Okay.    How long have you been associated

      18    with the Brattle Group?

      19            A.    Well, the Brattle Group bought out a

      20    company that I worked with many -- my first real

      21    litigation was back in the '80s.            I worked on a

      22    so-called DES long-tail liability with a company -- I

      23    forget the exact name -- that Brattle eventually

      24    acquired.     And so I would say that I worked with --

      25    since the '80s with the Brattle, or their previous

     Golkow Litigation Services                                            Page 115
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 116Confidentiality
                                                           of 184. PageID #: 226018
                                                                               Review

       1    version of the Brattle.

       2            Q.    So you're listed as an academic advisor on

       3    their website.       What does that mean?        Do you know?

       4            A.    Well, a lot of work I've done with Brattle

       5    have been more consulting, nonlitigation.

       6            Q.    And consulting with whom?

       7            A.    Consulting like -- one case, give you at

       8    least a flavor of the case, is a company -- the IRS

       9    wants to get a company to pay more, based on

      10    international relationships or affiliates, and, you

      11    know, I was brought in to sort of analyze it and give

      12    them some advice.

      13            Q.    Was the company in -- in question a

      14    pharmaceutical company?

      15            A.    Yes.

      16            Q.    Okay.    Can you tell us which one?

      17            A.    No.

      18            Q.    Okay.    Can you tell us how much you were

      19    paid to do that?

      20            A.    Maybe 20,000.       It wasn't a big job, in

      21    terms of hours.

      22            Q.    Have you had similar projects like that

      23    with the Brattle Group?

      24            A.    Yes.    We're talking about the Brattle

      25    Group?

     Golkow Litigation Services                                            Page 116
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 117Confidentiality
                                                           of 184. PageID #: 226019
                                                                               Review

       1            Q.    Right.

       2            A.    You mean other projects?

       3            Q.    Yeah, other projects, like consulting

       4    projects with the Brattle Group besides the one

       5    you've discussed.

       6            A.    Not that I can recall.

       7            Q.    Okay.    So just the one?

       8            A.    Yes.

       9            Q.    All right.      Now, have you also

      10    been working with the Brattle Group in litigation?

      11            A.    Yes.

      12            Q.    Have they provided support services to you

      13    in your role as an expert witness?

      14            A.    Yes.

      15            Q.    Do you know on how many cases?

      16            A.    Well, there was this one, one that went on

      17    many years, complex litigation in California and then

      18    New York.     Long-tail liability.         And so that was a

      19    major case.      But then I didn't do much work with

      20    them, maybe two or three more cases since then.

      21            Q.    Okay.    Does it work similarly to the other

      22    two expert research groups, where you get a

      23    percentage of Brattle Group's billings?

      24            A.    Not in the 1980s.        I think that was

      25    something that came about more recently, after 2000,

     Golkow Litigation Services                                            Page 117
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 118Confidentiality
                                                           of 184. PageID #: 226020
                                                                               Review

       1    this attribution fee to experts.

       2            Q.     Okay.    And then do you have a set

       3    percentage agreement with Brattle Group?

       4            A.     I think it could be similar to Analysis

       5    Group, the 5 or 7 and a half percent range.

       6            Q.     Okay.    And that started in the 2000s when

       7    you were working with the Brattle Group?

       8            A.     Yes.

       9            Q.     Okay.    And how did that come about?          Did

      10    you raise the idea with them that you would get an

      11    attribution percentage, or did they bring that idea

      12    to you?      Do you recall?

      13            A.     I don't recall specifically with Brattle

      14    Group, but one of the groups raised the -- or said

      15    they were going to pay attribution fees to -- to

      16    economists or experts.         And then, you know, it became

      17    more widespread.

      18            Q.     Okay.    So we've talked about Cornerstone.

      19    We've talked about Brattle.           We talked about the

      20    Analysis Group.        Are there any other expert witness

      21    service organizations you work with that I've missed?

      22            A.     I worked once, many years ago, with

      23    Charles Rivers, which is in Boston.

      24            Q.     Right.    Did you have an attribution fee

      25    arrangement with them?

     Golkow Litigation Services                                            Page 118
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 119Confidentiality
                                                           of 184. PageID #: 226021
                                                                               Review

       1            A.    I don't believe so.

       2            Q.    Okay.    Are there any other expert witness

       3    organizations that you work with?

       4            A.    I think it's those four.

       5            Q.    All right.      Okay.    Thank you.      Good time

       6    for lunch?

       7                  MR. MORRIS:      Sure.

       8                  MS. SUTTON:      Okay.

       9                  VIDEOGRAPHER:       Going off the record.         The

      10          time is 12:28 p.m.

      11                  (A luncheon recess transpired

      12                    from 12:28 p.m. until 1:13 p.m.)

      13                  VIDEOGRAPHER:       Going back on the record.

      14          The time is 1:13 p.m.

      15                  MR. MORRIS:      So before you ask your first

      16          question, Professor Grabowski has some

      17          information about his attribution percentage you

      18          were asking him about before.

      19                  MS. SUTTON:      Sure.

      20                  THE WITNESS:      Yeah, so I talked to

      21          Cornerstone Ceren Aruoba, and she confirmed that

      22          it's 7 and a half percent in this case.

      23            (Exhibit 7 was marked for identification.)

      24    BY MS. SUTTON

      25            Q.    Thank you.      I appreciate that.

     Golkow Litigation Services                                            Page 119
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 120Confidentiality
                                                           of 184. PageID #: 226022
                                                                               Review

       1                  I'm going to -- moving on to a different

       2    topic, I wanted to show you what's been marked as

       3    Exhibit 7, which is a declaration by you, dated

       4    March 28th, 2013.        My understanding is that this

       5    declaration --

       6                  MR. MORRIS:      Do you have one of those?

       7    BY MS. SUTTON:

       8            Q.    -- was submitted on behalf of Purdue

       9    Pharma in a patent case involving the potential

      10    approval of generic oxycodone.            Is that your

      11    recollection?

      12            A.    No.    I -- I think I submitted it on behalf

      13    of Endo in a patent case.          But maybe -- maybe this

      14    is . . .

      15            Q.    If you look at paragraph 6 on page 2?

      16    Does that -- does that refresh your recollection that

      17    you were hired by Purdue Pharma in this matter?

      18            A.    Oh, okay.      I had another case where I was

      19    opposed to Pharma but -- or to Purdue, thinking in my

      20    mind.

      21                  But yes, this was in conjunction with

      22    their reformulated OxyContin, that -- I don't believe

      23    I testified in this case, but . . .

      24            Q.    You provided a declaration, though,

      25    correct?

     Golkow Litigation Services                                            Page 120
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 121Confidentiality
                                                           of 184. PageID #: 226023
                                                                               Review

       1            A.    Yes.

       2            Q.    And was the declaration sworn?

       3            A.    Yes, I think so.

       4            Q.    Okay.    So you said "reformulated

       5    OxyContin."      What's your understanding of what that

       6    means?

       7            A.    That was their crusher-proof --

       8    crusher-resistant OxyContin.

       9            Q.    And do you know why they made it

      10    crusher-resistant?

      11            A.    Because OxyContin was subject to, you

      12    know, abuse, and they wanted to have a version that

      13    was less subject to abuse.

      14            Q.    Okay.    And do you recall what -- what

      15    opinion you gave in this case?

      16            A.    I think it was that generics should not

      17    enter -- or the FDA should not approve generics that

      18    were nontamper resistant ---

      19            Q.    And did you give a reason why?

      20            A.    Well, that -- you know, I'd have to look

      21    at it.    It's been a while since this occurred.

      22                  So I think I was dealing -- analyzing

      23    substitution rates here, and that the

      24    nontamper-resistant generic oxycodone might have a

      25    large share of oxycodone, and whereas the FDA I think

     Golkow Litigation Services                                            Page 121
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 122Confidentiality
                                                           of 184. PageID #: 226024
                                                                               Review

       1    was receptive to -- or and approved a non -- or a

       2    tamper-resistant.

       3                  And so I was trying to analyze the

       4    economics, if you have both a nontamper-resistant

       5    generic and a reformulated crush-resistant OxyContin,

       6    what would that mean for market shares.

       7            Q.    And you determined that -- that the

       8    nontamper-resistant generic oxycodone might have a

       9    larger share of the oxycodone market?

      10            A.    Yes.

      11            Q.    Yeah.    And in part, you do talk about in

      12    here the fact that people might be driven to the

      13    nontamper-resistant because of the abuse potential,

      14    correct?

      15            A.    Yes.

      16            Q.    Okay.    So do you recall which law firm had

      17    hired you in this case?

      18            A.    No.    I think I worked with Analysis Group

      19    on the case, but --

      20            Q.    But you don't remember which law firm?

      21            A.    That's correct.

      22            Q.    Okay.    So was this your -- had you

      23    represented Endo prior to -- to this case?

      24            A.    Yes.

      25            Q.    Okay.    So this wasn't the -- your first

     Golkow Litigation Services                                            Page 122
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 123Confidentiality
                                                           of 184. PageID #: 226025
                                                                               Review

       1    representation of a company that sold opioids?

       2            A.    Right.

       3            Q.    Okay.    The work that you just mentioned

       4    you did for Endo, was that related to opioids?

       5            A.    It was related to -- Endo was a generic at

       6    the time, and they were trying to enter the market

       7    for OxyContin, and they were challenging the patents.

       8    And I was representing Endo in that matter.

       9            Q.    And that was against Purdue?

      10            A.    Yes.

      11            Q.    And that was -- was it before or after

      12    this?

      13            A.    It was before this.

      14            Q.    Okay.    So did you ever disclose the work

      15    you did on behalf of Purdue here to Endo as part of

      16    your working with them in this case?

      17            A.    I don't think so.        It's -- you know, I --

      18    it's a declaration.        And it had slipped my mind even

      19    that I did a declaration to the FDA.

      20            Q.    Do you have any idea how many hours you

      21    would have devoted to preparing this declaration?

      22    It's 25 pages, with some analysis.

      23            A.    Maybe 80 hours.

      24            Q.    Okay.    And the declaration states at this

      25    time you were charging $800 an hour, which is what

     Golkow Litigation Services                                            Page 123
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 124Confidentiality
                                                           of 184. PageID #: 226026
                                                                               Review

       1    you charge now, right?

       2            A.    Yes.

       3            Q.    Okay.    You can set that aside.

       4                  The Duke University has a school of

       5    medicine, correct?

       6            A.    Yes.    Very distinguished.

       7            Q.    I was going to say that.          Very acclaimed

       8    school of medicine.        Have you taught any courses

       9    there?

      10            A.    No.

      11            Q.    Okay.    Are you aware of their policy for

      12    industry relations?

      13            A.    Generally, yes.

      14            Q.    Are you aware of whether Duke Hospital

      15    places any restrictions on detailing by

      16    pharmaceutical drug representatives?

      17            A.    I think some years back, I don't know how

      18    many years, they decided -- I know they decided to

      19    stop accepting samples.         I don't know about

      20    detailing.

      21            Q.    Okay.    So you don't know if -- if Duke

      22    restricts pharmaceutical representatives from

      23    detailing the doctors at the school of medicine, or

      24    the students?

      25            A.    No, I don't know that.

     Golkow Litigation Services                                            Page 124
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 125Confidentiality
                                                           of 184. PageID #: 226027
                                                                               Review

       1            Q.    Okay.    This came up briefly earlier, the

       2    Tufts Center for Study of Drug Development.                Is it

       3    okay if we call it "CSDD"?          Do you -- is that what

       4    you call it?

       5            A.    At times, yes.

       6            Q.    It is a shorter acronym.

       7                  And you testified earlier that you've done

       8    work with Dr. DiMasi.         Do you consider him a

       9    colleague?

      10            A.    Yes.    Not a Duke colleague, but a

      11    colleague in economics, yes.

      12            Q.    And you have coauthored a number of papers

      13    with him, correct?

      14            A.    Yes.

      15            Q.    And your relationship with him goes back

      16    decades, right?

      17            A.    Yeah, maybe 20 years.

      18            Q.    Okay.    And when I was looking at your CV,

      19    it looked to me like you've coauthored maybe a dozen

      20    articles with him.        Does that sound about right?

      21            A.    It could be a dozen, but some of them are

      22    just comments to -- you know, so we write a short

      23    comment in the literature.

      24            Q.    Are you -- I think you mentioned earlier

      25    that you are working with him on a study right now.

     Golkow Litigation Services                                            Page 125
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 126Confidentiality
                                                           of 184. PageID #: 226028
                                                                               Review

       1    Is it an update to your drug development cost study?

       2            A.    It's related, of sorts, but it's not a --

       3    a full update.

       4            Q.    Okay.    You're not going to be calculating

       5    a new number for the development of a drug from

       6    its -- from its infancy to commercialization?

       7            A.    That's correct.

       8            Q.    You're not.      Okay.

       9            A.    No, we're going to focus in on a

      10    therapeutic group.

      11            Q.    Oh.    What therapeutic group?

      12            A.    Oncology.

      13            Q.    Okay.    So cancer drugs?

      14            A.    Yes.

      15            Q.    Okay.    Did anybody ask you to do that?

      16            A.    Yes.

      17            Q.    Who?

      18            A.    We have a grant from Pfizer.

      19            Q.    How much is the grant?

      20            A.    I think with everything, including travel,

      21    research assistants, everything, it's about 120K.

      22            Q.    So when do you expect that to be ready for

      23    publication?

      24            A.    Hopefully by the end of the summer.

      25            Q.    Okay.    So pretty far along, then?

     Golkow Litigation Services                                            Page 126
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 127Confidentiality
                                                           of 184. PageID #: 226029
                                                                               Review

       1            A.    It's -- you know, we have preliminary

       2    results, but we're doing further analysis.

       3            Q.    So I think in the -- the study that you

       4    did, it was published in 2016, and we can get it out

       5    if you don't recall, but it seems like that the

       6    average private sector cost to develop a new drug was

       7    just under 2.6 billion in the study that you

       8    published; does that sound right?

       9            A.    Yes.

      10            Q.    Okay.    So do you have even a preliminary

      11    calculation with respect to the cancer medications?

      12    Are they going to be above that or below it?

      13            A.    They're going to be commensurate with it.

      14            Q.    Commensurate with it, okay.           So in the

      15    ballpark?

      16            A.    Yes.

      17            Q.    Okay.    So Dr. DiMasi, my understanding is

      18    he's a -- a director at CSDD.           He's director of

      19    economic analysis.        Does that sound right?

      20            A.    Yes.

      21            Q.    Okay.    And I think he's also a research

      22    associate professor at the Tufts Department of Public

      23    Health; are you aware of that?

      24            A.    Yes.

      25            Q.    So it's like a dual position?

     Golkow Litigation Services                                            Page 127
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 128Confidentiality
                                                           of 184. PageID #: 226030
                                                                               Review

       1            A.    Yes.    All of the faculty at -- CSDD is

       2    part of public health now, and they're all faculty

       3    positions.

       4            Q.    Okay.    So have you ever talked to

       5    Dr. DiMasi about Tufts' relationship with the Sackler

       6    family?

       7            A.    No.

       8            Q.    Okay.    And are you aware that Tufts has

       9    hired an independent investigator to look into the

      10    financial contributions that the Sackler family has

      11    provided over the years to Tufts University?

      12            A.    I'm not aware of that, no.

      13            Q.    Okay.    Just asking -- wondering if maybe

      14    you talked to Dr. DiMasi about that.

      15                  So have you ever been on the board of

      16    CSDD?

      17            A.    Yes.

      18            Q.    Are you on the board now?

      19            A.    No.

      20            Q.    Okay.    When were you on the board?

      21            A.    You know, I -- it spanned a period maybe

      22    from the late '90s through sometime in the 2000s.

      23            Q.    Okay.    So you went off the board sometime

      24    in the 2000s?

      25            A.    Yeah, the board, as it was constituted,

     Golkow Litigation Services                                            Page 128
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 129Confidentiality
                                                           of 184. PageID #: 226031
                                                                               Review

       1    there was a new director, and I think he didn't think

       2    they needed a board, so I don't think there is a

       3    board anymore.

       4            Q.    Right.     I looked at the website, and I

       5    couldn't find a board, so -- right.

       6                  When you were on the board, were there any

       7    board members from the pharmaceutical industry?

       8            A.    No.

       9            Q.    Okay.    So is it your understanding that

      10    CSDD does not receive any funds from Tufts

      11    University?

      12            A.    I don't know one way or the other.

      13            (Exhibit 8 was marked for identification.)

      14    BY MS. SUTTON:

      15            Q.    Okay.    So this comes from the CSDD

      16    website.     And if you turn to the second page, it

      17    talks about who sponsors Tufts.

      18                  It says that "Tufts CSDD relies on the

      19    support of its corporate sponsors to help cover

      20    operating expenses and support nonsponsored research

      21    studies, such as our highly cited series of papers on

      22    the cost of pharmaceutical R&D.            Note that Tufts CSDD

      23    receives no financial support from Tufts University

      24    and is required to be self-supporting.              That is why

      25    corporate support is vital."           You see that?

     Golkow Litigation Services                                            Page 129
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 130Confidentiality
                                                           of 184. PageID #: 226032
                                                                               Review

       1            A.    Yes.

       2            Q.    Okay.    So I read this to mean that CSDD

       3    gets their support from corporate sponsors.

       4            A.    Not exclusively.        This is a -- the mission

       5    for corporate money, but they -- I know for a fact

       6    they have received government grants, that they have

       7    received foundation grants.

       8            Q.    Right.     And we can look at that.

       9            (Exhibit 9 was marked for identification.)

      10    BY MS. SUTTON:

      11            Q.    Exhibit 9 is a financial disclosure from

      12    their website, and then it says that -- in the second

      13    sentence, it says they receive unrestricted grants

      14    from pharmaceutical and biotechnology firms as well

      15    as companies that provide related services to the

      16    research base industry, contract research consulting

      17    and technology firms, and that those grants represent

      18    25 percent of the operating expenses.

      19                  And then it goes on to say that they --

      20    their additional funding comes from government and

      21    foundation support.        Is that consistent with your

      22    understanding of how CSDD is funded?

      23            A.    Right.     And the cost studies are not

      24    funded by any directed money from any pharmaceutical

      25    firm.

     Golkow Litigation Services                                            Page 130
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 131Confidentiality
                                                           of 184. PageID #: 226033
                                                                               Review

       1            Q.    Okay.    But pharmaceutical money is used

       2    for the cost studies?

       3            A.    Not necessarily.        I mean, it's -- it's

       4    work we do, but it's not like a dedicated amount of

       5    money is focused on these projects.

       6            Q.    Okay.    I probably misspoke, then.           My

       7    understanding is that the drug development cost

       8    studies are funded by the Tufts Center for the Study

       9    of Drug Development.

      10            A.    Yes, in the sense that they pay Joe

      11    DiMasi's salary.

      12            Q.    Right.     And the Tufts Center for Study of

      13    Drug Development does receive money from the

      14    pharmaceutical industry?

      15            A.    Right.     And I have never received any

      16    money for any of the cost studies.

      17            Q.    Okay.    So you -- you don't receive any

      18    money for the cost studies from Tufts Center for

      19    Study of Drug Development, correct?

      20            A.    That's correct.

      21            Q.    Okay.    Do you receive any money for the

      22    work that you do on those studies, or is it just what

      23    you get paid at Duke?

      24            A.    It's what I get paid at Duke.

      25            Q.    Okay.    So I think you mentioned that

     Golkow Litigation Services                                              Page 131
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 132Confidentiality
                                                           of 184. PageID #: 226034
                                                                               Review

       1    the -- the current update you're doing to the Tufts

       2    Drug Development Cost Study was suggested by Pfizer

       3    and is being -- is being funded by Pfizer, correct?

       4            A.    Yes, but independently.

       5            Q.    Independently.       Yeah.    You're

       6    independently running the study?

       7            A.    Right.     Pfizer has not made any comments

       8    or . . .

       9            (Exhibit 10 was marked for identification.)

      10    BY MS. SUTTON:

      11            Q.    Okay.    Exhibit 10 is one of your cost

      12    studies that was published in 2016.             I think that's

      13    the one where you estimate that the cost of drug

      14    development -- the cost of developing a new drug was

      15    just under 2.6 billion.         I think that's published in

      16    this study?

      17            A.    Yes.

      18            Q.    Okay.    Did -- did any -- who -- who

      19    suggested that you do this study?

      20            A.    Tufts director Ken Kaitin felt that we

      21    should update it, because it had been ten years since

      22    the last study, and that we would reach out and get

      23    participation from, you know, firms, and do a

      24    representative sample of projects at various stages

      25    of development.

     Golkow Litigation Services                                            Page 132
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 133Confidentiality
                                                           of 184. PageID #: 226035
                                                                               Review

       1                  So it was essentially the Tufts group

       2    decided we -- we should do an update of our prior

       3    studies using similar methodology.

       4            Q.    So the prior study that you referenced,

       5    the one that you had done ten years earlier, was that

       6    study suggested to you by any pharmaceutical company?

       7            A.    I don't believe so.

       8            Q.    Do you know who suggested that you do that

       9    earlier study?

      10            A.    Well, there was a line of research going

      11    way back in time on the cost of new drug development.

      12    And the first study was actually -- in this series

      13    was done at Rochester by Ronald Hansen.              And there

      14    was, you know, I think Lou Lasagna, who was a

      15    prominent epidemiologist who headed the center before

      16    it was -- the CSDD, in modified form, was at

      17    Rochester.

      18                  And Hansen was commissioned to do -- by

      19    the CSDD to do a more rigorous study than what --

      20    there were numbers floating around in the literature

      21    that were based very loosely on, you know, limited

      22    data and other studies.         And I think Lasagna felt

      23    that it would be a major -- some major contribution

      24    to really do a more rigorous study, and Hansen was

      25    the professor at Rochester who was asked to perform

     Golkow Litigation Services                                            Page 133
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 134Confidentiality
                                                           of 184. PageID #: 226036
                                                                               Review

       1    this.

       2                  And then Hansen came out with a study that

       3    was much more rigorous and comprehensive than any

       4    research to date.        And then the center got lots of

       5    citations for this.        I mean, we are -- our -- Journal

       6    of Health Economics is the most respected health

       7    economics journal peer-reviewed, and I think we have

       8    more citations than any other single article.

       9            Q.    On this topic?

      10            A.    Yes.

      11            Q.    Okay.    So that -- the earlier study that

      12    you were referencing by Hansen, were you a coauthor

      13    on that as well?

      14            A.    No, that was just Hansen by himself.

      15            Q.    Okay.    But it was -- it was a study that

      16    was funded by CSDD?        Or . . .

      17            A.    I don't know that for sure.           It could have

      18    been Hansen just -- he was a professor at Rochester.

      19    He may have just used his own money to do it.

      20            Q.    And then is there a cost study that you

      21    were an author on that's dated before Exhibit 10?

      22            A.    Yes.

      23            Q.    Okay.    And was that a study that was

      24    commissioned by the CS -- CDSS?

      25            A.    Yes, it was performed by CSDD, and I think

     Golkow Litigation Services                                            Page 134
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 135Confidentiality
                                                           of 184. PageID #: 226037
                                                                               Review

       1    DiMasi did it as part of his regular faculty position

       2    at Tufts.

       3            Q.    Okay.    And you -- and you were coauthor,

       4    along with Professor Hansen?

       5            A.    Yes.

       6            Q.    Okay.    And was that -- did that study come

       7    out in published form when you were on the board of

       8    CSDD?

       9            A.    Let me see when it came out.

      10                  It came out in 2007, but I think by that

      11    time the board was no longer.

      12            Q.    Okay.    All right.      So in this study in

      13    Exhibit 10, there's a starred paragraph under the

      14    "Introduction" paragraph.          Do you see that?        Where

      15    you thank the survey firms for providing data?

      16                  I'm sorry.      On the first page.

      17            A.    Yes.

      18            Q.    So my understanding of this study is that

      19    pharmaceutical companies provided data to you.

      20            A.    Yes, although we selected the -- the

      21    products, so we would get a representative sample.

      22    And we also gave them a format, and we checked it,

      23    and, you know, so there -- and we check -- in this

      24    article, there are various checks from -- of the

      25    internal data that we received with external data.

     Golkow Litigation Services                                            Page 135
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 136Confidentiality
                                                           of 184. PageID #: 226038
                                                                               Review

       1            Q.    And you surveyed I think ten different

       2    pharmaceutical companies?

       3            A.    Yes.

       4            Q.    And you -- they provided data on 106

       5    different drug molecules?

       6            A.    Yes.

       7            Q.    Okay.    And the paper -- I think you said

       8    that that information is proprietary, so did you not

       9    disclose the -- the drug molecules that you studied?

      10            A.    That's correct.

      11            Q.    Okay.    Did you disclose them by

      12    therapeutic class?

      13            A.    Yes.

      14            Q.    Okay.    And you didn't disclose the -- the

      15    pharmaceutical companies that provided the data?

      16            A.    That's right, although we characterized,

      17    you know, what percentage of the industry sales and

      18    R&D and -- so we -- we characterized the sample and

      19    tested that it would be representative, but we didn't

      20    disclose the companies that provided the information.

      21            Q.    Were any of the drug molecules that you

      22    studied opioid medications?

      23            A.    I don't know the answer.          I would rather

      24    doubt it, but -- because it's not -- it was not a

      25    major class that we investigated, but -- only Joe

     Golkow Litigation Services                                            Page 136
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 137Confidentiality
                                                           of 184. PageID #: 226039
                                                                               Review

       1    DiMasi knows the exact molecules.

       2            Q.    Okay.    And there's never been any

       3    publication that describes the molecules that you

       4    studied or the pharmaceutical companies from which

       5    you got the data, correct?

       6            A.    Only by therapeutic class.

       7            Q.    Okay.    All right.      Okay.    You can set that

       8    aside.

       9                  I tried to shorten up over lunchtime,

      10    because we talked about some of the topics already.

      11    But I think you acknowledged before lunch that --

      12    that you have published articles in the academic

      13    literature that have received funding from

      14    pharmaceutical companies, correct?

      15            A.    Yes.

      16            Q.    Okay.    And the Duke program in

      17    pharmaceutical and health economics that you're the

      18    director of, you have received support from PhRMA,

      19    the organization called PhRMA, correct?

      20            A.    I think so, but it -- I think it was not a

      21    primary source of revenue.

      22            Q.    Right.     But they have funded some of

      23    the -- the studies that have come out of the Duke

      24    program in pharmaceutical and health economics,

      25    correct?

     Golkow Litigation Services                                            Page 137
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 138Confidentiality
                                                           of 184. PageID #: 226040
                                                                               Review

       1            A.    Yes.

       2            Q.    Okay.    Do they ever --

       3            A.    These have always -- let me add --

       4            Q.    Yes.

       5            A.    -- been peer-reviewed.

       6            Q.    Oh, true.      Sorry.    Thank you for that

       7    clarification.

       8                  So when PhRMA has supported your work

       9    through grants, do they -- have they ever done more

      10    than just provide money?          Do they provide you other

      11    types of support beyond financial support?

      12            A.    I don't --

      13                  MR. MORRIS:      Objection to form.

      14                  THE WITNESS:      I'm not sure what you're

      15          referring to.

      16    BY MS. SUTTON:

      17            Q.    I can rephrase it.

      18                  Has PhRMA provided you data for use in the

      19    studies that are -- that come out of the Duke program

      20    in pharmaceutical and health economics?

      21            A.    They've provided data or allowed us --

      22    part of the funds were used to purchase data from

      23    IQVA and IMS and -- and all, but they've never

      24    provided internal data.

      25            Q.    Okay.    Do they ever provide you with any

     Golkow Litigation Services                                            Page 138
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 139Confidentiality
                                                           of 184. PageID #: 226041
                                                                               Review

       1    staff to assist you in your studies?

       2            A.    No.

       3            Q.    Okay.    Do they ever -- does PhRMA ever

       4    review drafts of your papers before they're

       5    published?

       6            A.    At the very end, we sometimes -- not

       7    always, but sometimes we'll say "This is ready for

       8    publication.      Do you want to read it over and see if

       9    we have made any errors that you could see?"

      10                  And sometimes they make suggestions and we

      11    take them under advisement.           Most of the time we

      12    don't make any changes.

      13            Q.    Okay.    Do they ever assist with your

      14    collection of data?

      15            A.    Only from publicly available sources, like

      16    IMS.

      17            Q.    Okay.    All right.      So moving into -- I'll

      18    talk a bit about your past testimony as an expert.

      19                  How did you decide you wanted to become an

      20    expert in litigation?         Expert witness?

      21            A.    Well, I was a professor working on the

      22    economics of pharmaceuticals, and companies asked me

      23    if I could provide testimony on particular issues,

      24    and I said, "Well, if it relates to my research, I --

      25    and I have the time to do it, I -- I will consider

     Golkow Litigation Services                                            Page 139
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 140Confidentiality
                                                           of 184. PageID #: 226042
                                                                               Review

       1    it."

       2            Q.    And when did you first testify as an

       3    expert in litigation?

       4            A.    I think that -- those were the 1980's DES

       5    cases involving long-tail liability of daughters that

       6    had a problem with mothers who took DES.

       7            Q.    And who hired you there?

       8            A.    Bristol-Myers Squibb.

       9            Q.    Okay.    And do you remember the law firm?

      10            A.    It was a couple law firms, but one was out

      11    of Boston, and one was out of California.               A smaller

      12    law firm.

      13            Q.    Okay.    And you don't recall the names?

      14            A.    You know, maybe by the end of the

      15    testimony I might recall it.

      16            Q.    Okay.    Do you have any estimate of how

      17    many hours you would have put into that expert work

      18    in the 1980s?

      19            A.    Well, I was only charging a few hundred

      20    dollars an hour in those days.            And these cases

      21    spanned three phases, five years, multiple

      22    defendants, multiple plaintiffs, the -- you know,

      23    certainly at least a few hundred hours.              Maybe more.

      24            Q.    Okay.    And then did you -- did you just

      25    give deposition testimony, or did you do trial

     Golkow Litigation Services                                            Page 140
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 141Confidentiality
                                                           of 184. PageID #: 226043
                                                                               Review

       1    testimony?

       2            A.    I gave deposition and trial.

       3            Q.    Okay.    Where was the trial, in California?

       4            A.    San Francisco, yes.

       5            Q.    Okay.    Any other testimony in the '80s

       6    that you can recall?

       7            A.    I testified for Genentech in a case

       8    involving a human growth hormone and a company -- it

       9    was a patent litigation, I think.

      10            Q.    Okay.    And you were hired by Genentech?

      11            A.    Yes.

      12            Q.    Okay.    And was the defendant a

      13    pharmaceutical company as well?

      14            A.    Yes.

      15            Q.    Okay.    Do you have any idea how much time

      16    you would have spent on that case?

      17            A.    Maybe 100 hours.

      18            Q.    Okay.    And do you remember which law firm

      19    hired you?

      20            A.    Yes.    Fish & Richardson.

      21            Q.    Okay.    Yeah, I know them.        I used to be a

      22    patent lawyer, back in the day.

      23                  So anything else from the '80s that you

      24    remember with respect to expert testimony?

      25            A.    No.

     Golkow Litigation Services                                            Page 141
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 142Confidentiality
                                                           of 184. PageID #: 226044
                                                                               Review

       1            Q.    Okay.    Now, moving into the '90s, I -- I

       2    think you've testified -- well, did the human growth

       3    hormone ITC litigation go into the '90s?

       4            A.    Yes.

       5            Q.    Okay.    So we've talked about that.           Do you

       6    remember any other cases in the 1990s?

       7            A.    Not off the top of my head.

       8            Q.    Okay.    So how many times in your career do

       9    you think you've been hired as an expert witness?

      10            A.    You know, over -- let's see.           The '80s are

      11    what, 30 years ago?

      12            Q.    Mm-hmm.

      13            A.    And so it's been more than 35 years.              And

      14    I've testified between -- early days, maybe two times

      15    a year, and then it -- when I became emeritus, it's

      16    more.    Maybe four or five times a year.

      17                  And so -- you know, I don't know.             Do a

      18    rough thing:      Maybe I've testified 50 times over

      19    35 years, something like that.            At least 50 times,

      20    maybe.

      21            Q.    Yeah.    I've been trying to add it up, and

      22    it looks to me like you've been an expert witness at

      23    least 70 times.       Does that sound like that could be

      24    possible?

      25            A.    Yes.

     Golkow Litigation Services                                            Page 142
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 143Confidentiality
                                                           of 184. PageID #: 226045
                                                                               Review

       1            Q.    Okay.    And that's something you probably

       2    could go back and look up if you had to.               You could

       3    figure it out, right?         Maybe?

       4            A.    I could look at the records since maybe

       5    2000.    I don't think I saved anything from the '90s.

       6            Q.    Okay.    So is it fair to say that your

       7    expert testimony is generally always on behalf of a

       8    pharmaceutical company?

       9                  MR. MORRIS:      Objection to form.

      10                  MS. SUTTON:      I can strike that.        I'll do a

      11          better question.

      12    BY MS. SUTTON

      13            Q.    Is it fair to say that your expert

      14    testimony is generally on behalf of pharmaceutical

      15    companies?

      16            A.    Generally, but not exclusively.

      17            Q.    Who else have you testified besides

      18    pharmaceutical companies?

      19            A.    Well, I testified for plaintiffs in a

      20    limited funds case in Cincinnati, where, you know,

      21    the biotech firm that invented fen-phen was a

      22    relatively small startup, and they licensed this to a

      23    bigger pharm, and they started -- the fen-phen

      24    litigation started to be so costly that they were

      25    going bankrupt.

     Golkow Litigation Services                                            Page 143
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 144Confidentiality
                                                           of 184. PageID #: 226046
                                                                               Review

       1                  So they petitioned the court to, you know,

       2    instead of -- this company could get out of the

       3    litigation by giving a lot of their assets to the

       4    plaintiffs or rights to the plaintiffs.              And I was

       5    assigned to try to evaluate, you know, what their

       6    drugs that were in different stages of development

       7    were worth.

       8            Q.    Right.     Other than that case, have you

       9    acted as an expert witness for companies other than

      10    pharmaceutical companies?

      11            A.    For chemical companies once.

      12            Q.    Once.    Okay.    Is it fair to say that the

      13    vast percentage of your expert work has been on

      14    behalf of pharmaceutical companies?

      15            A.    But generally companies versus other

      16    companies.

      17            Q.    Against other pharmaceutical companies?

      18            A.    Yes.

      19            Q.    Right.     So would it be fair to say that

      20    more than 95 percent of the cases where you've acted

      21    as an expert, you've -- you've been hired by a

      22    pharmaceutical company?

      23            A.    I don't know if 95 percent, but . . .

      24            Q.    Over 90?

      25            A.    Maybe.

     Golkow Litigation Services                                            Page 144
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 145Confidentiality
                                                           of 184. PageID #: 226047
                                                                               Review

       1            Q.    Okay.    Can you identify -- you mentioned a

       2    chemical company case, this fen-phen matter.                Are

       3    there any other cases that come to mind where you

       4    weren't an expert on behalf of a pharmaceutical

       5    company?

       6            A.    I was hired by the Department of Justice

       7    in a case, and -- it was an antitrust case.

       8            Q.    Was it involving the pharmaceutical

       9    industry?

      10            A.    No.

      11            Q.    Okay.    Something else.        Okay.

      12                  Anything else?

      13            A.    You know, I'm sure there are other cases.

      14    I'd have to go back and think about them.

      15            Q.    Okay.    We're going to look at some lists

      16    of cases, too, to the extent I was able to find lists

      17    of cases where you had testified.

      18                  So over the course of your professional

      19    career, how many hours do you think you've dedicated

      20    to your expert work?

      21            A.    Over 35 years?

      22            Q.    Yeah, I know -- big question.            But do you

      23    have a way to approximate it?

      24            A.    Not really.      Not -- it would be

      25    speculative, I think.

     Golkow Litigation Services                                            Page 145
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 146Confidentiality
                                                           of 184. PageID #: 226048
                                                                               Review

       1            Q.    Would it -- would it be in the thousands

       2    of hours?

       3            A.    It could be in the thousands, yes.

       4            Q.    Could it be in the tens of thousands?

       5            A.    I don't think so.

       6            Q.    Okay.    We talked earlier about, that you

       7    went emeritus status at Duke, I think in 2009, and

       8    now your salary is 5,000 a month from the -- the

       9    center that you run, correct?

      10            A.    Yes.

      11            Q.    Okay.    Prior to 2009, you were a professor

      12    teaching courses at Duke, correct?

      13            A.    Right.

      14            Q.    And what was your salary when you were

      15    acting professor, or a professor teaching classes,

      16    before you went emeritus?

      17            A.    About 125,000.

      18            Q.    Okay.    And I think you -- your report says

      19    that your hourly rate in this case is $800 per hour.

      20    And how long have you been charging $800 an hour?                 Do

      21    you recall?

      22            A.    I don't know.       Half-dozen years.

      23            Q.    Okay.    Sometimes experts have different

      24    rates that they charge for trial versus deposition

      25    testimony.      Do you have a -- different rate scales?

     Golkow Litigation Services                                            Page 146
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 147Confidentiality
                                                           of 184. PageID #: 226049
                                                                               Review

       1            A.    No.

       2            Q.    Okay.    Do you have any idea how much

       3    you've made over your career serving as an expert

       4    witness?

       5            A.    No.

       6            Q.    Okay.    Do you -- could you estimate that

       7    you've -- you've made millions of dollars?

       8            A.    I don't think so.

       9            Q.    Do you think you made over a million?

      10            A.    Yeah, over 35 years, I probably made a

      11    million.

      12            Q.    Okay.    Now, I want to show you . . .

      13            (Exhibit 11 was marked for identification.)

      14    BY MS. SUTTON:

      15            Q.    So this is a -- a copy of a CV that I --

      16                  MR. WILSON:      John, I can trade you with

      17          one that's clipped.

      18                  MR. MORRIS:      Yeah.    Because I got a

      19          Post-it Note, too.        I wrote the exhibit number

      20          on there.

      21    BY MS. SUTTON:

      22            Q.    This is a copy of a CV that I found, filed

      23    in the -- in the docket of the case matter.                And you

      24    can see at the top it says "Case 2:05-CV-05727."                 Do

      25    you see that?

     Golkow Litigation Services                                            Page 147
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 148Confidentiality
                                                           of 184. PageID #: 226050
                                                                               Review

       1            A.    Yes.

       2            Q.    And I'll just -- can just show you, that

       3    case number relates to Eisai Company versus Teva.                 Do

       4    you recall that case?

       5            A.    Yes.

       6            Q.    Here.    I can give that to you to confirm.

       7                  MR. WILSON:      That's not been marked.          Do

       8          you need to mark it?

       9                  MS. SUTTON:      I was just showing it to

      10          refresh his recollection that that's -- the case

      11          file on the CV relates to this matter.

      12                  THE WITNESS:      Oh.    So I'm not sure -- I've

      13          done a few cases for Eisai.           I don't know

      14          exactly which one this is.

      15    BY MS. SUTTON

      16            Q.    Right.     Well, the reason I was showing you

      17    is the -- the docket number on this case is the same

      18    docket number that appears on top of your CV.

      19            A.    Okay.

      20            Q.    Okay.    So it was just to refresh your

      21    recollection that this CV was submitted in the Eisai

      22    versus Teva case.

      23                  And so if you look -- the CV was submitted

      24    on February 2008.        And if you go to the very back

      25    page, Appendix 2.        Do you see that?

     Golkow Litigation Services                                            Page 148
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 149Confidentiality
                                                           of 184. PageID #: 226051
                                                                               Review

       1            A.    Yes.

       2            Q.    There is a listing of cases where you had

       3    testified since 2003.         So it begins in December of

       4    2003, and it goes through August 2007.              Do you see

       5    that?

       6            A.    Yes.

       7            Q.    Do you have any reason to believe that

       8    this isn't an accurate list of your testimony during

       9    this time period?

      10            A.    It looks accurate.

      11            Q.    Okay.    And I counted up that there are

      12    13 cases listed here where you acted as an expert

      13    witness from December 2003 to August 2007.               Does that

      14    look correct?

      15            A.    Yeah, although some of these cases are the

      16    same product, with multiple generics, and so the --

      17            Q.    Right.

      18            A.    -- the follow-on cases involved much less

      19    work than the original.

      20            Q.    Right.     But they're all separate cases,

      21    though, correct?

      22            A.    Yes.

      23            Q.    Okay.    And it appears when I'm looking at

      24    this list that a pharmaceutical company was involved

      25    in each of the cases, correct?

     Golkow Litigation Services                                            Page 149
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 150Confidentiality
                                                           of 184. PageID #: 226052
                                                                               Review

       1            A.    Yeah, although I'm not sure -- New River

       2    Pharma versus D -- you know, I think those were

       3    suppliers rather than manufacturers.

       4            Q.    Okay.    Do you -- rather than going through

       5    each one of these, did you -- can you tell me, were

       6    you generally on the side of the plaintiff or the

       7    defendant in these cases?          Or do we need to go one by

       8    one?

       9            A.    For the plaintiff.

      10            Q.    Okay.    And did these cases involve -- did

      11    all these cases on this list involve patent disputes?

      12            A.    New River I think was a contractual

      13    dispute.     Elan Pharm king, was definitely a

      14    contractual dispute.         State of Colorado versus Warner

      15    Chilcott was some kind of antitrust, I think.

      16            Q.    And who did you testify on behalf of in

      17    that case?

      18            A.    Warner Chilcott.

      19            Q.    Okay.    And then the last case, do you

      20    think that was an antitrust case as well?

      21            A.    Yes.

      22            Q.    Okay.    And there you were also testifying

      23    on behalf of Warner Chilcott, right?

      24            A.    Right.

      25            Q.    And they're in the pharmaceutical

     Golkow Litigation Services                                            Page 150
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 151Confidentiality
                                                           of 184. PageID #: 226053
                                                                               Review

       1    industry, correct?

       2            A.    Yes.

       3            Q.    Okay.    So do you recall, for any of these

       4    cases, which law firms may have hired you?

       5            A.    Well, we saw on this one, Bruce Wexler

       6    hired me -- you showed me something, but Bruce was

       7    with --

       8            Q.    Eisai?

       9            A.    The Eisai case.       He was with -- let's

      10    see -- Paul Hastings.         You know, I did cases with

      11    Paul Hastings.

      12            Q.    Mm-hmm.

      13            A.    I did some cases with Finnegan.            And you

      14    know, they're, as you're aware, patent specialists.

      15    And -- Fish & Richardson.

      16                  There was another one in D.C. that -- I

      17    did work with Williams & Connolly.

      18            Q.    Right.     I know you're aware that Williams

      19    & Connolly represents a defendant in this case?

      20            A.    No.

      21            Q.    They represent Cardinal Health, one of the

      22    distributors.

      23            A.    Okay.

      24            Q.    So in the patent cases, is there a way to

      25    generalize the opinion?         Because you said a lot of

     Golkow Litigation Services                                            Page 151
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 152Confidentiality
                                                           of 184. PageID #: 226054
                                                                               Review

       1    these cases were -- were follow-on.             Is there a way

       2    to generalize the type of opinion you would give in

       3    these patent cases?

       4            A.    Yeah, they were --

       5                  MR. MORRIS:      Objection to form.

       6                  THE WITNESS:      Either the general -- you

       7          know, one of the issues is nonobviousness, and

       8          one of the metrics to look at nonobviousness is

       9          commercial success.         And that's what I was

      10          generally hired to be, a net analyst of

      11          commercial success, and the links to the patent.

      12                  So that's many of these.          Sometimes there

      13          would also be a petition for a preliminary

      14          injunction, and then it would be irreparable

      15          harm.

      16    BY MS. SUTTON

      17            Q.    Okay.    Do you have any idea for this

      18    four-year -- basically this time period that's set up

      19    on December 2003 to August 2007, how much time you

      20    would have spent on this expert work?

      21            A.    Well, I was teaching, so, you know, I

      22    limited my time.

      23                  Most of these cases were settled.             I see

      24    only one that went to trial.           Some of them were

      25    arbitration, which took less work than some of the

     Golkow Litigation Services                                            Page 152
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 153Confidentiality
                                                           of 184. PageID #: 226055
                                                                               Review

       1    other cases.      I always had assistants from either

       2    Brattle, Analysis Group, or Cornerstone in virtually

       3    all these cases, or sometimes a -- a person that was,

       4    you know, a one-man band, so to speak, actually in

       5    Minneapolis.      He assisted me -- but I always had

       6    support to do number-crunching and different things,

       7    so . . .

       8            Q.    What was the guy's name -- did you mention

       9    someone in Minneapolis?

      10            A.    Oh, Frank Lehrman.

      11            Q.    Oh, okay.

      12            A.    He's in Minneapolis now because his wife

      13    works for a Minneapolis firm.           He was one for Brattle

      14    I think.

      15            Q.    So looking at, for example, Pfizer versus

      16    Teva cases, where you gave trial testimony:                Do you

      17    have any idea how much time you would have devoted to

      18    that matter?

      19            A.    Not off the top of my head.           You know,

      20    over this whole period, I would say my time -- my

      21    billings were much more limited in hours as well as

      22    what I was charging.

      23            Q.    Is that in part because you were a

      24    professor teaching courses at Duke --

      25            A.    Yes.

     Golkow Litigation Services                                            Page 153
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 154Confidentiality
                                                           of 184. PageID #: 226056
                                                                               Review

       1            Q.    -- during this time period?

       2            A.    Yes.

       3            Q.    But beginning in 2009, when you went

       4    emeritus status, you had more time to devote to your

       5    expert work?

       6            A.    Yes.

       7            Q.    Okay.    So do you remember if any of

       8    these -- I'm sorry.        Going back to that -- if in any

       9    of the cases listed on this exhibit whether or not

      10    your opinion or any part of your opinion was excluded

      11    by the courts?

      12            A.    I don't think my opinion's ever been

      13    excluded.

      14            Q.    Okay.    So you don't believe that your

      15    expert opinion has ever been excluded in any case

      16    where you've served as an expert?

      17            A.    That's correct.

      18            Q.    Okay.    So this list just started in

      19    December of 2003, and we talked a little bit about

      20    the '90s.     Are there any other cases that you

      21    could -- that prior to 2003 that aren't listed here,

      22    that we -- that we haven't discussed?

      23            A.    So, you know, I think there would be

      24    fairly -- relatively few in the '90s, because after

      25    this major case, the DES cases took a lot of time.

     Golkow Litigation Services                                            Page 154
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 155Confidentiality
                                                           of 184. PageID #: 226057
                                                                               Review

       1    At that time I was director of graduate studies, so I

       2    had a major administrative job.            The case went on for

       3    five years and had three different phases, so I

       4    wanted a break from testifying.

       5                  The case got brought up again in New York,

       6    and in both cases, my market share analysis was

       7    accepted by the judge as the basis for allocating

       8    funds to plaintiffs And so that New York case was

       9    probably in the '90s.

      10                  Off the top of my head, I can't think of

      11    others, but there may have been a few.

      12            Q.    Okay.    All right.      Let me show you

      13    another.

      14            (Exhibit 12 was marked for identification.)

      15    BY MS. SUTTON:

      16            Q.    I'm going to show you a document that's

      17    been marked as Exhibit 12.          This is a CV from 2010

      18    that we obtained off Lexis.

      19                  And does this appear to be a CV of yours?

      20            A.    Yes.

      21            Q.    Okay.    Then if you go to page 12 of 13,

      22    which is at the back, Appendix 2, you'll see that

      23    there's a list of testimony, beginning December 2003,

      24    running through January of 2009.            Do you see that?

      25            A.    Yes.

     Golkow Litigation Services                                            Page 155
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 156Confidentiality
                                                           of 184. PageID #: 226058
                                                                               Review

       1            Q.    Okay.    So I think -- we don't have to go

       2    through all these, because some of these overlap with

       3    the last one that we looked at.            The last testimony

       4    that was disclosed on Exhibit 11 was the Meijer

       5    versus Warner Chilcott.         Do you see that, on the --

       6    on page 13?

       7            A.    Yes.

       8            Q.    Okay.    So just -- just focusing, then, on

       9    everything below the Warner Chilcott case, starting

      10    with Roche Palo Alto.         So this discloses deposition,

      11    trial testimony in March and December of 2008.                And

      12    then the list runs through January of 2009.                So it's

      13    basically a listing of less than a year time period.

      14    Correct?

      15            A.    In terms of actual deposition, yes.

      16            Q.    Right.     So if we look here, there are --

      17    let's see; one, two, three, four, five, six -- seven

      18    cases that you did between March 2008 and

      19    January 2009, correct?

      20            A.    Yes.

      21            Q.    And again, it looks like all the cases

      22    here involve pharmaceutical companies.

      23            A.    Yes.

      24            Q.    Okay.    And is it fair to say that in each

      25    of these cases, you've been retained as an expert by

     Golkow Litigation Services                                            Page 156
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 157Confidentiality
                                                           of 184. PageID #: 226059
                                                                               Review

       1    a pharmaceutical company?

       2            A.    Yes.

       3            Q.    Okay.    Do you recall any of the law firms

       4    that had hired you?

       5            A.    I think some of these would be the same

       6    ones I had mentioned earlier.

       7            Q.    Okay.    Do you recall in the Wyeth versus

       8    Lupin Limited case, you were hired by Arnold &

       9    Porter?

      10            A.    I don't recall that, but it -- it could be

      11    true.

      12            Q.    Okay.    Were these -- were the cases that

      13    are listed here, starting with the Roche Palo Alto

      14    down to the Wyeth v. Apotex, were they mostly patent

      15    cases?

      16            A.    Yes.

      17            Q.    And again, the opinion -- opinions that

      18    you were giving, were they similar to the opinions

      19    you gave in other patent cases, or where they -- is

      20    your opinion different in these cases, many of which

      21    are involving generics?

      22            A.    Are they generally similar?           I mean, I try

      23    to develop metrics of commercial success, and then I

      24    tend to look at whether there's a link to the patent.

      25            Q.    Okay.    So can you just -- without having

     Golkow Litigation Services                                            Page 157
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 158Confidentiality
                                                           of 184. PageID #: 226060
                                                                               Review

       1    an extended discussion, what were some of the metrics

       2    for commercial success that you would spell out in

       3    your expert opinion?

       4                  MR. MORRIS:      Objection to form.

       5                  THE WITNESS:      You know, generally we would

       6          look at -- and I would look at new and refilled

       7          prescriptions to total prescriptions.              I would

       8          look at units, maybe extended units in some

       9          cases.     I might look at patient days.           I would

      10          look at market share in units and -- and

      11          dollars.     And where the data permitted, I would

      12          look at return on R&D investment.

      13    BY MS. SUTTON

      14            Q.    Did you ever conclude in any of these

      15    cases that the branded pharmaceutical product was not

      16    a commercial success?

      17            A.    Not in these cases.         But I've had -- you

      18    know, I've concluded that in other cases.               And the --

      19    you know, a lot of times I've been called and said,

      20    "Could you serve as an expert," and they explained

      21    it -- the company, the brand, sometimes the patent as

      22    well, and I said "I don't think I can give you an

      23    affirmative opinion."         And then I wasn't hired.

      24            Q.    Okay.    And so in most of these cases that

      25    we went through on here, you've been hired by the

     Golkow Litigation Services                                            Page 158
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 159Confidentiality
                                                           of 184. PageID #: 226061
                                                                               Review

       1    branded pharmaceutical company, correct?

       2            A.     Yes.    And most of the products would be,

       3    you know, very large commercial products.

       4            Q.     Right.    So do you have any estimate from

       5    this time period, beginning in March 2008 through

       6    January 2009, how much time you would have spent

       7    serving as an expert witness in these seven cases?

       8            A.     Maybe 50 hours a case.         Some would be

       9    more, some less.

      10            Q.     Okay.    And during this time period, do you

      11    know what your hourly rate was?

      12            A.     Maybe 500 an hour.

      13            Q.     Okay.    And you -- your rate of 800, you

      14    said it's been around for a half-dozen years?

      15            A.     That would be my estimate.

      16            Q.     Your estimate.      Okay.

      17                   So -- just want to ask you about a few

      18    other cases and see if you recall serving as an

      19    expert.      We already talked about the Eisai versus

      20    Teva case, and you served as an expert in that case,

      21    correct?

      22            A.     Yes.

      23            Q.     And you were an expert for Eisai?

      24            A.     Yes.

      25            Q.     Were you also an expert in -- in a case in

     Golkow Litigation Services                                            Page 159
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 160Confidentiality
                                                           of 184. PageID #: 226062
                                                                               Review

       1    2006, Wyeth versus Impax Laboratories?

       2            A.    If it's on there, I -- I would guess -- if

       3    it's on some of my list of expert testimony, then --

       4    I don't recall the case, but . . .

       5            Q.    Have you served as an expert for Wyeth?

       6            A.    Yes.

       7            Q.    Okay.    Have you -- did you serve as an

       8    expert in a case called Harden Manufacturing versus

       9    Pfizer, in 2008?       And it was venued in Massachusetts.

      10            A.    I don't remember the name "Harden" at all.

      11            Q.    You have served as an expert for Pfizer,

      12    though, correct?

      13            A.    Yes.

      14            Q.    And have you worked with -- in your

      15    capacity as representing Pfizer as an expert, have

      16    you been hired by Mark Cheffo at Skadden Arps?

      17            A.    I've done work for Skadden Arps, but I

      18    don't recall that case, or testifying.

      19            Q.    Okay.    And so you don't recall

      20    testifying -- providing an expert report in Harden

      21    Manufacturing versus Pfizer, then?

      22            A.    That's correct.

      23            Q.    Okay.    Do you recall providing a

      24    declaration in 2009 in a case, Hoffmann-La Roche

      25    versus Apotex?

     Golkow Litigation Services                                            Page 160
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 161Confidentiality
                                                           of 184. PageID #: 226063
                                                                               Review

       1            A.    I recall doing some cases for

       2    Hoffmann-La Roche, but I don't recall the details.

       3            Q.    But you do recall being an expert for

       4    Hoffmann-La Roche?

       5            A.    Yes.

       6            Q.    Okay.    Do you recall a case in Indiana,

       7    from 2009, where you provided a declaration

       8    entitled -- the case was captioned Eli Lilly versus

       9    Teva?

      10            A.    I recall doing a case for Lilly

      11    involving -- I think it was a -- one of their

      12    commercially successful drugs.

      13            Q.    So you do recall being a -- serving as an

      14    expert for Eli Lilly?

      15            A.    Yes.

      16            Q.    Okay.    Do you recall serving an expert

      17    report in a case between Novartis versus Teva in New

      18    Jersey in 2009?

      19            A.    No.

      20            Q.    Do you recall ever serving as an expert

      21    for Novartis?

      22            A.    Yes.

      23            Q.    Okay.    And you do recall being in

      24    litigation where Teva was on the other side, I

      25    believe, correct?

     Golkow Litigation Services                                            Page 161
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 162Confidentiality
                                                           of 184. PageID #: 226064
                                                                               Review

       1            A.    Yes.

       2            Q.    Okay.    Do you recall submitting an expert

       3    declaration in the case Sanofi-Aventis versus Sandoz,

       4    in 2009, in New Jersey?

       5            A.    No.

       6            Q.    Okay.    Have you served as an expert for

       7    Sanofi-Aventis?

       8            A.    Yes.

       9            Q.    Okay.    Do you recall serving an expert

      10    report in a case entitled Bayer Schering Pharma

      11    versus Teva Pharmaceuticals, in 2009, in the District

      12    of Delaware?

      13            A.    No.

      14            Q.    Have you served as an expert or been

      15    retained by -- to be an expert by Bayer?

      16            A.    Yes.

      17            Q.    Okay.    And have you been hired by

      18    Williams & Connolly to serve as an expert?

      19            A.    Yes.

      20            Q.    Okay.    And you don't recall Williams &

      21    Connolly being involved in the Bayer Schering versus

      22    Teva case?

      23            A.    Did it go to trial, or . . .

      24            Q.    Expert report --

      25            A.    No.

     Golkow Litigation Services                                            Page 162
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 163Confidentiality
                                                           of 184. PageID #: 226065
                                                                               Review

       1            Q.    -- is all I'm aware of.          Okay.

       2                  Sorry, it's a memory test.

       3                  MS. SUTTON:      Okay.    If you can mark this.

       4            (Exhibit 13 was marked for identification.)

       5    BY MS. SUTTON

       6            Q.    Exhibit 13 is a reply declaration Henry

       7    Grabowski, Ph.D., submitted in the Janssen Biotech

       8    and NYU versus Celltrion Healthcare matter, in 2015.

       9    Do you recognize this document?

      10            A.    Yes.

      11            Q.    And do you know which side you were hired

      12    by?

      13            A.    Yes.    Janssen.

      14            Q.    Okay.    If you turn to Exhibit B, which is

      15    very near the end.

      16                  MR. MORRIS:      While he's going there, this

      17          one is marked "Highly confidential, filed under

      18          seal," but there are redactions.             Is this the

      19          non-under-seal version?

      20                  MS. SUTTON:      Yes.

      21                  MR. MORRIS:      I just need to know whether

      22          or not I need to do something about this.

      23                  MS. SUTTON:      No.    It was --

      24                  MR. MORRIS:      Okay.

      25                  MS. SUTTON:      It's publicly available.

     Golkow Litigation Services                                            Page 163
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 164Confidentiality
                                                           of 184. PageID #: 226066
                                                                               Review

       1                  MR. MORRIS:      Okay.    Thank you.

       2                  MS. SUTTON:      You're welcome.       I was not

       3          involved in this case.          I know that.

       4                  MR. MORRIS:      Okay.

       5                  MS. SUTTON:      No access to anything under

       6          seal.

       7    BY MS. SUTTON:

       8            Q.    Do you see Appendix B?

       9            A.    Yes.

      10            Q.    Okay.    So that -- this appears to provide

      11    a list of cases where you've acted as an expert for

      12    four years prior to the date of the expert report.

      13    And if you see the expert report on page 16 is dated

      14    May 20th, 2015?

      15            A.    Yes.

      16            Q.    So -- okay.      So this is -- this would

      17    appear to be, then, a list of cases where you had

      18    served as an expert between the time period of

      19    May 20th, 2011, to May 20th, 2015.             Does that seem

      20    correct?

      21            A.    Yes.

      22            Q.    Okay.    So at this time now you're a

      23    professor emeritus at -- at Duke, correct?

      24            A.    Yes.

      25            Q.    It appears -- I counted these.            It appears

     Golkow Litigation Services                                            Page 164
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 165Confidentiality
                                                           of 184. PageID #: 226067
                                                                               Review

       1    that there are 20 cases listed here where you -- on

       2    these two pages -- where you acted as an expert.

       3            A.    Yes, with the same caveat, that many of

       4    them are really the same report, just updated a

       5    little to a new generic challenger.

       6            Q.    And it looks like a number of these cases

       7    involved not only deposition, but at-trial testimony?

       8                  I think there are six -- six of the

       9    20 cases, you gave not only a deposition but at-trial

      10    testimony.

      11            A.    Yes.

      12            Q.    Okay.    Generally, when you would testify

      13    at these trials, how much time would go into the

      14    preparation, being at trial and testifying at trial?

      15    Is there a way to generalize?

      16            A.    It varies.      Some cases it was like -- you

      17    go to Delaware, most of them are in Delaware, some in

      18    New York, and two days before the trial, and you go

      19    on -- I'm often the last witness, because the

      20    commercial success comes at the end.

      21                  And other cases you might be there a

      22    little longer.       You generally have, you know, a

      23    web-based trial prep before you went to Delaware.

      24    So, you know, it could be three or four full days,

      25    30 hours of --

     Golkow Litigation Services                                            Page 165
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 166Confidentiality
                                                           of 184. PageID #: 226068
                                                                               Review

       1            Q.    Right.     And then you also would have

       2    additional time getting ready for your deposition and

       3    sitting for your deposition, correct?

       4            A.    Yes.

       5            Q.    And then in most of these cases, there

       6    would also have been an expert report that would have

       7    been provided?

       8            A.    Yes.

       9            Q.    And there would be time spent on putting

      10    the expert report together as well, correct?

      11            A.    Yes.

      12            Q.    And -- and during this time period, would

      13    your hourly rate be in the 750-to-800-dollar range?

      14            A.    I think so.

      15            Q.    Okay.    And most of these cases -- or --

      16    strike that.

      17                  Are all of these cases that are listed in

      18    Appendix B patent cases?

      19            A.    No.

      20            Q.    Okay.    Which ones are not?

      21            A.    So the arbitration hearing, which has

      22    three dates --

      23            Q.    Mm-hmm.

      24            A.    -- is a contractual dispute.           I think the

      25    rest would be patent disputes.

     Golkow Litigation Services                                            Page 166
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 167Confidentiality
                                                           of 184. PageID #: 226069
                                                                               Review

       1                   Let me clarify.      Like in regard --

       2    Gabapentin, it's patent litigation, but it's entry at

       3    risk rather than commercial success.

       4            Q.     So in that type of case, what generally

       5    would your expert opinion be?

       6            A.     This was a jury trial.         Teva I think

       7    entered at risk.        And on appeal, the patent was

       8    upheld.      And so I was sort of telling the jury what

       9    it normally would take to produce a new drug, and how

      10    much innovators spend in related -- related issues to

      11    the innovation process.

      12            Q.     So kind of similar to some of the academic

      13    work we looked at earlier, where you studied the --

      14    the cost of drug development?

      15            A.     Right.    But I also looked at the specifics

      16    of this the drug.

      17            Q.     Correct.    Okay.

      18                   So this is -- in these 20 matters, over

      19    this time period from September 2010 to January 2015,

      20    is there a way for you to estimate -- or can you

      21    estimate how many hours you would have spent on this

      22    expert work?

      23            A.     Not really.

      24            Q.     Other than the information you provided

      25    before about generally how much time you would spend

     Golkow Litigation Services                                            Page 167
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 168Confidentiality
                                                           of 184. PageID #: 226070
                                                                               Review

       1    at a trial where you testified?

       2            A.    Right.

       3            Q.    Okay.    All right.      So -- and do you have

       4    any recollection of the law firms that would have

       5    hired you in these cases listed in Appendix B?

       6            A.    I mean, I think it's some of the same law

       7    firms.    I did several cases with Williams & Connolly,

       8    but I couldn't say which ones here.             I did work with

       9    Paul Hastings.       I did work with Finnegan.

      10                  Those are the ones I could think of off

      11    the top of my head.

      12            Q.    Okay.    Thank you.

      13                  Do you recall -- we're done with that.

      14    You can put that aside.

      15                  Do you recall testifying as an expert in a

      16    matter called Smith v. Pfizer in 2010, where you had

      17    been hired by Skadden Arps?

      18            A.    No.

      19            Q.    Okay.    So you don't recall anything about

      20    that matter?

      21            A.    No.

      22            Q.    But you have served as an expert to Pfizer

      23    in the past, correct?

      24            A.    Yes.

      25            Q.    Okay.    Do you recall giving trial

     Golkow Litigation Services                                            Page 168
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 169Confidentiality
                                                           of 184. PageID #: 226071
                                                                               Review

       1    testimony in October 2010 in a case in the Eastern

       2    District of Texas between Pozen Inc. and Par

       3    Pharmaceutical?

       4            A.    Yes.

       5            Q.    Okay.    And what -- do you know what type

       6    of case that was?

       7            A.    That was a patent dispute.

       8            Q.    That's the rocket docket, Eastern District

       9    of Texas?

      10            A.    That's right.       That's my first time down

      11    there.

      12            Q.    Okay.    And were you -- which party did you

      13    testify on behalf of?

      14            A.    Pozen.

      15            Q.    Okay.    And what kind of company is Pozen?

      16            A.    Pozen was a small company, and I don't

      17    think they exist anymore, but they were headquartered

      18    in Chapel Hill, and they did combination drugs.

      19            Q.    Okay.    Do you -- do you work -- have you

      20    ever worked on behalf of Par Pharmaceutical -- well,

      21    you work on behalf of Par Pharmaceutical in this

      22    case, correct?

      23            A.    Yes.

      24            Q.    Okay.    But on that case, you were opposed

      25    to them?

     Golkow Litigation Services                                            Page 169
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 170Confidentiality
                                                           of 184. PageID #: 226072
                                                                               Review

       1            A.    Right.

       2            Q.    Okay.    Do you recall giving trial

       3    testimony in Eli Lilly versus Teva in Delaware in

       4    2010?

       5            A.    There was -- I'm not sure it's this case,

       6    but I remember doing a Lilly case in front of Judge

       7    Sleet, where he ruled from the bench in favor of

       8    Lilly.    So that could be this case.

       9            Q.    Okay.    Do you think that was the case

      10    where Williams & Connolly were your attorneys?

      11            A.    Yes.

      12            Q.    Okay.    All right.

      13                  Now, if we can go back in your stack to

      14    your expert report, which I think is Exhibit

      15    Number 2, it should be in there.            It's Depo

      16    Exhibit 2, and we're going to look at Appendix 2.

      17                  MR. MORRIS:      Counsel, when you get to a

      18          stopping point --

      19                  MS. SUTTON:      Yeah.

      20                  MR. MORRIS:      -- could we take a restroom

      21          break, when you get a chance?

      22                  MS. SUTTON:      Yeah.    If you want to take

      23          one now, we can, and then I could just -- I'm

      24          getting close to being done, and I -- we can go

      25          off the record.

     Golkow Litigation Services                                            Page 170
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 171Confidentiality
                                                           of 184. PageID #: 226073
                                                                               Review

       1                  VIDEOGRAPHER:       Going off the record.         The

       2          time is 2:26 p.m.

       3                  (A recess transpired from 2:26 p.m.

       4                  until 2:44 p.m.)

       5                  VIDEOGRAPHER:       Going back on the record.

       6          The time is 2:44 p.m.

       7    BY MS. SUTTON:

       8            Q.    Professor Grabowski, before we left for

       9    the break, I had asked you to pull out your

      10    Appendix 2 from your expert report --

      11            A.    Yes.

      12            Q.    -- served in this case.

      13                  Do you have that in front of you?

      14            A.    Yes.

      15            Q.    Okay.    And then -- I don't know if you

      16    still have Exhibit 13 before you, the last exhibit.

      17    I was just going to use it as a placeholder to show

      18    you where we left off.

      19                  If you can go to the second page of

      20    Appendix B.

      21            A.    Okay.

      22            Q.    The last case that's listed in Exhibit 13,

      23    of cases where you provided expert testimony is the

      24    Alcon Research versus Mylan Pharmaceuticals case, in

      25    January 2015.      Do you see that?

     Golkow Litigation Services                                            Page 171
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 172Confidentiality
                                                           of 184. PageID #: 226074
                                                                               Review

       1            A.    Yes.

       2            Q.    And then if you turn back to your expert

       3    report, Appendix 2, you can see that that -- that

       4    that case is listed on the second line in your

       5    current expert report.         So what I want to do is just

       6    focus on the cases below that case, below Alcon

       7    Research and Mylan Pharmaceuticals, because these are

       8    cases we haven't talked about yet.             Correct?

       9            A.    Yes.

      10            Q.    Okay.    So Appendix 2 covers the four years

      11    prior to when you served your expert report, which is

      12    on May 10th, 2019.        So this list goes back from

      13    May 2019 to May 2014.         But I just want to look at the

      14    cases starting with the Sanofi-Aventis versus Eli

      15    Lilly in June 2015 forward, because we haven't spoke

      16    about that.

      17                  And if you -- I counted them up; it looks

      18    like you have, since that case in June of 2015, you

      19    have served as an expert witness in 18 cases total.

      20    Does that sound right?

      21            A.    Yes.

      22            Q.    And again, is it fair to say that in all

      23    of these cases -- all of these cases involved

      24    pharmaceutical companies?

      25            A.    Yes.

     Golkow Litigation Services                                            Page 172
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 173Confidentiality
                                                           of 184. PageID #: 226075
                                                                               Review

       1            Q.    And in each of these cases, 18 cases, did

       2    you provide expert testimony on behalf of a

       3    pharmaceutical company?

       4            A.    Yes, either a brand or a generic.

       5            Q.    Okay.    Were all of these cases patent

       6    disputes?

       7            A.    No.

       8            Q.    Okay.    Which ones weren't?

       9            A.    State of Wisconsin versus Pfizer was not a

      10    patent dispute.       And Akorn versus Fresenius Kabi was

      11    not a patent dispute.

      12            Q.    So the -- the State of Wisconsin case, did

      13    you testify on behalf of Pfizer?

      14            A.    Yes.

      15            Q.    And what kind of case was that?

      16            A.    It was what's so-called AWP cases, where

      17    the states used a discount off of AWP as a mechanism

      18    of reimbursement, and they thought, you know, that

      19    that was not the appropriate -- the AWP was not an

      20    appropriate measure of wholesale prices.

      21            Q.    And what expert opinion did you give in

      22    that case?

      23            A.    Well, Pfizer did not propulgate an AWP,

      24    for one thing.       They -- they gave a WAC price, which

      25    was their wholesale acquisition cost.              It was a

     Golkow Litigation Services                                            Page 173
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 174Confidentiality
                                                           of 184. PageID #: 226076
                                                                               Review

       1    journal that figured out AWP mechanically, and -- and

       2    I gave other opinions, but essentially contested the

       3    State of Wisconsin's allegations and damage experts'

       4    estimates.

       5            Q.    Are you still working on that matter?

       6            A.    No, it was settled, and Pfizer was happy

       7    with the settlement.

       8            Q.    Okay.    Then you also, I believe, mentioned

       9    that the Akorn versus Fresenius was not -- or excuse

      10    me.   I had that wrong.        There was another case you

      11    listed that didn't involve a patent?

      12            A.    Yes.    It was the Akorn case.

      13            Q.    Okay.    Versus Fresenius?

      14            A.    Yes.

      15            Q.    And what type of case was that?

      16            A.    That was in front of a chancery judge in

      17    Delaware.     Basically Fresenius had made an offer to

      18    take over Akorn subject to certain constraints or

      19    contingencies.       And at some point Akorn's stock fell,

      20    and they wanted to get out of the merger or the

      21    acquisition, and it went to court, in chancery court.

      22            Q.    Okay.    And which party did you represent

      23    in this matter?

      24            A.    Akorn.

      25            Q.    Okay.    And Akorn is a pharmaceutical

     Golkow Litigation Services                                            Page 174
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 175Confidentiality
                                                           of 184. PageID #: 226077
                                                                               Review

       1    company?

       2            A.    Yeah.    I mean, these were two generics.

       3            Q.    Right.     Do you recall, from this list of

       4    18 cases, any of the law firms that retained you?

       5            A.    I think in the Santofi-Lilly case, I think

       6    that was Gibson Dunn.

       7            Q.    Mm-hmm?

       8            A.    Eisai versus Novartis, that could have

       9    been Paul Hastings.

      10            Q.    Right.

      11            A.    There were two Teva cases where I

      12    testified for them, in Houston and -- that was a

      13    Boston firm that was often on the other side, but --

      14    you know, their name slips my mind right now.

      15            Q.    It was a Boston firm that hired you?

      16            A.    No, that -- yes, that hired me, yes, in

      17    those cases.

      18            Q.    In the Pfizer versus Fresenius case, were

      19    you hired by Williams & Connolly?

      20            A.    Possibly.

      21            Q.    You just don't recall?

      22            A.    Right.

      23            Q.    Okay.    And then the Bayer versus Mylan

      24    case, which is on the second page, were you

      25    representing Bayer there?

     Golkow Litigation Services                                            Page 175
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 176Confidentiality
                                                           of 184. PageID #: 226078
                                                                               Review

       1            A.    Yes.

       2            Q.    And were you again hired -- or excuse

       3    me -- were you hired by Williams & Connolly?

       4            A.    I believe so.

       5            Q.    Okay.    And then on this list, second from

       6    the bottom, there's Alcon Research versus Watson

       7    Labs.    Do you see that?

       8            A.    Yes.

       9            Q.    And who were you hired by?

      10            A.    I think that was Williams & Connolly.

      11            Q.    And on behalf of whom?

      12            A.    Alcon.

      13            Q.    Okay.    All right.      So I'm just focusing on

      14    the cases where you testified in 2018.              So I think it

      15    would start with the Galderma case versus Amneal.

      16                  It looks like you gave a trial testimony

      17    in February of 2018.         Correct?

      18            A.    Yes.

      19            Q.    And then in the next case, the Sanofi

      20    versus Merck case, you gave a deposition in

      21    April 2018 and trial testimony in May of 2018,

      22    correct?

      23            A.    Yes.

      24            Q.    And then in the Akorn case, you gave a

      25    deposition in June of 2018, correct?

     Golkow Litigation Services                                            Page 176
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 177Confidentiality
                                                           of 184. PageID #: 226079
                                                                               Review

       1            A.    Yes.

       2            Q.    And then in the Alcon Research versus

       3    Watson Lab case, you gave a deposition in July of

       4    2018.    Do you see that?

       5            A.    Yes.

       6            Q.    And then in the Galderma case versus Sun

       7    Pharmaceuticals, you gave a deposition in October of

       8    2018 and trial testimony in December of 2018?

       9            A.    Right.

      10            Q.    So if you just add that up, it looks like

      11    you gave, in 2018, three depositions, and you

      12    testified at trial three times.            Does that make

      13    sense?

      14            A.    Yes.

      15            Q.    So -- and in some of these cases you may

      16    also have been -- had time spent preparing expert

      17    reports?

      18            A.    Right, although two of the cases are

      19    redos, so to speak.        Sanofi versus Merck Sharp &

      20    Dohme was a case similar to Sanofi in a case

      21    previously -- I don't know if it's on this list,

      22    but -- yeah, versus Eli Lilly.            They were both

      23    challenging Lantus, a very prominent diabetes insulin

      24    product.     So the report was just updating the

      25    metrics.

     Golkow Litigation Services                                            Page 177
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 178Confidentiality
                                                           of 184. PageID #: 226080
                                                                               Review

       1            Q.    Okay.    But you did have to give

       2    deposition -- three depositions and three trial

       3    testimonies, correct?

       4            A.    Right.     And Galderma was also a redo of an

       5    earlier case.

       6            Q.    Okay.    So -- and you also testified

       7    earlier that you had just started to work in this

       8    matter as well, correct?

       9            A.    Yes.

      10            Q.    And are there other cases that -- that you

      11    are currently working on, in addition to the ones

      12    that are listed here?

      13            A.    Yes, although I haven't been named in

      14    them, there's two other cases.            One of them's been

      15    fairly dormant.

      16            Q.    Okay.    So since 2018's pretty recent, can

      17    you estimate how much income you received in your

      18    capacity as an expert witness in 2018?

      19            A.    For these cases?        Maybe 400 hours.

      20            Q.    Okay.    And at your rate of $800?

      21            A.    Yes.

      22            Q.    Okay.    And that would have been

      23    information -- your income from your -- your

      24    testifying in 2018, you'd be able to figure that out

      25    from looking at your income taxes, wouldn't you?

     Golkow Litigation Services                                            Page 178
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 179Confidentiality
                                                           of 184. PageID #: 226081
                                                                               Review

       1            A.    Yes, although they haven't been filed yet.

       2    We took an extension.

       3            Q.    Ah.    Okay.    But you would have information

       4    where you could put that number together for us,

       5    couldn't you?

       6            A.    Yes.

       7            Q.    Okay.    Thank you.

       8                  If you think it's about 400 hours at $800,

       9    that would be 320,000, correct?

      10            A.    Yes.

      11                  MS. SUTTON:      Okay.    I don't think I have

      12          anything other -- or anything right now, unless

      13          your counsel has a redirect; I might have a few

      14          additional questions.         But I want to thank you

      15          so much for all your time and cooperation today.

      16          I know this can be tedious, but I appreciate it.

      17                  MR. MORRIS:      So I -- I don't have

      18          anything, but I know that counsel for Janssen

      19          wanted to say something before we went off the

      20          record.

      21                  MS. MARCHITELLO:        Yes.    On behalf of

      22          Janssen, I want to put on the record regarding

      23          Exhibit 13, and the testimony thereon, that

      24          Janssen reserves all rights to enforce all

      25          applicable confidentiality agreements and the

     Golkow Litigation Services                                            Page 179
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 180Confidentiality
                                                           of 184. PageID #: 226082
                                                                               Review

       1          protective orders that apply to that matter.

       2                  MS. SUTTON:      And I have confirmed that

       3          Exhibit 13 was obtained from Pacer Docket and is

       4          publicly available, so there's nothing in the --

       5          in Exhibit 13 that can't be obtained by anyone

       6          who has a Pacer password.

       7                  MR. MORRIS:      Okay.    Again, I don't have

       8          anything.

       9                  VIDEOGRAPHER:       This is the end of the

      10          video deposition.        Time going off the record is

      11          2:56 p.m.

      12                  (The deposition was concluded

      13                    at 2:56 p.m.)

      14                  (Signature reserved.)

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     Golkow Litigation Services                                            Page 180
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 181Confidentiality
                                                           of 184. PageID #: 226083
                                                                               Review

       1    STATE OF NORTH CAROLINA

            COUNTY OF MECKLENBURG
       2

       3                  I, Karen K. Kidwell, RMR, CRR, in and for
       4    the State of North Carolina, do hereby certify that
       5    there came before me on Thursday, June 6, 2019, the
       6    person hereinbefore named, who was by me duly sworn to
       7    testify to the truth and nothing but the truth of his
       8    knowledge concerning the matters in controversy in this
       9    cause; that the witness was thereupon examined under
      10    oath, the examination reduced to typewriting under my
      11    direction, and the deposition is a true record of the
      12    testimony given by the witness.
      13                  I further certify that I am neither attorney
      14    or counsel for, nor related to or employed by, any
      15    attorney or counsel employed by the parties hereto or
      16    financially interested in the action.
      17                  This the 6th day of June, 2019.
      18

      19

      20                               __
                                       ______________________________
                                        __________________

                                       Karen K. Kidwell, RMR, CRR
      21                               Notary Public #19971050142
      22

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     Golkow Litigation Services                                            Page 181
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 182Confidentiality
                                                           of 184. PageID #: 226084
                                                                               Review

       1                     ACKNOWLEDGMENT OF DEPONENT
       2

       3                 I, HENRY GRABOWSKI, Ph.D., do hereby
       4    certify that I have read the foregoing pages and that
       5    the same is a correct transcription of the answers
       6    given by me to the questions therein propounded,
       7    except for the corrections or changes in form or
       8    substance, if any, noted in the attached Errata
       9    Sheets.
      10

      11

      12                         ________________________________

                                 HENRY GRABOWSKI, Ph.D.             Date
      13

      14

      15

      16            Subscribed and sworn to before me this ____ day
      17    of_______________________________, 20____.
      18

      19

                                 _________________________________
      20                         Notary Public
      21    My Commission Expires:
      22

      23

      24

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     Golkow Litigation Services                                            Page 182
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 183Confidentiality
                                                           of 184. PageID #: 226085
                                                                               Review

       1                              E R R A T A

       2       VIDEOTAPED DEPOSITION OF HENRY GRABOWSKI, Ph.D.

       3    PAGE     LINE         CHANGE

       4    ____     ____         ________________________________

       5    REASON:         _____________________________________

       6    ____     ____         ________________________________

       7    REASON:         _____________________________________

       8    ____     ____         ________________________________

       9    REASON:         _____________________________________

      10    ____     ____         ________________________________

      11    REASON:         _____________________________________

      12    ____     ____         ________________________________

      13    REASON:         _____________________________________

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      15    REASON:         _____________________________________

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      17    REASON:         _____________________________________

      18    ____     ____         ________________________________

      19    REASON:         _____________________________________

      20    ____     ____         ________________________________

      21    REASON:         _____________________________________

      22    ____     ____         ________________________________

      23    REASON:         _____________________________________

      24    _________________________________________________

      25     (DATE)                                   (SIGNATURE)

     Golkow Litigation Services                                            Page 183
Case: 1:17-md-02804-DAP Doc #: -1977-18
      Highly Confidential               Filed:
                                  Subject   to07/24/19
                                               Further 184Confidentiality
                                                           of 184. PageID #: 226086
                                                                               Review

       1                             _ _ _ _ _ _ _

       2                             LAWYER'S NOTES

       3                             _ _ _ _ _ _ _

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     Golkow Litigation Services                                            Page 184
